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     Fax: 55-61-2485 8 79                Fax: 20-2-3602996                    India (Embassy)
     E-mail: Palestina@tba.com.br        33 An-Nahda St., Dokki, Cairo        Amb. Kh<:1led Al-Sheikh
     Shis Qi 09 Co nj, 06 Casa 02,                                            Tel.: 91-XX-XXXXXXX/4679115
     Lago Sul, 72650-060 Brasilia-OF     Ethiopia (Embassy)                   Fax: 91-XX-XXXXXXX/6872943
     or: PO Box 1055, 71620-980          Amb. Yousef Rajab Radii              D1/27 Vasantihar
     Lago Sul, Brasilia, DF, Brazil      Tel.: 251-1-610811/610672            New Delhi 110057, India
                                         Fax: 251-1-611199
     Bulgaria (Embassy)                  E-mail: pal.emb.et@telecom.net.et    Indonesia (Embassy)
     Charged' Affaires: Or.              PO Box 5800, Addis Ababa             Amb. Ribhi Awad
     Mohammed Salaymeh                                                        Tel.: 62-XX-XXXXXXX/3105444
     Tel.: 359-2-668947 / 668860         Finland (General Delegation)         Fax: 62-XX-XXXXXXX
     fax; 359-2-654833                   Amb. Zuheir EI-Wazir                 JL Diponegoro No. 59
     PO Box 87, Sofia, Bulgaria          Tel.: 358-9-2789771                  Jakarta 10310, Indonesia
     Canada (General Delegation)         Fax: 358-9-2789770                   Iran (Embassy)
     Amb. Baker Abdel Munem              E-mail: pgd@palestinegd .fi          Amb. Salah AI-Zawawi
     Tel.; 1-613-73 60053                http://www .plo.cute .fi{pgd.html    Tel.: 98-21-664501
     Fax: 1-613-7360535                  Fredrikinkatu 25 A 1 O, Helsi nki    Fax: 98-XX-XXXXXXX
     E-mail: baker®ibm.nflt              00120, o r: PO Box 351, He lsinki    PO Box 1455-3455, Tehran, Iran
       or: bakermunern@hotmail.com       00121
     www .cyberus.ca/~baker/gdpc.htm                                          Iraq (Embassy)
     45 Country Club Drive, Ottawa,      France (General Delegation)          Amb. Azzam Al-Ahmad
     Ontario KIV 9WI Canada              Arnb. Leila Shahid                   Tel.: 964-1-7180209
                                         Tel.: 33-1-48286600                  Fax: 964-1-7181143
     Chile (Embassy)                     Fax: 33-1- 4828506/7                 PO Box 31 22, Baghdad, Iraq
     Amb. Hussein Abdel Khaleg           14, Rue de Commandant Leandri
     Tel.: 56-2-2065771/2065764          75015, Paris, France                 Italy (General Delegation)
     Fax: 56-2-2282466                                                        Amb. Nimer Hamaa
     E-mail: falestin@ctc-mundo.net      Gabon (Embassy)                      Tel.: 39-6-7005041/7008791
     Casilla postal 53170, Santiago-1    Amb. Amin Abu Hasira                 Fax: 39-6-7005115
                                         Tel.: 241-746012                     Piazza San Giovanni, In Laterano
     China {Embassy)                     Fax: 241-746014                      72, Rome, Italy 00184
     Amb. Mustafa As-Safarini            PO Box 2168, Libreville, Gabon
     Tel.: 86-1-5323316/5323327                                               Japan (General Delegation)
     Fax: 86-1 -5323241                  Germany (General Delegation)         Amb. Walid Siam
     PO Box 9006, Beijing, China         Arnb. Aodallah Frenji
                                         Tel.: 49-228-212035/6                Jordan (Embassy)
     Colombia {Special Mission)          Fax: 49-228-213594                   Amb. Omar Al-Khatib
     Amb. Sabri Attiyeh                  E-mail: Palaestina@t-online.de       Tel.: 962-6-5668210
     Tel .: 57-1-2877691/2877904         http://www.palaestina.org            Fax: 962-6-5661727
     Fax: 57-1-2887439                   August Bier Ser. 33, 53129 Bonn      E-mail: palestine@nol.com.jo
     Calle 45 No. 14-76                                                       PO Box 995757, Amman, Jordan
     Santafe de Bogota, Colombia         Ghana (Embassy)
                                         Amb. Ibrahim Omar Khalil             Kazakhstan (Embassy)
     Cuba (Embassy)                      Tel.: 233-21-772529/228578           Amb. Mohammed Tarshahani
     Amb. lmad Jada                      Fax: 233-21-772528                   Tel. & Fax: 7-327-2601545
     Tel.: 53-7-242556/241114 (R.)       POBox 1728 OSU, Accra, Ghana         E-mail: plokaz@asdc.kz
     Fax: 53-7-241159                                                         Kasteeva St. 38, Almaty 480100
     Calle 20, No. 714, Entre 7Ma        Greece (Diplomatic Representation)
     Y.9 NA Miramar, Havana, Cuba                                             Korea, Democratic People's
                                         Amb. Abdallah Abdallah
     CyP.rus (Embassy)                   Tel.: 3 0-1-6726061 /3               Republic (Embassy)
     Amb. Samir Abu Ghazaleh             Fax: 30-1-6726064                    Amb. Shaher M. Abdallah
     Tel.: 357-2-315010/11               31 Marathonodromon St.               Tel.: 850-2-381 7465
     Fax: 357-2-494694/312301            154 52 Psychico, Athens              Fax: 850-2-3817259
     E-mail: palestin@spidernet.com.cy                                        PO Box 24, Pyong Yang
     PO Box 4669, Nicosia, Cyprus        Guinea (Embassy)
                                         Amb. Jamal Ghnaim                    Kuwait (Embassy)
     Czech Republic (Embassy)            Tel.: 224-441132/413034              Charge d' Affaires:Moh'd Abdel Jabr
     Amb. Samih Abdel Fattah             Fax: 224-412230                      Tel.: 965-2-616211/613160
     Tel.: 420-2-24311265                PO Box 1021, Conakry, Guinea         Fax: 965-2-652450
     Fax: 420-2-24311133                                                      PO Box 5363, As-Safat, Kuwait
     E-mail: palestcz@mbox.vol.cz        Guinea Bissau (Embassy)
     PO Box 306, 11121 Prague 1          Amb. Nabil Al-Wazir                  Lebanon (PLO Office)
                                         Tel.: 245-215091/212710              Amb. Shafiq Al-Hoot
     Oenmar~ (General Delegation)        Fax: 245-252650                      Tel.: 961-1-300819
     Amb. Dr. Moh'd Abu-Knoush           PO Box 888, Bissau, G. Bissau        Kurnish Al Mazraa', Al Mazraa'
     Tel.: 45-3-9617207                                                       Beirut, Lebanon
     Fax: 45-3-9614207                   Hungary (Embassy)
     Ehlersvej 5, 2900 Hellerup          Charge d'Affaires: Khaled Ghazal     Libya (Embassy)
     Copenhagen, Denmark                 Tel.: 36-1-1804518                   Amb. Ali Mohammed Mustafa
                                         Fax: 36-1-1290357-                   Tel.: 218-XX-XXXXXXX
     Egypt (Embassr.)                    PO Box 213, 11, Ji. fhegyi           Fax: '218-XX-XXXXXXX
     Arnb. Zuhdi A -Kidra                                                     PO Box 2466, Tripoli, Libya
     Tel.: 20-2-3609873/3602997/8        1025, Budapest, ~ ~-~ •--

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Malaysia (Embassy)                    Fax: 968-592449                         Spain (General Delegation)
Amb. Ahmed Al-Farra                   Muscat, Oman                            Amb. Nabil Ma'rouf-
Tel.: 60-3-4568905/6                                                          Tel.: 34-1-3453258/62
Fax: 60-3-4561411                     Pakistan (Embassy)                      Fax: 34-1-3454287
65 Jalan U Thant, PO Box 10554-       Amb. Ahmad Abdel Razzak                 E-mail: embajada.palstina@mad.
50716, 55000, Kuala Lumpur            Tel.: 92.-51-291231/ 291 l 85                   servicom.es
                                      Fax: 92-51-2 94703                      20, Avda Pio XII, 28016 Madrid
Mali (Embassy)                        No. 486, Islamabad, Pakistan
Amb. Ahmed Abdel Rahim                                                        Sri Lanka (Embassy)
Tel.: 223-2-25328                     Peru (Special PLO Representation)       Amb. Attalah Qobai'a
Fax: 223-2-26462                      Charged' Affaires: Wal id Ibrahim       Tel.: 94-1-695991/588607
Email: ambpalestine@afribone.net.ml   AI-Mua'qat                              Fax: 94-1-6959920/588560
PO Box 1951, Bamaco, Mali             Tel.: Sl-'f-4221-4241                   PO Box 207, 110110 Wejerama
                                      Fax: 51-1-4221-4240                     NW, Colombo 7, Sri Lanka
Mauritania (Embassy)                  E-mail: palperu@telematic.com.pe
Amb. Abdel Shafi S1yam                Av.Arequipa 4130 Of. 306                Sudan (Embassy)
Tel.: 222-2-51343/ 52394              Miraflores, Lima 18, Peru               Amb. Omar Shalayel
Fax: 222-2-53888                                                              Tel.: 249-11-225475/6
PO Box 408, Nouakchott                Poland (Embassy)                        Fax: 249-11-224974/224968
                                      Charge d' Affaires: Hafez AI-Nimr       PO Box 2262, Khartoum, Sudan
Mexico (Special Delegation)           Tel.: 48-22-489126/497772
Amb. Fawzi Al-Mashni                  Fax: 48-22-489005                       Sweden (General Delegation)
Tel.: 52-5-255-2904                   UI. Staroscinska 1 m7                   Amb. Eugene MakhlouT
Fax: 52-5-531-3821                    PO Box 475, Warsaw, Poland              Tel.: 46-8-7551222
E-mail: dpalestina@ticnet.com.mx                                              Fax: 46-8-7534403
Lope de Vega 146 5, Piso col.         Portugal (General Delegation)           E-mail: eugene.makhlouf@mbox
Polanco Apoo. Postal 5-045, C.P.      Amb. lssam Bseisso                              300.swipnet.se
11570, O.F. Mexico             ·      Tel.: 351-1-3621118                     PO Box 83, 18205, Djurshohn
                                      Fax: 351-1-3621095                      Stockholm, Sweden
Morocco (Embassy)                     E-mail: palestinaport@mail.telepac.pt
Amb. Wajih Qassem                     Rue 22 no. 2 Bairro de Belem            Switzerland (General Delegation)
Tel.: 212-7-767331/766008             Apartado, 50027, 1700 Lisbon            Amb. Nabil AI-Ramlawi
Fax: 212-7-767166                                                             Tel.: 41-XX-XXXXXXX
4 Zanket Soussa, PO Box 387,          Qatar (Embassy)                         Fax:4122-7967860
Rabat, Morocco                        Amb. Yassin Al-Sharif ,                 96 Route de Vernier
                                      Tel.: 974-422530/31                     Case Postal 1828, 1211 Geneva 1
Mozambique (Embassy)                  Fax: 974-327639                         Syria (Embassy)
Amb. Majed Wadi                       AJ-Khalij St., PO Box 138, Doha         Amb. Mahmoud Al-l<halidi
Tel.: 258-1-742196                                                            Tel.: 963-11-44~0688
Fax: 258-1-492190                     Romania (Embassy)                       Fax: 963-11-444352
PO Box 1160, Maboto                   Amb. Fouad Al-Bitar                     PO Box 2889,_Damascus, Syria
                                      Tel.: 40-1-613 3621
Netherlands (General Delegation)      Fax: 40-1-315 2467                      Tanzania (Embassy)
Amb. Yousef AI-Habbab                 E-mail: al_bitar@cable.ro               Amb. Fariz Mehdawi
Tel.: 31-XX-XXXXXXX/3604864           PO Box 31.4, Bucharest, Romania         Tel.: 255-51-22254
Fax: 31-XX-XXXXXXX                                                            Fax: 255-51-68409
E-mail: pgd@wxs.nl                    Russian Federation (Embassy)            PO Box 20307, Dar As-Salaam
73, Loan Copes Van Cattenburch        Amb. Khairy Abdel Fattah
Raaweg 1A, 2585 The Hague             Tel.: 7-095-2013682/2022654             Tunisia (Embassy)
                                      Fax: 7-095-2302083                      Charge d'Affaires: Munir Ghannam
Nicaragua (Embassy)                   Kropotkinsky per 26,                    Tel.: 216-1-791288/790883
Amb. George Salamah                   Moscow 1 19034                          Fax: 216-1-785973
Tel.: 505-2-651916                                                            17 Rue Ernest Conseil,
Fax: 505-2-650589                     Saudi Arabia (Embassy)                  PO Box 142, 1002 Tunis
E-mail: embpal@ns.tmx.com.ni          Amb. Mustafa Hashem Al:.sheikh
Las Cofinas-Calle Las Flores # 136    Deeb                  .                 Turkey (Embassy)
PO Box 5305, Managua                  Tel.: 966-1-4880738/9                   Amb. Fu'ad Yassin
                                      Fax: 966-1 -4880721                     Tel.: 90-312-4360823/24
Nig_eria (Embassy)                    PO Box 3589, Riyadh,                    Fax: 90-312-4377801
Amb. Samir Baker                      Saudi Arabia 11481                      Filistin Sokak No. 45
Tel.: 234-1-617259                                                            06700 G.O.P., Ankara, Turkey
Fax: 234-1-618776                     Senegal (Embassy)
12 Festival Rd., Victoria Island,     Amb. Sa'id Af-Abassi                    United Arab Emirates (Embassy)
PO Box 7891, Lagos, Nigeria           Tel.: 221-251862                        Amb. Khaled Malak
                                      Fax: 221-241377                         Tel.: 971-2-434652
Norway (General Delegation)           PO Box 3169, Dakar, Senegal             Fax: 971-2-434363
Amb. Omar Kittmitto                                                           PO Box 841, Abu Dhabi, UAE
Tel.: 47-2-2560547                    South Africa (Embassy)
Fax: 47-2-2731579                     Amb. Salman AI-Harfy                    United Kingdom (General Delegation)
Drammensveien 104, 0273 Oslo          Tel.: 27-XX-XXXXXXX/3426411             Amb. Afif Safieh
                                      Fax: 27-XX-XXXXXXX                      Tel.: 44-181-5630008
Oman (Embassy)                        E-mail: palemblntekom.co.za             Fax: 44-181-5630058
Amb. Awni Battash                     PO Box 56021,       dia,                E-mail: 106323.3367@
Tel.: 968-697191/230                  Pretoria 0007, S . Africa                       compuserve.com
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    5 Galena Road, Hammersmith,         United Nations                                              Protocol Office:
    London, W60LT United Kingdom        (Permanent Observer Mission)                                Dir.: Khaled Al Yaziji
                                        Amb. Nasser AI-Kidwa                                        Tel.: XX-XXXXXXX/5
    United States (PLO Office)          Tel.: 1-212-288-8500                                        Fax: XX-XXXXXXX
    Amb. Hasan Abdel Rahman             Fax: 1-212-517-2377                                         President's Office, lecicho:
    Tel.: 1-202-785-8394                E-mail: mission@palestine-un.org                            Dir.Gen.: Dr. Sarni Musallam
    Fax: 1-202-887-533 7                115 East 65th Street                                        Tel.: XX-XXXXXXX/2 /050-323164
    E-mail: SH.9950@aol .com            New York, NY 10021, US                                      Fax: XX-XXXXXXX
    1730 K Str~t, NW # 1004             Geneva Office;                                              President's Office, Ramallah:
    Washington DC 20006                 Amb. Nabil AI-Ramlawi                                       Dir. Gen.: lmad Nahhas
                                        Tel.: 41-XX-XXXXXXX                                         Tel.: XX-XXXXXXX/8/2981370/1
    Uzbekistan (Embassy)                Fax: 41-XX-XXXXXXX                                          Fax: XX-XXXXXXX
    Amb. Nabil Lahham                   E-Mail: missiom-observer.                                   Planning Center coppo:
    Tel.: 7-3712-                                Palestine@itu.ch                                   Tel.: XX-XXXXXXX
    531017/549418/550266                96 route de Vernier                                         E-mail: oppc@palnet.com
    Fax: 7-3 712-53101 7                Case postale 1828, 1211 Geneva                              http://www.oppc.pna.net
    Imam At-Termezi St., House No.      1, Switzerland                                              Neima Bldg., Rimal, Ga7.a
    50, The Index: 700100, Tashkent                                                                 National Institution Office:
                                        UN Office & International Orga-                             Dir.: Wa'el Nazif
    Vietnam (Embassy)                   nizations (Permanent Mission)                               Tel. & Fax: XX-XXXXXXX
    Amb. Sayyed Al-Masri                Amb. Faisal Awaideh                                         School St, Jericho
    Tel.: 84-4-8524013/253016           Tel.: 43-1-4088202/3                                        foreign Media Press Officer:
    Fax: 84-4-8263696/8263699           Fax: 43-1-4088117                                           Mohammed Edwan
    E-Mail: palestine@hn.Vnn.vn         Josefgasse 5, 1080 Vienna,                                  Tel.: XX-XXXXXXX/4777
    PO Box 73, Hanoi, Vietnam           Austria                                                     Fax: XX-XXXXXXX
    Yemen (Embassy)                                                                                 President's Archives:
                                        UNESCO (Permanent Observer)                                 Tel.: XX-XXXXXXX/2/6081
    Amb. Yahya Rabbah                   Amb. Ahmad Abdel Razeq
    Tel.:967-1-215404/5/9672-64234                                                                  ~ Saeed Zahran
                                        Tel.: 33-1-45683328
    Fax: 967-1-217346/9672-64236        Fax: 33-1-45683340
    PO Box 185, Sanaa, Yemen            1, Rue Miollis 75015                                        ► MINISTRY Of AGRICULTURE
                                        Paris, France
     Yugoslavia (Embassy}                                                                           Minister: Hikmat Zaid
     Te[: 381-11-663372/66391                                                                       Tel.: XX-XXXXXXX-8
     Fax: 381-11-663830                                                                             Fax: XX-XXXXXXX
     Magla,·sk~ 14, Belgrade 11000,                                                                 PO Box 197, Ramatlah
     Yugos av1a                         : . . PALESTl,N IAN ,:: . .                                 Gaza Office:
                                                                                                    Tel.: XX-XXXXXXX
     Zimbabwe (Embassy}                 .._, · -_ A~T~o~•~Y
                                         •               •           - >,          •   •   •
                                                                                               __         XX-XXXXXXX,072862909
     Amb. Ali Halimeh                                                                               Abu Khadra Bldg., Al-Wahda St.,
     Tel.: 263-4-725901/2                                                                           PO Box 4014, Gaza
     Fax:263-4-725970                                                                               Asst. Deputy: Atta Abu Karsh
     1 Fairbridge Avenue Belgravia,          PRESIDENT'S OFFICE                                     Tel. & Fax: XX-XXXXXXX
     PO Box 3817, Harare, Zimbabwe            AND MINISTRIES                                        Dir. Gen.: Mahmoud Abu Samra
                                                                                                    Tel.: XX-XXXXXXX
                                        ► PRESIDENT'S OFFICE                                        Nablus Office·
          . REPRESENTATION IN                                                                       Tel.: XX-XXXXXXX, XX-XXXXXXX
        INTERNATIONAL BODIES            President: Vasser Arafat                                    Fax: XX-XXXXXXX
                                        Tel.: XX-XXXXXXX/1/5963 .                                   Deputy: A.zzam Tbaileh
                                              XX-XXXXXXX-2                                          Tel.: 0i-2961080-8
     League of Arab States              Fax: 07~2822365/6
     Sec. Gen.: lsmat Abdul Majid                                                                   Dir. Gen. Scientific Research:
                                        http://www.p-p-o.com/                                       Shaker Joudeh
     Tel: 202-575-0511                  Central· Tel.: XX-XXXXXXX/38
          202-575-2966                  Sec. Gen.: Tayyeb Abdul Rahim
                                                                                                    Tel.: XX-XXXXXXX-8
     Fax: 202-574-0331                  Tel.: XX-XXXXXXX                                            lericho Office:
     PO Box 11642                                                                                   Dir.Gen.: Ibrahim Qtaishat
                                        Dir. Gen.: Dr. Ramzi Khoury                                 Tel.: XX-XXXXXXX/73
     Al Tah_rir Sciuare, Cairo,.Egypt   Tel.: XX-XXXXXXX/1
     Palestme Permenant M,ss,on         cabinet Sec.: Ahmad Abdul                                   Fax: XX-XXXXXXX
     <Arab Le1".ue>                     Rahman - Tel.: XX-XXXXXXX                                   General Admin, of Projects:
     Amb. Moammed Sbeih                                                                             Head: Mahmoud Hussein
                                        Spokesperson: Marwan Kanafani                               Tel.: XX-XXXXXXX
     Tel.: 20-2-3609873/3602997/8       Tel.: XX-XXXXXXX
     Fax: 20-2-3602996                        054-871088                                            Central VeterioaR-f epartment:
     E-mail: pales_al@intouch.com                                                                   Head: Dr. Moh'd assouneh
     33 An-Nahda Street, Ookki          Advisor: Nabil Abu Rudeineh                                 Tel.: XX-XXXXXXX/788
     Cairo, Egypt                       Tel.: XX-XXXXXXX                                            Central Veterinarian Laboratory
                                        Fax: XX-XXXXXXX                                             Tel.: XX-XXXXXXX
     Organization of the Islamic        Advisor: Gaith Abu Gaith                                          XX-XXXXXXX
     Conference (Permanent Mission)     President's Representative:                                 Ramallah
     Repr. Abdel Aziz Abu Ghosh         Suleiman Ash-Shurafa
     Tel.: 966-2-6872572/054            Economic Advisor: Khalid Slam                                Palestinian National Agricultural
                                        Tel: XX-XXXXXXX                                             Rs:s.earch Center {lerjc6o)
     Fax: 966-2-6936407                                                                             Dir.: Or. Ali Fatafta
     PO Box 1253, Jeddah 21431          Fax: XX-XXXXXXX
                                        Israeli Affairs Ad-.ti-~or:                                 Tel.: XX-XXXXXXX-5
     Saudi Arabia                                                                                   Fax: XX-XXXXXXX
                                        Dr. Ahmad Tibi ~}'r,
                                        Tel: XX-XXXXXXX-"·i:'050-268777
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              ► MINISTRY OF CIVIL AFFAIRS             - International Relations & Advi-     - Trade, WB: Abdul Hafiz Nofal
              Minister: Jamil Tarifi                     sor to the Min.: Sam'an Khouri     - General Admin. for Trade
              Tel.: XX-XXXXXXX-9/452-4/               - Arts: Leana Badr                      Cooperation: Saeb Bamieh
              fax: XX-XXXXXXX/7451                    - Public Relations: Ali Amer          - General Admin. for Enterprises:
              Green Tower Bldg,, An-Nuzha             - Cultural Centers: Ali Khalili        Omar Lehroub
              St., PO Box 2074, Ramallah .            - Hebron Office: Yousef Tartouri      - Services & Trade Unit:
              Gaza:                                                                          Ibrahim Muqaiyad
              Tel.: XX-XXXXXXX                                                               Tel.: XX-XXXXXXX
                    XX-XXXXXXX/49                     ► MlNlSTRY OF DETAINEES &             - Coordination with Chambers of
                                                           FREED DETAINEES AFFAIRS            Commerce & International
              Fax: XX-XXXXXXX
              Tai AI-Hawa, Gaza                       Minister: Hisham Abdel Razeq            Organizations: Nidal Al Ahmad
              Deputy: Sufian Abu Zaydeh               Tel.: XX-XXXXXXX/3 XX-XXXXXXX         lmporVExport D'Y?t:
              Tel.: XX-XXXXXXX                        Fax: XX-XXXXXXX                       Head: Hamad Ar- affati
              Fax: XX-XXXXXXX                         E-mail: mda@palnet.com                Tel.: XX-XXXXXXX
              Asst. Dep~: Zuheir Khalaf               Shalash Bldg., lrsal St.,             Exhibitions & Markets Dept:
              Djr.Gen,st Bank: Wajih Al-              PO Box 2105, Ramallah                 Majed Muhsen
              Atari, Khaled Salim                     ~eputy Dir. Gen.: Radi Jaraii         Tel.: XX-XXXXXXX-6/07
              e&: Dir. : Fakhr Eddin Ad-Dik           Tel.: XX-XXXXXXX/ 059-209922          The Palestinian Develooment
              rA Civil Affairs Offices:               ~                                     Gateway fPDGJ        '
                                                      Tel. & Fax: XX-XXXXXXX                Coordinator: Marwan Tarazi
              Abu ms: Tel.: XX-XXXXXXX                                                      Tel.: XX-XXXXXXX
                             Fax: XX-XXXXXXX          Office Dir.: Mu'ath AI-Hanafi
                                                                                            Fax: XX-XXXXXXX
              ~:YiteKi!jd~e:
                   r
                                   Tel.: XX-XXXXXXX
                         e : el.: XX-XXXXXXX
                                                      Tel. & Fax: XX-XXXXXXX/58/68
                                                      Deputy: Khalil Ar-Rai                 E-mail: info@psgateway.org
                               Fax: XX-XXXXXXX        Tel.: 059-403400                      http://www.psgateway.org
              QeirA!-Balah· Tel.: XX-XXXXXXX          District Offices·
                                  Fax: XX-XXXXXXX     .liethL: Head: Ibrahim Najajreh
                                                               Tel. & Fax: XX-XXXXXXX       ► MINISTRY OF EDUCATION
              .Gaza: Tel.: XX-XXXXXXX/2822333
              XX-XXXXXXX, XX-XXXXXXX                  Hebron: Munquez Abu A'twan            Minister: n.a.
              ttebron: Tel.: XX-XXXXXXX                         Tel. & Fax: XX-XXXXXXX      Tel.: XX-XXXXXXX/53/42/56/5555
                           Fax: XX-XXXXXXX            J.enin.: Nazmi Abdel-Ghafour          Fax: XX-XXXXXXX
              lahalja: Tel.: XX-XXXXXXX                         Tel.: XX-XXXXXXX            PO Box 576,. Ramallah
                          Fax: XX-XXXXXXX             (erusa!em· Dir.: Nibal Qatash         .Gaza;
              J..eni.n: Tel.: XX-XXXXXXX                        Tel.: XX-XXXXXXX/3          Tel.: XX-XXXXXXX
                        fax: XX-XXXXXXX                         Fax: XX-XXXXXXX                   XX-XXXXXXX/06
              Jericho· Tel.: XX-XXXXXXX               ~ : Abdul Rahman Daoud                AI-Wihdeh & AI-Yarmouk St.
                          Fax: XX-XXXXXXX                       Tel.: XX-XXXXXXX            intersection, PO Box 435 Gaza
              Khan Younis· Tel.: XX-XXXXXXX           Qalqilya: Head: lzzat Malouh          Deputy: Dr. Nairn Abu Hommos
                                 Fax: XX-XXXXXXX                Tel.: XX-XXXXXXX            Tel.: XX-XXXXXXX/2983201/42
              Nablus: Tel.: XX-XXXXXXX                Ex-Detainees Rebahilitatiou           Asst. Deputy/Gaza: Abdallah
                           Fax: XX-XXXXXXX            Program                               Abdul Mun'em
              Qalqilya:Tel.: XX-XXXXXXX               Dir.: Radi Jamil and Nasser Jarai'    Tel.: XX-XXXXXXX/5200
                             Fax: XX-XXXXXXX          Tel.: XX-XXXXXXX/3                    Asst. Deputy/West Bank:
              ~ Tel. & Fax: XX-XXXXXXX                .Gaza: Dir.: Mohammed Tlouli          Mute• Abu Hijleh
                        Fax: XX-XXXXXXX               Tel.: XX-XXXXXXX                      Tel.: XX-XXXXXXX/2983207
              Ramallab: Tel.: XX-XXXXXXX              (Services that include health insu-   Director Generals:
                              Fax: XX-XXXXXXX         rance, job search assistance, edu-    • Administrative Affairs:
              Julkarem: Tel.: XX-XXXXXXX/5            cation, vocational training, loans,     Azzam Abu Bakr
                                                      psychological counseling.)              Tel.: XX-XXXXXXX
                                                                                            • Books & Educational Publi-
              ►  MINISTRY OF CULTURE                                                          cations: Muwa.faq Yaseen
                 &ARTS                                ► MINISTRY OF ECONOMY &                 Tel.: 02-240&174
                                                         TRADE                              - Buildings & Projects:
              Minister: Yasser Abed Rabbo
               Tel.: XX-XXXXXXX/6/2961819             Minister: Maher Al-Masri                Eng. Fawwaz Mujahed
               Fax: XX-XXXXXXX                        Tel.: XX-XXXXXXX/59                     Te[: XX-XXXXXXX
               htt,:>://www.moc.gov.ps/               Fax: XX-XXXXXXX                       • Curriculum Center: Dr. Salah
               Ar-Rayan Bldg., lrsal St.,             Rimal, Gaza                             Yassin - Tel.: XX-XXXXXXX
              ·PO Box 147, Ramallah                   Ramal(ah·                             - Development & District
                                                      Tel.: XX-XXXXXXX-9/08/12                Admin.: Jihad Zakarneh
              ~
              Tel.: XX-XXXXXXX/70                           0S0-576039/373705                 Tel.: XX-XXXXXXX
              Fax: XX-XXXXXXX                         Fax: XX-XXXXXXX-5/7/8                 - Educational Activities & Students'
              PO Box4024                              PO Box 1629, Ramallah                   Affairs: Zainab Al Wazir
              D~puty: Yahya Hassan Yakhluf            Deputy: Or. Maher Al-Kurd               Tel.: XX-XXXXXXX
              Dir. Gen.: Ahmed Dahbour                Asst. Oep.: Sulaiman Abu Karsh        - Educational Techniques:
              Tel.: XX-XXXXXXX/60/70/7253             Asst. Deputy for Financial &            Subhi AI-Kayyed
              Fax: XX-XXXXXXX                         A~min. lssu~s: Tawfiq Shihabi           Tel.: XX-XXXXXXX
                                                      Dir.Gen., Mm.: Nasser Sarraj          - Financial Affairs: Moh'd Jubran
              Mustafa Hafez St., PO Box 4004                                                  Tel.: XX-XXXXXXX
              Rimal, Gaza                      '      Tel. & Fax: XX-XXXXXXX
                                                      Director Generals:                    - General Education: Wal id Zagha
              Advisor & Dir. Gen.: Yousef Lubbad                                              Tel.: XX-XXXXXXX
              Director Generals:                      - Trade: Hamad Rafati
                                                        Tel.: 07-282914Gl1/2                - International & Public
              • literature & Publications:
                                                        Fax: 07-282334'3'-'                    Relations: Khalil Mahshi
                  Mahmoud Shqeir                                                              Tel.: XX-XXXXXXX
                                                        Ar-Rima!, Gaz,(j
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 - Supplies: Hasan Sarsour          Fax: XX-XXXXXXX                              Director Generals:
     Tel.: XX-XXXXXXX               Beirut St., Tel AI-Hawa,                     - Gaza: Dr. lmad Tarawiyeh
 - Technical & Vocational           PO Box 4007, Gaza                              Tel.: XX-XXXXXXX/74
   Education: Jamil Abu Sa'da       Ramallah:                                    . West Bank: Dr. Fahed As-Said
     Tel.: XX-XXXXXXX               Tel.: XX-XXXXXXX-4                             Tel.: XX-XXXXXXX-6
 - Training & Educational                 XX-XXXXXXX/650/                          Fax: XX-XXXXXXX
   Sur,erv1sion: Dr. Ghazi Eid            050-369350                             - Children's Health:
     Te .: XX-XXXXXXX               Fax: XX-XXXXXXX                               Dr. Raghda Shawwa
 - Personnel & Registration         http://www.mof.gov.ps                        - Community Health:
   Office: Mohammed Hamida          Sateh Marhaba, AI-B1reh                         Dr. Assad Ramlawi
    Tel.: XX-XXXXXXX                PO Box 795, Rarnallah                           Tel.: XX-XXXXXXX/3
 Legal Advisor: Khairi Hanoun       Deputy Min.: Dr. Atef Alawneh                - Dentistry: Dr. Saqer Abu
 Tef.: XX-XXXXXXX                   Tel.: XX-XXXXXXX                                Qumboz
 Advisor: Lucia Hijazi                    050-341614                                Tel.: XX-XXXXXXX
 Tel.: XX-XXXXXXX/68                Asst.Deputy: Mohammed Jaradeh                   Dr. Raji Musleh
 District Offices:                  Tel.: XX-XXXXXXX                                Tel.: XX-XXXXXXX
 Bethlehem: Head: Moh'd Al-Dibs     Director Generals:                           - Emergency: Dr. Moh'd Salameh
           Tel.: XX-XXXXXXX         - Gaza: Sa'eed Aweidah                       - Enviromental Health: Dr.
 .Gaza: Mohammed El Hanjuri           Tel.: Oi'-2829247                             Ibrahim Attiyeh
           Tel.: XX-XXXXXXX         - West Bank: Sarni Ramlawi                      Tel.: XX-XXXXXXX/7392
 Hebron· Dr. Taysir Maswadeh          Tel.: XX-XXXXXXX                           - Health Insurance: Dr.
           Tel.: XX-XXXXXXX           Dir. Gen.: A'bla Nashashibi                   Mohammed Abu Al Fadl
 Jen.in:. Jamal Tarif                 Tel.: XX-XXXXXXX                           . Health Promotion: Dr. Zahira
           Tel.: XX-XXXXXXX         - Budgetary Affairs:                            Habash
 lericho: Moh'd Abdel Qader           Tel.: XX-XXXXXXX                           - Hospitals: Dr. Faisal Abu Shahla
           Tel.: XX-XXXXXXX         - Publications: Ibrahim AI-Biltaji           - International Cooperation: Dr.
 lerusalem· Abdul Muhsen Jabber       Tel.: XX-XXXXXXX                              Yousef Al-Hindi
           Tel.:XX-XXXXXXX          - Personal/Administrative Affairs:           - Phannaceutkals: Dr. Ziad Sha'ath
 l'Jem Suburbs: Subhi Al Khatib        Basel Ar-Ramahi                              Tel.: XX-XXXXXXX
           Tel.: XX-XXXXXXX            Tel.: XX-XXXXXXX                             Dr. Walid Obeidallah
 Khan Younis: Ali Khalefa           - Income Affairs: Nasser Tahboub                Tel.: XX-XXXXXXX
           Tel.: XX-XXXXXXX            Tel.: XX-XXXXXXX                          - Planning: Khaled Abu Ghali
 Nablus: Rima Zeid AI-Kilani        - Finance: Mahmoud AI-Saqa                      Tel. & Fax: XX-XXXXXXX
           Tel.: XX-XXXXXXX            Tel.: XX-XXXXXXX                          - Primary Healthcare: Dr. Abdul
 North Gaza: Ismail Al-Jumasi           Fax: XX-XXXXXXX                            Jabar At-Tibi
          Tel.: XX-XXXXXXX           -Auditing/Control: Said AI-                 - Preventive Medicine:
 Qabatia· Head: Lutfi Kittaneh         Qidreh - Tel.: XX-XXXXXXX                    Dr. As'ad Ramlawi
          Tel.: XX-XXXXXXX          - Customs & VAT:                                Tel.: 02 -2957392/3
 Qalqilra· Head: Mohammed Alia        .Gaza: Mohammed Issa                                XX-XXXXXXX
            el.: XX-XXXXXXX/1111      Tel.: XX-XXXXXXX                           - PR: Dr. Marwan Za'ayim
 RamaHab-AI-Bireh: Musa Jamhour       West Bank: Nasser Tahboub                     Tel. & Fax: XX-XXXXXXX
          Tel.: XX-XXXXXXX          - Income Tax:                                - Public Health Admin.: Dr.
 5.a.l.feet: Khalil Abu Ubdeh         West Bank: Jihad Zamari                       Nadim Toubasi
          Tel.: XX-XXXXXXX            (Acting) Tel.: XX-XXXXXXX                     Tel.: XX-XXXXXXX/8394
 South Hebron: Khalil Tmeizi           Gaza: Bayyan Abu Shaban                   - Treatment Abroad : Dr. Majed
          Tel.: XX-XXXXXXX            Ie.l.: 07-2 822408                            EI-Rayyes
 Tulkarem: Husni Sadeq Badran       - Salaries: Mustafa Diab                     - Human Resourse Development:
          Tel.: XX-XXXXXXX            Tel.: XX-XXXXXXX ·                            Dr. Wael Issa
                                                                                    Tel.: XX-XXXXXXX
                                                                                 - General Admin. of Pharmacy
· MINISTRY OF ENVIRONMENT
 ►                                  ► MINISTRY OF HEALl1i
                                    Minister: Dr. Riad Za'noun
                                                                                    Dir.: Dr. Walid Ubeidallah
                                                                                    Tel.: XX-XXXXXXX/7
 Minister: Dr. Yousef Abu Safiyeh
 T~I.: XX-XXXXXXX/3000/2847208      Tel.: XX-XXXXXXX-3                              Fax: XX-XXXXXXX
       XX-XXXXXXX                         XX-XXXXXXX/4                           Quality Improvement Project
 Fax: XX-XXXXXXX                    Fax: XX-XXXXXXX/295                          Dir.: Dr. Nehaya Telbani
 E-mail: pena@planet.edu            E-mail: mohgaza@palnet.com                   Tel.: XX-XXXXXXX
 http://www.mena.gov .ps            E-mail: pnamoh@palnet.com                    Fax: XX-XXXXXXX
 An-Nasser, Ath-Thwara St., Gaza    h~://www.moh.gov .psi                        http://www.qippna.org
 Deputy: Dr. Sufian Sultan Tamimi   Abu Khadra Bldg., PO Box 1 035
                                    or PO Box 5001, Gaza                         Health Services Mana;__ement Unit
 AssL Deputy: Musa Abu Gharbiyeh    RamaHah:                                     Dir.: Dr. Faisal Abdul atif
 Tel.: XX-XXXXXXX/8                 Tel.: XX-XXXXXXX                             Tel.: XX-XXXXXXX
 Fax: XX-XXXXXXX                    Fax: 02-24077 42                             Fax: XX-XXXXXXX
 Ramallah                           Primaq, Health Care and Public               E-mail: hsmu@jrol.com
 Hebron:                            Health Directorate                            District Offices·
 Tel.: XX-XXXXXXX/9269              Tel.: XX-XXXXXXX                             .B.e1b.L: Dr. OeGaulle Haudali
 Fax: XX-XXXXXXX                    Fax: XX-XXXXXXX                                    Tel.: XX-XXXXXXX/5
                                    Dr. Ziad AI-Haj Yassin Bldg., AI-            Hebron: Dr. Abdel Aziz Shqeir
                                    Balou', AI-Bireh                                   Tel.: XX-XXXXXXX/6078/7706
 ► MINISTRY OF FINANCE                                                           Jenin: Dr. Mohammed Toufakji
                                    Deputy: Dr. Munt r Al-Sharif
 Minister: Moh'd Zuhdi Nashashibi   Tel.: XX-XXXXXXX                                   Tel.: XX-XXXXXXX/2480
 Tel.: XX-XXXXXXX/2863636/964/      Fax: XX-XXXXXXX                              J.ericho: Dr. Nazih Mulseh
     XX-XXXXXXX/365/75/85/7262      PO Box 14, Nab                                     Tel.: XX-XXXXXXX/406/1292/3
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 ~ : Or. Sa'id Al Hamouz                 ► MINISTRY OF HOUSING                        ► MINISTRY OF INFORMATION
      Tel.: XX-XXXXXXX/2/3/5            Minister: Dr.Abdul Rahman Hamad               Minister: Vasser Abed Rabbo
 Qalf ilia: Or. Ziad Eid                Tel.: XX-XXXXXXX                              Tel.: XX-XXXXXXX/2986465-8
       el.: 09-2 940054/1054                  07-2 822233-6/4646/68480                Fax: XX-XXXXXXX
 Baroallab: Dr. Fawzi Falah             Fax: XX-XXXXXXX                               E-mail: mininfog@planet.edu
      Tel: XX-XXXXXXX/5658/84850        Damascus St., Southern Rimal,                   or: postmaster@mini.n~o.pna.org
 Sa.Lfuet: Dr. Bassam Abu Madi          PO Box 4034, Gaza                             http://www.pna.org/m1n1nfo
      Tel.: XX-XXXXXXX/674/727           RamaHah:                                     Acre St., AI -Bireh, ·po Box 224,
 Julkarem: Dr. Sa' id Hanoun            Tel.: XX-XXXXXXX/51434/                       Ramallah
      Tel.: XX-XXXXXXX/71423                   XX-XXXXXXX/0154                        .Gaza:
                                        Fax: XX-XXXXXXX                               Tel.: XX-XXXXXXX
 ►  MINISTRY OF HIGHER                  lrsal St., AI-Masayef, PO Box 2227                  XX-XXXXXXX
    EDUCATION                           Dep. Min.: Marwan Abdul Hamid                       XX-XXXXXXX
                                        Q.ir. Gen,:                                   Fax: XX-XXXXXXX
 Minister: Dr. Munther Salah            - Gaza: Dr. Ramadan Al-Najjar                 An-Nasr St., PO Box 5195, Gaza
Tel.: XX-XXXXXXX/5/                     - West Bank: Adnan Abu Ayyash                 Dir. Gen.: Hasan AI-Kashif
      XX-XXXXXXX/30/4/7833               Dept for Land Survey                         Tel.: XX-XXXXXXX
Fax: 02-2 954518                         Tel.: XX-XXXXXXX/544                              XX-XXXXXXX
E-mail: minister@mhe.planet.edu          .Beth1...:. Tel. & Fax: XX-XXXXXXX           Fax: XX-XXXXXXX/2824926
http://www.pal-mhe.org .                  Hebron: Tel.: XX-XXXXXXX                    Dir. Gen. West Bank:
Um Sharayet, POBox 17360, J'lem                        Fax: XX-XXXXXXX                Mohammed Suleiman
.Gaza:                                   J.iill.in: Tel. & Fax: XX-XXXXXXX            Tel. XX-XXXXXXX/54044
Tel.: XX-XXXXXXX/8824/14                ·J..ed.ch.o: Tel. & Fax: XX-XXXXXXX           Fax: XX-XXXXXXX
Fax: XX-XXXXXXX                          ~ Tel. & Fax: XX-XXXXXXX                     District Offices:
AI-Yarmouk//Omar Al-Mukhtar               Nablus: Tel.: XX-XXXXXXX                    B.ethl..: Tel. & Fax: XX-XXXXXXX
St. PO Box 5301, Gaza                                  Fax: XX-XXXXXXX                Hebron: Tel. & Fax: XX-XXXXXXX
D~uty: Eng. Hisham Kuheil                Qalqilya: Tel.: XX-XXXXXXX                          Shalalah St., Natsheh Bldg.
Tel.: XX-XXXXXXX/82604/                                  Fax: XX-XXXXXXX              .bl..ablu.s.: Tel.: XX-XXXXXXX
      XX-XXXXXXX                         RamaHah: Tel.: XX-XXXXXXX                           Sa'addin Bldg., Adel St.
E-mail: hkuheil@mhe.planet.edu           Salfeet· Tel.: XX-XXXXXXX                    Director Generals:
Advisor: Dr. Gabi Baramki                             Fax: XX-XXXXXXX                 . Press & Printed Materials:
Tel.: XX-XXXXXXX                         Iub.as.:. Tel.: XX-XXXXXXX                      Hani Al-Masri
E-mail: gl:>aramki@mhe.planet.edu                     Fax: XX-XXXXXXX                 - Financial & Arlmin. Affairs:
Press Office: Majid Sawalhah             Tulkarem: Tel.& Fax: XX-XXXXXXX                 Ibrahim Sajdiyeh
Tel.: XX-XXXXXXX                                                                      - Local Media: Muhannad Abdul
E-mail: minister@mhe.planet.edu                                                       Hamid
 Director Generals:                     ► MINISTRY OF INDUSTRY                        - Public Media: Towfiq Bseiso
- International & Cultural              Minister: Dr. Sa'di AI-Krunz                  - External/Local Media/Public
   Relations:                                                                            Relations: Walid Alami
   Tel.: XX-XXXXXXX                     Tel.: XX-XXXXXXX/2/4956-8
                                        Fax: XX-XXXXXXX                               - Women & Child Affairs:
- Students' Affairs: Moh'd Khader       E-mai I: indl!stry@pal,:iet.com                 Clemence Khoury
   Tel.: XX-XXXXXXX                              pna1ncfus@p-1-s.com                  - South Governorate Office:
   E-mail: mkhader@mhe.planet.edu       http://www.industry,gov.ps/index.htrn            Yacoub Shaheen
- Technical Education & Colleges:
   Ziad Jweiles • Tel.: XX-XXXXXXX
   E-mail: jweiles@mhe.planetedu
                                        g~z;~A~~'ffis~3:B   2013, Ramallah
                                                                                      ► MINISTRY OF THE INTERIOR
- Licensing & Accreditation:
                                        Tel.: XX-XXXXXXX/454
   Head: Dr. Ribhi Abu Sneineh          Fax: XX-XXXXXXX                               Minister (acting): Pres. Vasser Arafat
  Tel.: XX-XXXXXXX                      Gaza[(al EI-Hawa                              Tel.: 07-2829f 83/185
   E-mail: rsneineh@mhe.planet.edu      Tel.: XX-XXXXXXX                                    XX-XXXXXXX
- Admin. & Financial Affairs:                  XX-XXXXXXX/8                           Fax: 07-28401 65
                                        Fax: XX-XXXXXXX                               An-Nasser St., Caza
   Dr. Abdul Karim Az-Zughayar
  Tel.: XX-XXXXXXX                      Asst. Deputy: Dr. Jawad Naji                  Ramallab:
   E-mail: dg-finance@mhe.planetedu     Hirzallafl - iel: XX-XXXXXXX                  Tel.: 02-295.9395-7
- Scientific Research:                  Dir.Gen.: Dr. Nasr Jabr                       Fax: XX-XXXXXXX
  Dr. Abdel Salam Shal'ab               Tel.: XX-XXXXXXX/6453/463                     Al-lrsal St., PO Box 641
  Tel.: XX-XXXXXXX                      Fax: XX-XXXXXXX                               Hebron:
  E-mail: dg-research@mhe.planet.edu
                                        Dir. Gen.: Rateb AI-A'mleh,                   Tel.: XX-XXXXXXX/6350
- Planning & Development:               Majeda Al-Masri                               Fax: 02-222B649
  Or. Wael Al-Qadi                      Research & Planning:                          Deputy: Ahmad Said Tamimi
  Tel.: XX-XXXXXXX                      Dr. Sarni Abu Zarifen                         Tel.: 02-29571 74    ·
  E-mail: wael~@mhe.planet.edu          District Offices:                             A5St. Deputies.: Zakaria Abdul
- University Education:                 lliUb.L.: Head: Mahmoud Al Sha'er             Rahim
  Tel.: XX-XXXXXXX                               Tel.: XX-XXXXXXX                     Tel.: XX-XXXXXXX
                                                       XX-XXXXXXX                     Dir. Gen.: Dr. Awad Hijazi
  E-m: dg-onive1Sities@mhe.planet.edu
Gaza. Dir.: Mohammed Abu Jarad          Hebron: Head: Ahmad Jum'ah                    - Caza, Tel.: XX-XXXXXXX
Tel.: XX-XXXXXXX                                 Tel.: XX-XXXXXXX                     Mohammed Lutfi Yassin
Fax: XX-XXXXXXX                         J.enin: Head: Emad Abu Tabikh                 -West Bank
E-mail: abujarad@mhe.planet.edu                  Tel.: XX-XXXXXXX                     Uceasia~Dept.: XX-XXXXXXX
                                        Nablus: Head: Zilu'meh                        07-2825 94
Nablus: Dir.: Hani Makboul                       Tel.: 09-2 , 953/2                   Director Generals:
Tel. & Fax: XX-XXXXXXX                  Tulkarem: Yousef . h Babiyeh                  - Ministry: Omar Al-Shibli
Az-Zaka Bldg., Rafidia Main St.                  Tel.: 09-~ , .511                    - PR: Nizam Abu Sha'ban
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     - Organizations:
        Mohammed AI-Madhoun              ~,~:~oWif¥!~%1?t -Diwan            Palestinian-Swiss Cooperation •
                                                                            Expert Team on Vocational Training
        Tel.: XX-XXXXXXX/4084/21661      Head: Ibrahim Al Daghma            Head: Mazen Al Hashweh
        Fax: XX-XXXXXXX                  Tel.: XX-XXXXXXX/18                Tel.: XX-XXXXXXX/2900965
     - Passport & Naturalization:        Tel.: XX-XXXXXXX/6 (Ramallah)      Fax: XX-XXXXXXX/2902085
       Mohmoud AI-Agha                   Fax: XX-XXXXXXX                    District Offices;
       Tel.: XX-XXXXXXX                  Fax: XX-XXXXXXX                    Bethlehem: Head: Yassin Radi
     - Legal Department: Hussein Assi    Chamber of the Chief Justice                  Tel. & Fax: XX-XXXXXXX
        Tel.: XX-XXXXXXX/2321060         Hif.h Court;                       Hebron- Head: Ali Qdaimat
        Fax: XX-XXXXXXX                  Te~: XX-XXXXXXX                              Tel.: XX-XXXXXXX/7896
        Jericho                          Fax: XX-XXXXXXX/390                          Fax: XX-XXXXXXX
     - Directorate of Prisons:           Chief Justice, Shari'a Courts:     J.enin:. Head: Walid Bilbaisi
        Col. Hamdi Reefi                 Sheikh Mahmoud Salameh                       Tel.: XX-XXXXXXX
        Tel. & Fax: XX-XXXXXXX           Tel.: XX-XXXXXXX                   l!mcha: Head: Husni Ramah
        Tel.: XX-XXXXXXX                       XX-XXXXXXX                             Tel.: XX-XXXXXXX/1270
     - Directorate of Police Training:                                                Fax: XX-XXXXXXX
        Brig.Gen. Samih Nasser                                              Jerusalem: Hussein Abu Gharbieh
        Te[: XX-XXXXXXX/65               ► MINISTRY OF LABOR                          Tel.: XX-XXXXXXX/9862
        Fax: XX-XXXXXXX                  Minister: Rafiq An-Natsheh         ~ : Head: Moh'd Abu Zaytun
     - Civil Defence:                    Tel.: XX-XXXXXXX-9/2900990                   Tel.: XX-XXXXXXX
       Mahmoud Abu Marzouq               Fax: XX-XXXXXXX                    Qaqilya: Head: Husni As-Saifi
       Tel.: XX-XXXXXXX - Gaza           E-mail: info.mol.pna.org                     Tel.: XX-XXXXXXX
             XX-XXXXXXX - Tai EI-Hawa    http://www.mol.gov.ps              Ramallah: Head: Ali Hamdan
             XX-XXXXXXX - Tai EI-Hawa    Main St., Betunia, PO Box 350,               Tel: XX-XXXXXXX/6
     Civil Defense Centers;              Ramallah                           Salfeet: Head: Baha' Eddin Taha
     AI-Bireh: Tel.: XX-XXXXXXX          Gaza:                                        Tel.: XX-XXXXXXX
     .BethL: Tel.: 110/XX-XXXXXXX-3      Tel.: XX-XXXXXXX/8393              Tu!kareM~ Ghazi Nasrallah
      Deir Al-Bal ah· Tel.: 102                XX-XXXXXXX/640                         Tel.: XX-XXXXXXX
                       XX-XXXXXXX        Fax: XX-XXXXXXX/22400
     .12ura: Tel.: XX-XXXXXXX            Abu Khadra, PO Box 4021
                                                                            ►    MINISTRY OF LOCAL
     Gaza; Tel.:102/XX-XXXXXXX/3633      Asst. Deputy Ministers:
     Hebron: Tel.: XX-XXXXXXX            Moh'd Sabbah (Yvest Bank, Gaza)         GOVERNMENT
     J.ahalia: Tel.: 102/XX-XXXXXXX/35     Tel.: XX-XXXXXXX                 Minister: Dr. Sa'eb Erekat
                     XX-XXXXXXX/6        Haider Ibrahim (West Bank)         Tel: XX-XXXXXXX/065
     kn.in: Tel.: 102/XX-XXXXXXX ·         Tel.: XX-XXXXXXX                 Fax: XX-XXXXXXX
                     XX-XXXXXXX          Dir. Gen.: Ahmed Abu Shawish       E-mail: molg@p-ol.com
     Jericho: Tel.: XX-XXXXXXX/1062      Tel.: XX-XXXXXXX                   http://www.p-ol.com/-molg/
     Khan Younis: 102 / XX-XXXXXXX       Emplor;eat Program;                Kitf Al-Wad, PO Box 98, Jericho
     Nab!us: Tel.: XX-XXXXXXX/1011       Dir.: A dul Majeed Swailem         .Gaza.:.
     =ya: Tel.: XX-XXXXXXX/1             Tel.: XX-XXXXXXX                   Tel.: XX-XXXXXXX/494/29184/046
             : Tel.: XX-XXXXXXX          Director Generals:                      XX-XXXXXXX/3/4478
     Ramallah: Tel.: 02-295880/5599      - Admin. & Financial Affairs:      Fax: XX-XXXXXXX
     Sal.fit: Tel.: XX-XXXXXXX              Mohammed Abu Sbeitan            Ramallah: PO Box 731
     Thahciyyeh: XX-XXXXXXX              - Cooperatives: Taher An-Natsheh   Tel.: XX-XXXXXXX/8
     Tulkarem: Tel.: XX-XXXXXXX          - Employment & Labor:              Fax: XX-XXXXXXX
     Yatta: Tel.: XX-XXXXXXX               .Gaza: Said Mdalal               Deputy: Dr. Hussein Al-Araj
                                            West Bank: Hussein Al-Abed      Tel.: O.Z-2402260
                                         - International, Arab & Public     Asst. Deputy/Gaza: Ismail Abu
     ► MINISTRY OF JUSTICE                  Relations: Hassan Saleh         Shamaleh - Tel.: XX-XXXXXXX
     Minister: Freih Abu Meddein         - Labor Inspection: Mahmoud AI-    AssL Depu~/WB: Ahmed Ghneim
     Tel.: XX-XXXXXXX/20256                 Shunaq                          Dir. Gen.: Jihad Hamdan,
           XX-XXXXXXX/42                 - Labor National Institute:                   Omar Samha
           XX-XXXXXXX/318/9118              Fawaz Yassin                    fK: Dir.: Dr. Hani Al-Hrub
     Fax: XX-XXXXXXX/20265               - Labor Relations: Ahmad Nijjem    Tel.: XX-XXXXXXX/8
     Deputy Min.: Ibrahim Al Daghma      - Occupational Safety & Health:    District Planning Committee:
     Tel.: XX-XXXXXXX                       Assef Sa'id                     Tel.: XX-XXXXXXX - Qalqilya
     Asst. Dep.: Hassan Abu Libdeh       - Planning & Information:
     Tel. & Fax: XX-XXXXXXX                 Ghazi Al-Khalili
     Attorney Gen.: Zuheir As-Sourani    - Social Insurances:               ►MINISTRY OF NON-GOVERN-
     Tel.: XX-XXXXXXX                       Mohammed Hzayyim                  MENTAL ORGANIZATIONS
     Dir.Gen.: Atef Khudari              - Vocational Training: Riad        Minister: Hassan Asfour
     Tel.: XX-XXXXXXX                       Madani, Ahmad Af Khatib         Dir. Gen.: Dr. Fathi Darwish
     Fax: XX-XXXXXXX                     - Woman Affairs: lhsan Barnawi     Tel.: XX-XXXXXXX/2834828
     Dir. Gen./WB: Farouk Abul Rub       Media & Public Relations Dept.:    Fax: XX-XXXXXXX
     Dir. Gen.: Yahya Shrouro            Head: Ali Najmeddin                E-mail: mongoa@mongoa.gov.ps
     Tel.: XX-XXXXXXX                    lecicho Office;                            smona@palnet.com
     Fax: XX-XXXXXXX                     Husni Hamdan                       http://wwl(V.mongoa.gov .ps
     Dir. Gen. Public Relations:         Tel.: XX-XXXXXXX                   PO Box 13 70, Gaza
     Mohammed Abu Shawiesh                     XX-XXXXXXX                   RamaUah·         .
     Tel.: XX-XXXXXXX                    Fax: XX-XXXXXXX lf4                Tel.: XX-XXXXXXX-2
     Fax: XX-XXXXXXX                     Public Relations\j)tz Abbassi      Fax: XX-XXXXXXX
                                         Tel.: 07-282 2400d ~               PO Box 20, Ramallah

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   ►   MINISTRY OF PARLIA-               As-Sahrafeh St., AI-Bireh, opp. AI-     Director Generals:
        MENTARY AFFAIRS                  Razi Hospital (Munis Tresh              - Rehabilitation: lkhlas Jamil
  Minister: Nabil Amro                   House), PO Box 38144, Kufr Aqab           Tel.: 07-284ts426/2848426
  Tel.: XX-XXXXXXX-3                     PR Dept,: Basel Jaber                   - PR Dept.: Abeer Abu Kishk
  Fax: XX-XXXXXXX                        Tel.: XX-XXXXXXX                          Tel.: XX-XXXXXXX/4
  E-mail: mpa@planet.edu                 Media Office: Basel Jaber               - Planning Unit: Hana AI-Qaimari
  lrsal St., Jaber Shalash Bldg.,        Tel.: 07-2 867334                         Tel: XX-XXXXXXX/2986183-4
  Rarnallah                                                                      District Offices:
                                                                                lli!thl: Head: Diana Mubarak
                                         ►   MINISTRY OF POSTS &                              Tel.: XX-XXXXXXX/7
  ► MINISTRY OF PLANNING &                   TELECOMMUNICATION                                Fax: XX-XXXXXXX
  INTERNATIONAL COOPERATION             Minister: lmad AI-Falouji                Hebroa: Head: Sharif Jaradat
  Minister: Nabil Sha'ath               Tel.: XX-XXXXXXX/9171                                 Tel.: XX-XXXXXXX
  Tel.: XX-XXXXXXX/28224882/93          Fax: XX-XXXXXXX                                       Fax: XX-XXXXXXX
        XX-XXXXXXX/2821655/40           Gaza                                    ~ Tel. & fax: XX-XXXXXXX
  Fax: XX-XXXXXXX/2937/2482              Ramalla.b:                             J..eridm: Head: Ahmad Maharmeh
  E-mail: info@nmopic.pna.net           Tel.: XX-XXXXXXX/7/8/946                              Tel.: XX-XXXXXXX
  http://www.pna.gov.ps/                Fax: XX-XXXXXXX                          lerusalem: Head: Sha'lan Bahar
  PO Box 401 7, Gaza City               E-mail: har.aha@hotmail.com                           Tel. & fax: XX-XXXXXXX
  West Bank:                            lrsal St., A -Balou', PO Box 674        .l:'::Wtl.ui: Head: Fadia Al Masri
   Tel.: 02-2 961860-2/850/1            Deputy Min.: Zuheir Lahham                         Tel.: XX-XXXXXXX/2387785
         XX-XXXXXXX/2983914             Tel.: 07-2 829459/2825666                          Fax: XX-XXXXXXX
   Fax: XX-XXXXXXX-9                    Fax: XX-XXXXXXX                         QalqH~a: Head: Dr. Saleh Mara'be
  AI-Balu', AI-Bireh, PO Box 1336,      Dir. Gen.: Mahmoud Diwan                            el.: XX-XXXXXXX
   Ramallah or PO Box 54319, J' lem     Director Generals:                      Ramalfab: Head: Zuheir AI-Zuheiri
  Deputy: Dr. Samih Al Abed             - West Bank: Samir Bakr                           Tel.: XX-XXXXXXX
  Tel.: XX-XXXXXXX / 059-352875         - Gaza: Kamel Sha' ath                            Tel. & Fax: XX-XXXXXXX
  AssL Deputy: Ali Sha'ath - Gaza       - Communications: Moh'd Skeik           Julkarem: Head: Ra'eq AI-Dureydi
  Tel.: XX-XXXXXXX I 059-408115         - Internal Control: Majdi Jaber                      Tel.: XX-XXXXXXX
  Dir. Gen.: D.r. Majdi Khalidi         - Postal Affairs: Omar Khalawi
  Tel.: XX-XXXXXXX
                                                                                ► MINISTRY OF SUPPLIES
  Director Generals:                    ►MINISTRY OF PUBLIC WORKS
  - Internal. Coop.: Walid Siam                                                 Minister: Abdul Aziz Shaheen
    Ahmad Suboh                         Minister: Azzam Al-Ahmad                Tel.: XX-XXXXXXX/05/25/2825140
    Tel.: XX-XXXXXXX/3                  Tel.: XX-XXXXXXX/8/7888/                      059-419995
     Hisham Mustapha                            XX-XXXXXXX/1208/2206/7          E-mail: supply@rannet.com
    Tel.: XX-XXXXXXX                     Fax: XX-XXXXXXX/2400890                AI-Wihda St., Gaza
  - Gender Planning & Develop-           E-mail: mpw@palnet.com                 Ramallah:
    ment: Zahira Kamal                  Sateh Marhaba, AI-Bireh                 Tel.: XX-XXXXXXX
    Tel.: XX-XXXXXXX/                    PO Box 29, Ramallah                    Fax: XX-XXXXXXX
          050-500363 I 050-695342       Gaza:.                                  AI-Balou', PO Box 2148, AI-Bireh
 - Expatriate Affairs: Anis Bargouthi   Tel.: XX-XXXXXXX                        Um Sharart: Tel.: XX-XXXXXXX
    E-mail: expat@intlcoop.pna.net      Fax: XX-XXXXXXX                         PO Box 2 48, Ramallah
    Tel.: 02 -2961860/1                 Arab League St., Rimal                  Deputy: Abdul Hamid AI-Qudsi
 - Admin. & Financial Affairs:          Deputy: Deif Allah Al Akhras                      Tel.: XX-XXXXXXX
      Said AI-Qudreh                    Director Generals;                      Dir. Gen.: Adel Saqallah
      TeL: XX-XXXXXXX                   - Public Works: Afif Said                         Tel.: XX-XXXXXXX
            XX-XXXXXXX                  - Hebron: Majdi Abu Gharbiyeh           Consultant: Dr. Subhi Abu Sha'ireh
 - Israeli Affairs: Sufian Abu Zaydeh      Tel.: XX-XXXXXXX                     Director Generals:
      Tel.: XX-XXXXXXX                    - Jericho: Musa Jadallah              - Northern Region: Abdallah Skafi
 - Strategic and Sectoral Planning      - Planning & Studies: Aqil Kharsam        Tel.: XX-XXXXXXX/5/29878920
    KhalifNijim                            Tel.: XX-XXXXXXX                     - Financial & Admin. Affairs:
    Tel.: XX-XXXXXXX / 052-634511       - Technical Affairs: Maher Ghneim          Riyad Al Madhoun
 - Institution Building & Human            Tel. & Fax: XX-XXXXXXX                 Tel.: XX-XXXXXXX/30
    Resources Development:              - Admin. & Financial Affairs:           - Control & lns1>ection:
    Dr. Mohammed Ghadiyeh                 Bassam Abu Gharbiyeh                    Gaza: Abdallah Fattah Humeid
    Tel.: XX-XXXXXXX                      Tel.: XX-XXXXXXX                        Tel.: XX-XXXXXXX/30
 Science & Iechnolofil; Unit:                                                     West Bank: Mahmoud ld'eis
 Head: Dr. Karim Tan oub                                                        - PR: Ibrahim Khader
 Tel. & Fax: XX-XXXXXXX                 ►MINISTRY OF SOCIAL AFFAIRS             District Offices:
 PAL ESTA <Palestinian Scientists       Minister: lntisar AI-Wazir (Um Jihad)   Beit Lahya: Tel.: 07-245871 o
 and Technologists Abroad)              Tel.: XX-XXXXXXX/4/5/89                 Bethlehem: Tel.: XX-XXXXXXX
 E-mail: ask@palesta.net                Fax: XX-XXXXXXX                         Deir AI-Balah: Tel.: XX-XXXXXXX
 http://www.pa lesta, net               Old Housing Bldg., Rimal, Gaza          Gaza Ci'y-: Tel.: XX-XXXXXXX/30
 Balou', Ramallah                       Ramallah·                               Hebron: el.: XX-XXXXXXX/3333
 NPA Secretariat (National Plan of      Tel.: XX-XXXXXXX/2986183/4              Jenin: Tel.: XX-XXXXXXX/3
 Action for Palestinian Children}       Fax: XX-XXXXXXX/2959060                 J.filicilo: Tel.: XX-XXXXXXX
 Tel.: XX-XXXXXXX/1                     Um Sharayet., PO Box 3525,              Jerusalem: Tel.: XX-XXXXXXX
 Fax: XX-XXXXXXX                        AI-Bireh                                Khan Younis: Tel.: XX-XXXXXXX
 E-mail: npapal@palnet.com              Deputy Min. & Din en.:                  trabius: Tel.: XX-XXXXXXX/B
 http://palnet.com/-npasec/             Wahid M'teir                            ~lya: Tel.: XX-XXXXXXX
                                        Tel.: XX-XXXXXXX                              : Tel.: XX-XXXXXXX

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    Ramallab: Tel.: XX-XXXXXXX/4           Fax: XX-XXXXXXX/2824837                   Tel.: XX-XXXXXXX
    Jy!karem: Tel.: XX-XXXXXXX/9           AI-Yarmuk St., PO Box 283, Gaza     .ler:ichu: Suleiman Abu Taleb
                                           lzzaciyya:                                Tel.: XX-XXXXXXX
    ►    MINISTRY OF TOURISM &
                                           Tel.: XX-XXXXXXX/3                  .t.lem: Head: Nabil Abu Omar
                                           Fax: XX-XXXXXXX                               Tel.: XX-XXXXXXX
         ANTIQUITIES                       Dar AI-Aytam Al-lslamia Bldg.       Khan Younis:
    Minister: Mitri Abu Aita               b ep.: She ikh Yusef Juma Salameh             Tel.: XX-XXXXXXX/3671
   Tel.: 02-274158·1-3                     Asst. De puty: Aziz Amro            .bl.a.blu5: Head: Ghassan Al-Masri
    Fax: XX-XXXXXXX                        Mufti or Jerusalem & Palestine:               Tel.: XX-XXXXXXX
    E-mail : mota @visit-p alestine.com    Sheikh Ekrima Sabri                           Fax: XX-XXXXXXX
    http://www.visit-palesti ne.com        Tel.: XX-XXXXXXX/050-311489         Qalqilta:
    Nazzal Building, Main.Street           Fax: XX-XXXXXXX                                el.: XX-XXXXXXX
    PO Box 534, Bethlehem                  PO Box 54825, Jerusalem             Ramallab-A(-Bireh: Nimer Attiyeh
    Deputy: Abdallah Hijazi                Dir., AI-Aqsa Mosque:                        Tel.: XX-XXXXXXX/4
   Tel.: XX-XXXXXXX I XX-XXXXXXX           Sheikh Mohammed Hussein                             XX-XXXXXXX/2
    Fax: XX-XXXXXXX                        Tel.: XX-XXXXXXX                              Fax: XX-XXXXXXX
    Dir. Gen.: Bajes Ismail                Dir. Generals:                      ~ : Head: Reyad Amer
   Tel.: XX-XXXXXXX                        - Jerusalem Affairs:                         Tel. : XX-XXXXXXX
   Fax: XX-XXXXXXX                            Nasser Daoud Rifa'i              Tulkarem: Head: A'la'a Haloub
   District Offices:                       - Directorates: Bahjat Dweikat               Tel.: XX-XXXXXXX
   Gaza: Tel.: XX-XXXXXXX/2824876          - Financial Affairs: Moh'd          • Ben Weider Academy for Fitness
            Fax: XX-XXXXXXX                   Mustapha Ja'far, Khader Abu          Di1 .: Dr. t lazih N'eirat
   Hebron: Tel.: XX-XXXXXXX                   Sha'ban: Tel.: XX-XXXXXXX           Tel.: XX-XXXXXXX
            Fax: XX-XXXXXXX                   Mahmoud AI-Neirab:                  Fax: XX-XXXXXXX
   J..enin: Tel.: XX-XXXXXXX                  Tel.: XX-XXXXXXX                    Beitunia
            Fax: XX-XXXXXXX                - Christian Affairs:                •Majed As'ad Sports' Compound
   1.erkrul: Tel.: XX-XXXXXXX                 Ibrahim Kandalaft                   Dir.: Daoud Mitwali
            Fax: XX-XXXXXXX                  Tel.: XX-XXXXXXX/050-391697          Tel.: XX-XXXXXXX
   ~ : Tel.: XX-XXXXXXX-4                  - Islamic Research:                    AI -Bireh
            Fax: XX-XXXXXXX                   Mohammed Lafi                    • The Martyr Salah Khalaf Center
   Qalqilya: Tel.: XX-XXXXXXX                Tel.: XX-XXXXXXX/47638               for Young Leaders
                 Fax: XX-XXXXXXX           - Legal Affairs:                       Dir.: Marwan Wishahi
   Ramallah: Tel.: XX-XXXXXXX/2/3             Fouad Siam                          Tel.: XX-XXXXXXX
            Fax: XX-XXXXXXX                - Women's Affairs Dept.:               Al-fara'a
   Salfi:et: Tel.: XX-XXXXXXX                Tel.: XX-XXXXXXX
            Fax: XX-XXXXXXX                 District Offices:
   Tu(karem: Tel.: XX-XXXXXXX              .Gaza: Tel: XX-XXXXXXX              ►   MINISTERS WITHOUT
            Fax: XX-XXXXXXX                t!ablus: Tel.: XX-XXXXXXX/5/6            PORTFOLIO
                                                                                                                    ..
                                           Hebron & Southern District;         Minister: Faisal Husseini
                                                   Tel.: XX-XXXXXXX            Uerusalem File)                      "
   ►   MINISTRY OF TRANSPORT
                                                                               Tel.: XX-XXXXXXX/2472
   Minister: Dr. Ali Qawasmi                                                        050-549831
   Tel.: XX-XXXXXXX                        ►    MINISTRY OF YOUTH &
                                                SPORT                               052-537295
   Fax: XX-XXXXXXX                                                             Fax: XX-XXXXXXX
   PO Box 399, Ramallah                    Minister:----                       Orient House, Jerusalem
   Asst. Deputy: Ali Suleiman Ja'bari      Tel.: XX-XXXXXXX/2826689/
   Tel.: XX-XXXXXXX                              XX-XXXXXXX/2668/9/7654        Minister: Salah Ta'amari
   Gaza: Tel.: XX-XXXXXXX/63762            Fax: XX-XXXXXXX                     (Settlements)
               XX-XXXXXXX                  E-mail: MYS@palnet.com              Tel.: XX-XXXXXXX/3
   Fax: XX-XXXXXXX                         Ash-Shifa St., Southern Rimal,            XX-XXXXXXX
   Dir. Gen.: Mahmoud Qawasmi              PO Box 1416, Gaza                         050-202947 / 052-202947
   Tel.: XX-XXXXXXX                        Ramallab:                           Fax: 02-27.d.3502
   Director Generals:                      Tel.: XX-XXXXXXX/2/8/6490/          do Orient House, Jerusalem
   - licensing, Southern Districts:              02-2 9559730-4
       Jibril Tiloani - Tel.: XX-XXXXXXX   Fax: XX-XXXXXXX                     Minister: Ziyad Abu Ziyad
   - licensing, West Bank:                 lrsal St., lrsar Bldg., PO Box 52   Tel.: XX-XXXXXXX
       Eng: Monammad Jaradat               Deputy Min.: Dr. Ahmad AI-Yazji           XX-XXXXXXX/1
       Tef.. XX-XXXXXXX                    Tel.: XX-XXXXXXX/2743                     050-248089
   .,. Financial Affairs: Ali Erekat       Fax: XX-XXXXXXX                     Fax: XX-XXXXXXX
     Tel.: XX-XXXXXXX                      Asst. Deputy/West Bank:             E-mail: pij@palnet.com
   - Admin. Affairs & Supplies:            Dr. Jamal AI-Muheissen
       Abdul Jabbar Hamad                  Tel.: XX-XXXXXXX                    Minister: Or. Nabil Kassis
                                           Dir. Gen.: Rabiha Diab              (Bethlehem 2000)
                                           Tel.: XX-XXXXXXX                    Tel.: XX-XXXXXXX
   ►    MINISTRY OF WAQF &                 District Offices;
        RELIGIOUS AFFAIRS                                                      Fax: XX-XXXXXXX
                                           Ik!b.1..: Head: Khalil Shahwan
   Minister; ---                                   Tel.: 02 -2770612-4         Minister: Jirar Qudwa
   Hebron                                  Deir Al Balah; Tel.: XX-XXXXXXX     Tel.: XX-XXXXXXX
   Tel.: XX-XXXXXXX / 050-353308           Gaza Cam,12011odl: 07 2824956       Fax: XX-XXXXXXX
        XX-XXXXXXX                         Hebron: Abdul Na . r Al Sharif
   .Gaza                                           Tel.: 02-222 ; · 9
   Tel.: XX-XXXXXXX                        J.enin: Head: G has t Kabaha

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                                                  PASSI A   #tft~i;;~J,•                  04:000041
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       PLC - PALESTINIAN              Hatem Abdel Qader                      Ibrahim AI-Habbash
      LEGISLATIVE COUNCIL             Tel.: XX-XXXXXXX/1 - off.              Tel. : XX-XXXXXXX
                                            052-867629                              XX-XXXXXXX - res.
                                      Fax: XX-XXXXXXX                               059-408332
 S~aker: Ahmed Qrei'a (Abu Ala')                                             Fax: XX-XXXXXXX
 Tel.: XX-XXXXXXX/2959595             Hanan Ashrawi
       050-495659                     Tel.: XX-XXXXXXX/35462 - off.          Sa'adi Al-Krunz
       XX-XXXXXXX - res.                    XX-XXXXXXX/9 - res.              Tel.: XX-XXXXXXX/2843707
 Fax: XX-XXXXXXX                            059-201207/6                           050-342251 / 059-408331
 Main Office AI-Bireh·                Fax: XX-XXXXXXX                        Fax: XX-XXXXXXX/2824884
 Tel.: XX-XXXXXXX/5/7
 Fax: XX-XXXXXXX                      Ahmad AI-Batsh                         Jalal AI-Msadar
 ~
                                      Tel.: XX-XXXXXXX - off.                Tel.: XX-XXXXXXX/30950
Tel.: XX-XXXXXXX/9337/8                     XX-XXXXXXX - res.                      059-401010
       XX-XXXXXXX/3953                      050-452242                       Fax: XX-XXXXXXX
Fax: XX-XXXXXXX/41 7 4/25 96          Fax: XX-XXXXXXX
E-mail : palp lc@plane t.e du                                                Jamileh Saydam
http://www.pal-plc.org                Dr. Emile Jarjou'i                     Tel.: XX-XXXXXXX - off.
1•1 Deputy: Ibrahi m Ab u N aja       Tel.: XX-XXXXXXX/5 - off.                    XX-XXXXXXX - res.
Te l.: 07-2824 154 / 050 -54 63 82          XX-XXXXXXX - res.                      059-408379
Fax: XX-XXXXXXX                             050-243601                       Fax: XX-XXXXXXX
2 nd Deputy: Ghazi Hanania            Fax: XX-XXXXXXX/2742514
Tel.: XX-XXXXXXX/5411 O               Ahmad Qrei'a (Abu Ala)                 ► GAZA CITY DISTRICT
       059-301357                     Tel.: XX-XXXXXXX/59595 - off.
Fax: XX-XXXXXXX                         050-495659/XX-XXXXXXX - res.         Gaza District Office (11 seats)
Die, Gen,: Mahmoud Labadi             Fax: XX-XXXXXXX                        Tel.: XX-XXXXXXX
Tel.: XX-XXXXXXX I 2960733                                                   Fax: XX-XXXXXXX
       050-532747                     Ahmad Hashem Az-Zughayar
Fax: XX-XXXXXXX                       Tel.: XX-XXXXXXX/2347450 - off.        Ziad Abu Amr
 Dir, Gen, of the Speakers Office'.     XX-XXXXXXX/050-389761 - res.         Tel.: XX-XXXXXXX / 059-408407
Salah AI-Ayan                         Fax: XX-XXXXXXX                              XX-XXXXXXX - res.
Tel.: 0 2-2987716 / 050 -3 77915                                             Fax: XX-XXXXXXX
Fax: XX-XXXXXXX
                                      ► BETHLEHEM DISTRICT                   Marwan Kanafani
Financial Department                                                         Tel.: XX-XXXXXXX/5470
Abdul Karim Abu Taha                  Bethlehem District Office                    059-408119
Tel. & Fax: XX-XXXXXXX                (4 seats)                              Fax: XX-XXXXXXX
            059-205206                Officer: Fuad Suleiman Salem
PLC Committees                        Tel.: XX-XXXXXXX/2743502/3             Nahedd Ar-Rayyes
Dir.: Ibrahim Khreisheh               Fax: XX-XXXXXXX                        Tel.: XX-XXXXXXX - off.
Tel.: XX-XXXXXXX / 050-566317                                                Fax: XX-XXXXXXX
Media & Information Dept. ·           Mitri Abu Aitta
                                      Tel.: XX-XXXXXXX/5440 - off.           Faraj As-Sarra{
Dir.: Basem Barhoum
Tel.: XX-XXXXXXX/2402718                    XX-XXXXXXX - res.                Tel.: XX-XXXXXXX - off.
                                            050-510047                             XX-XXXXXXX - res.
PR D~artment                          Fax: XX-XXXXXXX                              059-408423
Dir.:adia Sartawi                                                            Fax: XX-XXXXXXX
Tel. & Fax: XX-XXXXXXX                Bishara Daoud
            050-281193                Tel.: XX-XXXXXXX/5440 - off.           Yousef Ash-Shanti
Administrative Affairs:                     XX-XXXXXXX - res.                Tel.: XX-XXXXXXX/74003
Dir. Gen.: lzzideen Abu Safiyeh             050-381090                             059-408368 / 050-483 773
Tel.: XX-XXXXXXX                      Fax: XX-XXXXXXX                              052-379414
      050-316080 I 059-31 6080                                               Fax: XX-XXXXXXX
~ : Dir.: Lina Queider                Salah At-Ta'mari
Tel.: XX-XXXXXXX / 050-363848         Tel.: XX-XXXXXXX - off.                Fakhri Shaqoura
L:ral Dept.: Jamal El Khatib                XX-XXXXXXX - res.                Tel.: XX-XXXXXXX - off.
Te .: XX-XXXXXXX                            050-202947                             XX-XXXXXXX / 059-408158
                                      Fax: XX-XXXXXXX/3                      Fax: XX-XXXXXXX

                                      Daoud Az-Zeir                          Rawya Ash-Shawwa
  ·     PLC . MEMBERS          ··                                            Tel.: XX-XXXXXXX - off.
                                      Tel.: XX-XXXXXXX - off.
                                            050-201005 I 059-2052 71               XX-XXXXXXX - res.
► JERUSALEM DISTRICT                                                               059-408416
                                      Fax: XX-XXXXXXX
                                                                             Fa><: XX-XXXXXXX
Jerusalem District Office (7 seats)
Tel.: XX-XXXXXXX/1                    ► DEIR AL-BALAH DISTRICT               lntisar Al-Wazir
Fax: XX-XXXXXXX                                                              Tel.: XX-XXXXXXX - off.
Ziad Abu Zayyad
                                      Deir Balah District Office (5 seats)         XX-XXXXXXX - res.
                                      Tel. & Fax: XX-XXXXXXX                 Fax: XX-XXXXXXX
Tel.: XX-XXXXXXX/2797450/1 - off.
      XX-XXXXXXX                      Freih Abu Meddein                      Wajih Yaghi
      XX-XXXXXXX I 050-248089         Tel.:XX-XXXXXXX/ 50-314142             Tel.: XX-XXXXXXX - off.
Fax: XX-XXXXXXX                            XX-XXXXXXX   es.                        059-408415
E-mail: pij@palnet.com                Fax: 07-28202 65. 52166                Fax: XX-XXXXXXX


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    Musa Az-Za'bout                      ► JABALIA DISTRICT                  Fakhri Turkman
    Tel.: XX-XXXXXXX - off.                                                  Tel.: XX-XXXXXXX/2 - off.
     XX-XXXXXXX I 059-406412 -res.       Jabalia District Qffice (7 seats)        06-243 6650 /059-2053 77
    Fax: XX-XXXXXXX                      Tel. & Fax: XX-XXXXXXX              Fax: 06-24J9580
    Rer.ad Az-Zanoun                     Hisham Abed Ar-Razek
    Te.: XX-XXXXXXX/54/5579 - off.       Tel.: XX-XXXXXXX - off.             ► JERICHO DISTRICT
         XX-XXXXXXX - res.                     XX-XXXXXXX - res.
         050-349671                           050-369732 I 059-408181        le[icbQ Distckt Qffice (1 seat)
    Fax: XX-XXXXXXX                      Fax: XX-XXXXXXX                     Tel.: XX-XXXXXXX
                                                                                  XX-XXXXXXX
                                         Yousef Abu Safieh
    ► HEBRON DISTRICT                    Tel.: XX-XXXXXXX - off.             Sa'eb Erekat
                                               XX-XXXXXXX - res.             Tel.: 02-2321 540/6190 - off.
    Uebroo llh;tcid Office (1 0 seats)         059-408262                          XX-XXXXXXX - res.
    Tel.: XX-XXXXXXX                     Fax: XX-XXXXXXX                           050-523405 I 059-205190
    Fax: XX-XXXXXXX                                                          Fax: XX-XXXXXXX
   Zahran Abu Qbeitah                    Fuad Eid
   Tel.: XX-XXXXXXX/7 - off.             Tel.: XX-XXXXXXX / 059-408328       ► KHAN YOUNIS DISTRICT
         XX-XXXXXXX - res.                     XX-XXXXXXX - res.
         050-533979                      Fax: XX-XXXXXXX                     Khan l:'.auois District Office
   Fax: XX-XXXXXXX/7                     Emad AI-Falouji                     (8 seats)
                                         Tel.: XX-XXXXXXX                    Tel.: XX-XXXXXXX/2051134                  ,
   Ali Abu Ar-Rish                                                           Fax: XX-XXXXXXX                           (
   Tel.: XX-XXXXXXX - off.                     XX-XXXXXXX - res.                                                       r
         050-233926 I 059-205178               050-433943 I 059-433943       Ibrahim Abu An-Naja                       I

   Fax: XX-XXXXXXX/7                     Fax: XX-XXXXXXX                     Tel.: XX-XXXXXXX -off.                    ~
    Musa Abu Sabha                       Abdul Rahman Hamad                        XX-XXXXXXX - res.
                                                                                   050-546382
                                                                                                                       ~
                                                                                                                       ~
   Tel.: XX-XXXXXXX/7 - off.             Tel.: XX-XXXXXXX/777/9149/2235                                                g
                                              059-408120                     Fax: XX-XXXXXXX
         XX-XXXXXXX- res.
         050-356815 I 059-205186         Fax: XX-XXXXXXX/849                 Abdul Karim Abu Salah
    fax: XX-XXXXXXX/7                    Karam Sarandah                      Tel.: XX-XXXXXXX - off.
                                         Tel.: XX-XXXXXXX / 052-332567             XX-XXXXXXX - res.
   Suleiman Abu Sneineh                                                           059-408314
   Tel.: XX-XXXXXXX/7 - off.                   XX-XXXXXXX - res.
                                         Fax: XX-XXXXXXX                     Fax: XX-XXXXXXX
         XX-XXXXXXX/6398
         050-537729 / 050-233926         Kamal Ash-Sharafi                   Hassan Asfour
         059-205176 I 059-205196         Tel.: XX-XXXXXXX/059-408321-off.    Tel.: XX-XXXXXXX/5552
    Fax: XX-XXXXXXX/7                          XX-XXXXXXX - res.                 050-347226 / 059-347226
                                         Fax: XX-XXXXXXX                     Fax: XX-XXXXXXX/2823487
    Nabil Amro                                                                   XX-XXXXXXX
   Tel.: XX-XXXXXXX/3 - off.
         XX-XXXXXXX - res.               ► JENIN DISTRICT                    Ra'fat An-Najar
         050-573784                                                          Tel.: XX-XXXXXXX - res.
    Fax: XX-XXXXXXX                      leoio Oistcid Office (6 seats)           050-254766
                                         Tel.: XX-XXXXXXX/2                  Fax: XX-XXXXXXX
   Mohammed Al-Hourani                   Fax: XX-XXXXXXX
   Tel.: XX-XXXXXXX/7                                                        Ahmad Nasr
         050-282654 I 059-205204         Azzam Al-Ahmad                      Tel.: XX-XXXXXXX - off.
   Fax: XX-XXXXXXX/7                     Tel.: XX-XXXXXXX/4181 - off.              XX-XXXXXXX - res.
                                               050-500104                         050-278233
   Rafiq An-Natsheh                      Fax: XX-XXXXXXX                     Fax: XX-XXXXXXX/2022576
   Tel.: XX-XXXXXXX-9 - off.
         XX-XXXXXXX I XX-XXXXXXX         Jamal Shati Al-Hindi                Nabil Sha'ath
         052-390555                      Tel.: XX-XXXXXXX/2 -off.            Tel.: XX-XXXXXXX
    Fax: XX-XXXXXXX/7                          XX-XXXXXXX I 050-251081       Fax: XX-XXXXXXX
                                              059-205121                                                        !;
   Ali AI-Qawasmi                        Fax: XX-XXXXXXX                     Ahmad Ash-Shibi                      i
   Tel.: XX-XXXXXXX/2400944 - off.                                           Tel.: XX-XXXXXXX - res.
         XX-XXXXXXX/6910 - res.
         050-433942 / 059-433942
   Fax: XX-XXXXXXX/6766/7
                                         Ahmad lrsheid
                                         Tel.: XX-XXXXXXX/2-off.
                                               XX-XXXXXXX I 059-205174
                                                                                  059-484150
                                                                             Fax: XX-XXXXXXX                    I
                                                                                                                !
                                                                                                                .";
                                                                                                                '.!!
                                         Fax: XX-XXXXXXX                     Jawad At-Tibi                      4
   Jamal Ash-Shobaki                                                         Tel.: XX-XXXXXXX / 059-408447
   Tel.: XX-XXXXXXX/7 - off.             Burhan Jarrar                            050-254766 / 050-451362
         XX-XXXXXXX- res.                Tel.: XX-XXXXXXX/2 -off.            Fax: XX-XXXXXXX
         050-289722 I 059-205304               XX-XXXXXXX - res.
   Fax: XX-XXXXXXX/7                     Fax: XX-XXXXXXX                     ► NABLUS DISTRICT
   Abbas Zaki                            Hikmat Zeid AI-Kilani
   Tel.: XX-XXXXXXX - off.               Tel.: XX-XXXXXXX-8-/ 90-2           ~ablus llisttid Office (8 seats)
         XX-XXXXXXX - res.                     050-369734.tiOS9-205147       Tel.: XX-XXXXXXX
         050-388678 / 059-224455               06-250102n·-:~:i              Tel. & Fax: XX-XXXXXXX
   Fax: XX-XXXXXXX                       Fax: XX-XXXXXXX'~::-:.:
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Kamel Al-Afghani                     Rouhi Fatouh                         Ahmad Ad-Deik
Tel.: XX-XXXXXXX I 059-205460        Tel.: XX-XXXXXXX/4194 - off.         Tel.: XX-XXXXXXX/9 - off.
      XX-XXXXXXX - res.                    050-566319                           XX-XXXXXXX I 059-653026
fax: XX-XXXXXXX                      Fax: XX-XXXXXXX                      Fax: XX-XXXXXXX
Salloum Samri                        Mohammed Hijazi
                                     Tel.: XX-XXXXXXX/1/5108 - off.       ► TUBAS DISTRICT
Tel.: XX-XXXXXXX - off.
      XX-XXXXXXX / 050-412737              XX-XXXXXXX/2826725 - res.
      059-205454                           050-358846                     Tubas District C.ffice (1 seat)
Fax: XX-XXXXXXX                      Fax: XX-XXXXXXX                      Tel.: XX-XXXXXXX
                                                                                050-660469 / 059-733373
Husam Khader                         Suleiman Ar-Rumi
Tel.: XX-XXXXXXX - off.              Tel.: 07-213691 l - off.             Hashem Suleiman Saleh
      XX-XXXXXXX - res.                    XX-XXXXXXX/8                   Daraghmeh
      059-205410                           052-614212 / 059-408384        Tel.: XX-XXXXXXX / 059-205451
Fax: XX-XXXXXXX                      Fax: XX-XXXXXXX                      Fax: XX-XXXXXXX

Maher Al-Masri                       Abdul Aziz Shaheen                   ► TULKAREM DISTRICT
Tel.: XX-XXXXXXX - off.              Tel.: XX-XXXXXXX/6430/4324- off.
      XX-XXXXXXX - res.                    XX-XXXXXXX                     Julkarem District Office (4 seats)
      050-373705                     Fax: XX-XXXXXXX/5140                 Tel.: XX-XXXXXXX
fax: XX-XXXXXXX                                                           Fax: XX-XXXXXXX
Mu'awiyah Al-Masri                   ► RAMALLAH DISTRICT
                                                                          Mufid Abed Rabbo
Tel.: XX-XXXXXXX - off.                                                   Tel.: XX-XXXXXXX/3857
      XX-XXXXXXX                     Ramallab District Office (7 seats)         XX-XXXXXXX - res.
      050-268671 I 059-205448        Tel.: XX-XXXXXXX
                                           XX-XXXXXXX/5/7                       052-357865 / 059-205723
Fax: XX-XXXXXXX                                                           Fax: XX-XXXXXXX
                                           XX-XXXXXXX
Dalal Salameh                                                             AI-Tayyeb Abdul Rahim
Tel.: XX-XXXXXXX - off.              Marwan Barghouti                     Tel.: XX-XXXXXXX~off.
      059-205470 I 050-768291        Tel.: XX-XXXXXXX/50 - off.           Fax: XX-XXXXXXX
Fax: XX-XXXXXXX                            050-342998/359080/
                                           059-205211                     Hakam Bala'wi
Ghassan Ash-Shaka'a                  Fax: XX-XXXXXXX                      Tel.: XX-XXXXXXX/XX-XXXXXXX -off.
Tel.: XX-XXXXXXX                                                          Fax: XX-XXXXXXX
      XX-XXXXXXX - res.              Qadura Fares
      050-539334 / 059-205400        Tel.: XX-XXXXXXX - off.              Hassan Khreisheh
fax: XX-XXXXXXX                            059-205642                     Tel.: XX-XXXXXXX - off.
                                     Fax: XX-XXXXXXX                            09-267 4166/5029
Farez Zeidan                                                                    059-205071
Te.: XX-XXXXXXX - off.               Abdul Fatah Hamayel                  Fax: XX-XXXXXXX
     059-40B409                      Tel.: XX-XXXXXXX-off.
Fax: XX-XXXXXXX                            XX-XXXXXXX
                                           XX-XXXXXXX / 059-205166          .   PLC .COMMITTEES:·.'
► QALQILYA DISTRICT                  Ghazi Hanania
                                     Tel.: XX-XXXXXXX - off.              Bud~et Committee
Qalqilya District Office (2 seats)         XX-XXXXXXX                     Chair: Daoud Az-Zir
Tel.: XX-XXXXXXX                           XX-XXXXXXX - res.              Tel.: XX-XXXXXXX/5
Fax: XX-XXXXXXX                            059-301357                           059-205271 / 050-201005
                                     Fax: XX-XXXXXXX/2                    Fax: XX-XXXXXXX
Mahmoud Da'as
Tel.: XX-XXXXXXX - off.              Abdul Jawad Saleh                    Economic Committee
      XX-XXXXXXX - res.              Tel.: XX-XXXXXXX - off.              Chair: Jamal Shobaki
      059-205173 I 050-220877              XX-XXXXXXX / 050-459352        Tel.: XX-XXXXXXX
Fax: XX-XXXXXXX                      Fax: XX-XXXXXXX                            050-289722 / 059-205304
                                                                          Fax: XX-XXXXXXX
Othman Ghashash                      A'zmi Ash-Shu'aybi
Tel.: XX-XXXXXXX - off.              Tel.: XX-XXXXXXX/3 - off.            Educational Committee
      XX-XXXXXXX I 059-205169              XX-XXXXXXX - res.              Chair: Abbas Zaki
Fax: XX-XXXXXXX                      Fax: XX-XXXXXXX                      Tel.: XX-XXXXXXX-3/6390/1/2444
                                                                                XX-XXXXXXX
                                     Jamil AI-Tarifi                            050-388678 / 059-224455
► RAFAH DISTRICT                     Tel.: XX-XXXXXXX/3/4 - off.          Fax: XX-XXXXXXX
                                           XX-XXXXXXX - res.
Rafah District Office (5 seats)      fax: XX-XXXXXXX                      Interior & Security Committee
Tel.: XX-XXXXXXX/l                         XX-XXXXXXX                     Chair: Fakhri Shaqura
Fax: XX-XXXXXXX                                                           Tel.: XX-XXXXXXX / 2842440
Abed Rabbo Abu O'un                  ► SALFIT DISTRICT
                                                                                059-408158
Tel.: XX-XXXXXXX/1 - off.                                                  Jerusalem Com1ni~ee
      07-213 7150 - res.             Salfit District Office (1 seat)       Chair: Ahmad Hashem Az-Zugharar
      059-408392                     Tel.: XX-XXXXXXX~,r.
                                                                           Tel.: XX-XXXXXXX / 050-38976
Fax: XX-XXXXXXX                      Fax: XX-XXXXXXX 'i."                  Fax: XX-XXXXXXX

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           Land & Settlement Committee       Opp. Bridge Academy, Ar-Ram         Nablus Rd., AI-Balou', AI-Bireh,
           Chair: Salah Ta'mari              .Gaza:. Dir. : Dr. Bishara Khouri   PO Box 2245, Ramallah
           Tel.: XX-XXXXXXX/3 - off.         Tel.: XX-XXXXXXX/3
                 XX-XXXXXXX / 050-202947     Fax: XX-XXXXXXX                     Palestine Airlines
           Fax: XX-XXXXXXX                   Abu Khadra Bldg.                    Chair/Dir. Gen.: Fayez Zeidan
                                                                                 Tel.: XX-XXXXXXX-8
           Legal Committee                   Institute for Administrative        Fax: XX-XXXXXXX
           Chair: Abdul Karim Abu Salah      Development                         E-mail: capf@rannet.com
           Tel.: XX-XXXXXXX / 059-408314     Dep. Dar. Gen.s: Bana Kaloti,       http://www.palestinianair.com/
           Fax: XX-XXXXXXX                   Ghada Hazboun                       Jamal Abdel Nasser St.,
                                             Ramallah: Tel.& Fax: XX-XXXXXXX     PO Box 4043, Gaza
           Parliamentary Monitoring Com.     Um Sharayet, POB 1995, Ramallah     Sa !es & Reservatioo-
           Chair: Hassan Khreisheh           G.aLi4 Tel.: XX-XXXXXXX             Tel.: XX-XXXXXXX
           Tel.: XX-XXXXXXX / 059-205071     Fax: XX-XXXXXXX                     lei. & r ax: XX-XXXXXXX
           Fax: XX-XXXXXXX/6029              E-mail: diwan@palnet.com            Commercial Dept·
                                             Abu Khadra Complex, Gaza            Tel.: XX-XXXXXXX
           PLC Affairs Committee                                                 Tel. & Fax: XX-XXXXXXX
           Chair: Ahmad Qrei'a               Martyrs' Families & Prisoners'
           Tel.: XX-XXXXXXX / 2963636        Institution (M's F. & 1.C.E.)       Palestine National Archives Center
           Fax: XX-XXXXXXX                   Dir. Gen.: Yousef Jubran            Dir.Gen.: Mohammed Bheis
           Political Committee               Dir.: Amneh Al-Hassan               Tel. & Fax: XX-XXXXXXX
           Chair: Dr. Ziad Abu Amr           Tel.: XX-XXXXXXX / XX-XXXXXXX       E-mail: pnac@ralnet.com
           Tel.: XX-XXXXXXX / 059-408407     Fax: XX-XXXXXXX                     Dahiet Al-Baria, PO Box 66353,
           Fax: XX-XXXXXXX                   Ramallah                            Jerusalem
                                             fu!thl..: Dir.: Yousef Abu Laban
           Refugees & Diasj><>ra Committee         Tel. & Fax: XX-XXXXXXX        Palestine Standards Institution
           Chair: Jamal Shati Al-Hindi       Deir Af-Balab: Tel.: XX-XXXXXXX     Dir. Gen. : Atef Maidani
           Tel.: XX-XXXXXXX/2 /059-205121    Gaza: Dir.: Mohammed Arafat         Gaza: Tel.: XX-XXXXXXX
           Fax: XX-XXXXXXX                         Tel.& Fax:XX-XXXXXXX          Hebron: Tel.: XX-XXXXXXX
                                             Hebron: Dir.: Moh'd Abu Sharar                 Fax: XX-XXXXXXX
                                                   Tel. & Fax: XX-XXXXXXX        tlabl.u.s: Tel. XX-XXXXXXX/2
                PA AGENCIES AND              lenin: Dir.: Ghazi Abdul Hadi                  Fax: XX-XXXXXXX
                                                   Tel. & Fax: XX-XXXXXXX        Ramallab: Tel.: XX-XXXXXXX
                  INSTITUTIONS               lerusalem: Dir.: Khaled Kharouf
                                                   Tel. & Fax: XX-XXXXXXX        Palestinian Broadcasting
           Gaza International Airport        Khan Younis: Tel.: XX-XXXXXXX       Corparation (PBO
           Chair: Fayez Zeidan               Nablus· Dir.: Ali Assad             Cba1rman: Radwan Abu Ayyash
           Dir. Gen.: Salman Abu Halib             Tel. & Fax: XX-XXXXXXX        Tel.: XX-XXXXXXX/7/9
           Tel.: XX-XXXXXXX / 4129 (Tower)   Qal~lla: Dir.: Mai Zeid             Fax: XX-XXXXXXX/7
                 XX-XXXXXXX/2134338/58               e. & Fax: XX-XXXXXXX        E-mail: pbc@palnet.com
                 XX-XXXXXXX/89/99 (Info)     .Rafah: Tel.: XX-XXXXXXX            Die Gen Radio: Basem Abu Sumaya
           Fax: XX-XXXXXXX/7844              Sa.lfi.t:..Dir.: Zahra Qaroush      Tel: XX-XXXXXXX
           E-mail: ga2a-int@hally.net              Tel. & Fax: XX-XXXXXXX        Fax: XX-XXXXXXX
           http://www.gaza-airport.org       Iulkarem: Dir.: Zuheir Khatab       Pie Gen TY· Ali Rayan
           PO Box 8007, Rafah, Gaza                Tel. & Fax: XX-XXXXXXX        ·.-el.: m.-2959898
.,         Airport Security: XX-XXXXXXX/49                                       Gen Coord /Head of Satellite
           Preventive Security: XX-XXXXXXX   National Center for Public Admi-    Channel· Hisham M. Mikki
                                             nistration & Human Resource         Tel.: XX-XXXXXXX
           General Control Institution       Development (MOPIC)                 Fax: XX-XXXXXXX
           Chairman: Jirar Qudwa             Dir., Gaza: Mohammed Naja           PO Box 2540, Gaza
           Tel.: XX-XXXXXXX / 2827307        Tel.: XX-XXXXXXX/67334/8909         Studios: Tel.: XX-XXXXXXX (Gaza)
            Fax: XX-XXXXXXX                  Fax: XX-XXXXXXX                           Tel.: XX-XXXXXXX(Ramallah)
           Dir Gen.: Abdellatif Matar        Ramallah: Tel.: XX-XXXXXXX-5
           Tel.: XX-XXXXXXX/03                           Fax: XX-XXXXXXX/8       Palestinian Central Bureau of
            Fax: XX-XXXXXXX                                                      Statistics (PCBS)
           .Ma.hi.us: Tel.: XX-XXXXXXX       National Center for Studies &       .l:::ll:illt Hassan Abu Libdeh
                                             Documentation                       Tel.: XX-XXXXXXX
           General Personnel Council         Head: Dr. Abdallah Hourani          Fax: XX-XXXXXXX
           Chairman: Dr. Moh'd Abu Sharia    Tel. & Fax: XX-XXXXXXX/65716        E-mail: diwan@pcbs.pna.org_
           Ramallah:                         E-mail: n-c-s-d@palnet.com          htt!)://www .pcbs.org
           Tel.: XX-XXXXXXX/7791/2           Jala' St., Rimal, POB 5256, Gaza    Al-Bireh, PO Box 1647, Ramallah
           Fax: XX-XXXXXXX/7793                                                   PR Officer, Loay Shihadeh
           Um Sharayet, PO Box 1995,         Negotiations Affairs Department     Tel.: XX-XXXXXXX
           Ramallah                          1::lead:. Mahmoud Abbas             Field Work Directorates:
           Gaza:. Tel.: XX-XXXXXXX           ~ Dir.: Walid Zaqout                ~ Tel. XX-XXXXXXX/1509
           Fax: XX-XXXXXXX                   Tel.: XX-XXXXXXX/3657/1578                 Fax: XX-XXXXXXX
           E-mail: diwan@palnet.com          Fax: XX-XXXXXXX                     Hebron: Tel.: XX-XXXXXXX
           Abu Khadra Complex, Gaza          E-mail: nad@palnet.com                       Fax: XX-XXXXXXX
                                             http://www.nad.gov.ps               J.eo1n: Tel.: XX-XXXXXXX
           Government Computer Center        PO Box 4048, Gaza City              Nablus· Tel.: XX-XXXXXXX
           Dir. Gen.: Dr. Ghassan Qadah      Ramallah: Dir.Gen.: Ma'en Erekat             Fax: XX-XXXXXXX
           Tel.: XX-XXXXXXX/7                Tel.: XX-XXXXXXX-                   Qalqilya: Tel.: XX-XXXXXXX
           Fax: XX-XXXXXXX                   Fax: XX-XXXXXXX                     Tulkarem: Tel.: XX-XXXXXXX/1540
           http://www.gcc.g.ov.ps/           E·mail: nad@pal    com

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 Palestinian Civil Aviation Authority   Palestinian Industrial Estate &    E-mail: info@paltrade.org
 Chairman: Fayez Zeidan                 Free Zone Authority                http://www.paltrade.org
 Tel.: XX-XXXXXXX/7814/24/              Head, Board: Dr. Sa'di Krunz       An-Nuzha St., Green Tower Bldg.,
       050-343603/059-408409            Dir.: Abdel Malek Jabber           PO Box 883 Rarnallah
 Fax: XX-XXXXXXX/9526                   Tel. & Fax: XX-XXXXXXX             Gaza:
 E-mail: f.zaidan@palnet.com            E-mail: piefza@palnet.com          Salah Abdul Shafi
 Qic Gen.: Salman Abu Halib             Um Sharayet, PO Box 2073,          Tel.: XX-XXXXXXX
 Tel.: XX-XXXXXXX/56/159                Ramallah                           Fax: XX-XXXXXXX
 Fax: XX-XXXXXXX/2827844                                                   E-mail: paltrade@palnet.com
 Jamal Abdel Nasser St., Gaza           Palestinian Monetary Authority     Said AI-A'ss St., Ni'meh Commer-
                                        Governor: Dr. Fouad Bseiso         cial Center, PO Box 5180
 Palestinian Curriculum                 Tel.: XX-XXXXXXX/5713/23
 Development Center                     Fax: XX-XXXXXXX/5126               State Information Service {SIS)
 Dir.: Dr. Salah Yassin                 E-mail: gmmail@pma.palnet.com      Dir. Gen.: Reyad Al-Hassan
 Tel.: XX-XXXXXXX/6756/1551/2           http://www.pma-palestine.org/      Tel. & Fax: XX-XXXXXXX
 Fax: XX-XXXXXXX                        PO Box 402 6, Gaza                 Tel: XX-XXXXXXX/7289
 E-mail: pcdc@palnet.com                Ramallah:                               XX-XXXXXXX/8788
 PO Box 719, Ramallah                   Tel.: XX-XXXXXXX/2980130/1         E-mail: siswebmaster@gov.ps
                                              XX-XXXXXXX-2                 http://www.sis. 5ov.ps
 Palestinian Economic Council for       Fax: XX-XXXXXXX/24                 Dir.: MahrnoucfSamir Amro
 Development & Reconstruction           E-mail: pmaram@palnet.com          Tel. & Fax: XX-XXXXXXX
 (PECDAR)                               PO Box 452, Ramallah               Ain Khair Eddin, Hebron
 Mao Die.: Mohammed Shtayyeh
 E-mail: shtayyeh@planetedu             Palestinian National Commission    Voice of Palestine (Radio)
 Tel: XX-XXXXXXX/00/050-210338          for Education, Culture & Science   Contact: Hisham Miki
 Fax: XX-XXXXXXX                        (UNESCO, ISESCO, ALECSO)           Tel.: XX-XXXXXXX/5804
 E-mail: pecdar@palnet.com              Sec.-Gen.: Jihad Quarashouli       Fax: XX-XXXXXXX
 http://www.pecdar.org                  Tel.: XX-XXXXXXX/2400901           PO Box 4025, Gaza City
 Dahiet AI-Ba rid, PO Box 54910,        Fax: XX-XXXXXXX
 Jerusalem                              E-mail: pncecs@palnet.com          WAFA - Wakalet AI-Anba'a Filasti-
 Project Die.: Dr. Hisham Shkokani      http://www.pncecs.pna.net          niyya (Palestinian News Agency)
 Tel.: XX-XXXXXXX/48                    Ramallah                           Chair: Ziad Abdul Fattah
 Fax: XX-XXXXXXX                                                           Tel.: XX-XXXXXXX
 PECQAR - D,:_artmentslHeads;           Palestinian Olympic Committee      Chief Editor: Ali Hussein
 Services; Mu aymen Tirhi               Head: Ahmad Arafat Qudwe           Tel.: XX-XXXXXXX/56/16
 Tel.: XX-XXXXXXX                       Dir.: Abdel Hamid Ghanem           Fax: XX-XXXXXXX
 Adroio & Eioaacial Affairs:            Tel.: XX-XXXXXXX/9307              E-mail: wafapal@rannet.com
 Mohammed Abu Awad                      Fax: XX-XXXXXXX/9307               http://www.wafa.pna.net ·
 Tel: XX-XXXXXXX/60
 Gaza;. Tel: XX-XXXXXXX
                                        Gaza                               ~=
                                                                           Abdul Aziz Abu Warde
          Fax: XX-XXXXXXX               Palestinian Tobacco Authority      Tel.: XX-XXXXXXX
 Hebron: Tel.: XX-XXXXXXX               Head: Ahmed AI-Agha                Fax: XX-XXXXXXX
 tl.abl.u5: Tel.: XX-XXXXXXX            Tel.: XX-XXXXXXX/89                Amman St., Nablus
                                        Fax: XX-XXXXXXX
 Palestinian Energy Authority           Gaza
 Chairman: Abdul Rahman Hamad           Ramallah Office:
 Tel: XX-XXXXXXX/0                      Tel.: XX-XXXXXXX-2                         PA COMMISSIONS
 Fax: XX-XXXXXXX                        Fax: XX-XXXXXXX                              & COUNCILS
 E-mail: pietro(!1)planet.edu

 Z~';/r!::a~'J;&Te1fa~1°"·
 Head: Dr. Abdul Malik Al-Jaber
                                        Palestinian Water Authority
                                        Tel.: XX-XXXXXXX
                                        Fax: XX-XXXXXXX
                                                                           Bethlehem 2000 Project
                                                                           In charge: Min. Dr. Nabil Kassis
 Tel.: XX-XXXXXXX                       http://www.pwa.pna.org             Tel.: XX-XXXXXXX/5
 E-mail: perc@palnet.com                AI-Baloua', AI-Btreh               Fax: XX-XXXXXXX
 http://www.horne.palnet.com/perc       Chairman.; Eng. Nabil Sharif       E-mail: info@bethlehem2000.org
 Dahiet AI-Barid                        Tel.: XX-XXXXXXX                   http://www.bethlehern2000.org
 Nahlu.s: Dir.: Nabil Tineh             Fax: XX-XXXXXXX/2697               AI-Attan St., PO Box 2000,
 Tel.: XX-XXXXXXX/4                     Deputy: Fadel Ka'wash              Bethlehem
 Fax: XX-XXXXXXX                        Tel.: XX-XXXXXXX
 Hasouneh Bldg., Rafidia St.,           Fax: XX-XXXXXXX                    Council for Medical Services
 PO Box 85, Nablus                      E-mail: fkpwa@planet.edu           Dir.: Hassan Shurrab
 Gaza Office:                           Al Balou', AI-Bireh                Tel.: XX-XXXXXXX
 Tel.: XX-XXXXXXX                       CQM:.                              Fax: XX-XXXXXXX
 Fax: XX-XXXXXXX                        Tel.: XX-XXXXXXX                   Gaza
 PO Box445                              Fax: XX-XXXXXXX
                                        E-mail: cdm@palnet.com             District Coordination Office
 Palestinian Geographic Center          PO Box 955, Ramallah               (DCO)
 (PALGRIC)                                                                 Saraya: Tel.: XX-XXXXXXX
 Gen.Dir.: Eng.Younis AI-Qawasmi        PALTRADE Trade Cepter                            XX-XXXXXXX/7
 Tel. & Fax: XX-XXXXXXX/2               Dir.: Dr. Samir Ablllah            South: Tel.: XX-XXXXXXX
 E-mail: palgric@planet.edu             Tel.: XX-XXXXXXX/l · · ·9447       Erez: Tel.: XX-XXXXXXX/2
 Sateh Marliaba, AI-Bireh               Fax: XX-XXXXXXX jl,

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      Higher Council for the Arab
      Tourism Industry                   I POLICE AND SECURITY                Fax: XX-XXXXXXX
                                                                              Preventive Medicine
                                                                              Dr. Husam AI-Awadi
      Head: Haidar Husseini
      Tel.: XX-XXXXXXX/050-369395        Border Crossings                     Tel.: XX-XXXXXXX
      Exec. Dir.: Dr. Abed Rahman Abu    Gen. Dir.: Nazmi Mhana
      Rabah                              Allenhy BridJe: Nazmi Mhana          Military Academy of Sa'ed Sa'el
      Tel.: XX-XXXXXXX/24                Tel.: 02-994 358/3702/483            Head: Adnan Jaber
      Fax: XX-XXXXXXX                          XX-XXXXXXX                     Tel.: 02-23212 72-4 / 050-305704
      E-mail: hcat-pal@palnet.com        .Erez: Tel.: 050-500476              Fax: XX-XXXXXXX/4
      Khaled lbn Walid St.,              Ra.fah: Tel.: XX-XXXXXXX/4/3         Jericho
      PO Box 19850, Jerusalem            Karni lAI-Mintar}:
                                         Tel.: XX-XXXXXXX/41570               Military Intelligence
      Higher Islamic Council see Index                                        Head: Musa Arafat
                                         Border Police                        Tel.: XX-XXXXXXX/111
      Palestinian Central Election       Tel.: XX-XXXXXXX                           050-326034
      Commission                         fax: XX-XXXXXXX                      Fax: XX-XXXXXXX
      Chair: Mahmud Abbas (Abu Mazen)                                         Gaza
      Tel.: XX-XXXXXXX/1                 Civil Police                         Ramallah: Tel: XX-XXXXXXX
      Fax: 02-2 966212/3                 Head: Brig. Gen. Ghazi Jabali                   Fax: XX-XXXXXXX
      E-mail: cec@planet.edu             Gaza: (Rimal)
      http://www.planet.edu/~cec         Tel.: XX-XXXXXXX/2826721             National Security
      Ramallah                           Head National Security:              Dir.Gen., Gaza: Col. Daoud Nayef
                                         Haj Ismail Jabr                      Tel.: XX-XXXXXXX/2823429/5752
      Palestinian Council of Health      Tef.: XX-XXXXXXX/3603/6/7/1248             XX-XXXXXXX/9393/4469
      Dir. Gen.: Dr. Hikmat Ajjouri      Fax: XX-XXXXXXX/2399                 Fax: XX-XXXXXXX
      Tel.: XX-XXXXXXX I 5852055         U!ricllo.: Basem El Khatib           Gaza
      Fax: XX-XXXXXXX                    Tel: XX-XXXXXXX/2644
      E-mail: pchealth@planet.edu        Women Police:                        Navy Police
      http://www.palnet.com/-fadi2/      Col. Fatma Birnawi                   Head: Jawad Abu Hassan
      PO Box 51681, Jerusalem            Tel.: XX-XXXXXXX                     Tel: XX-XXXXXXX
                                                                              Fax: XX-XXXXXXX
      Palestinian Council for Higher     ~g;rJr~~hnm;~j~~~~n~t                - Ansar 2: Tel.: XX-XXXXXXX/2/3
      Education                          Tel.: XX-XXXXXXX                     - Sudanieh· Tel.: 07-287091/2
      Sec. Gen.: Dr. Gabi Baramki        Drugs D':ft.: Hamdi Salah AI-Rifi    - Hebron; Tel: XX-XXXXXXX/311
      Tel.: XX-XXXXXXX/82600             Hebron: areq Zaid                    - Nablus: Tel: XX-XXXXXXX
      Fax: XX-XXXXXXX                    Tel.: XX-XXXXXXX
      E-mail: gbaramki@mhe.planet.edu    Bethlehem:                           Police Directorate
         or: consultant@mhe.planet.edu   Tel.: XX-XXXXXXX/905/907             Tel: XX-XXXXXXX (Central)
              minister@mhe.planet.edu    Fax: XX-XXXXXXX                      Tel: XX-XXXXXXX (North)
                                         Beit !ala:                           Tel: XX-XXXXXXX/102
      Palestinian Housing Council        Tel.: XX-XXXXXXX/6                   Fax: XX-XXXXXXX
      (est. 1991)                        Beit Sahour:
      Chairman: Eng. Adnan Husseini      Tel.: XX-XXXXXXX                     Presidential Security
      Acting Gen. Dir.: Dr. Nabil Aref   RamaUah: Kamal Ash-Sheikh            Head: Brig.Gen. Faisal Abu Sharkh
      Tel.: XX-XXXXXXX/2/4               Tel.: XX-XXXXXXX/7020/6571           Tel: XX-XXXXXXX/9418
      Fax: XX-XXXXXXX .                  Fax: XX-XXXXXXX                      Fax: XX-XXXXXXX
      E-mail: phc@palnet.com             Jenjn: Musa Jadallah                 RamaUah:
      Dahiet AI-Barid, PO Box 17128,     Tel.: XX-XXXXXXX/4444                Mahmuc Awad Damra
      Jerusalem                          ~ : Tel.: XX-XXXXXXX/3029            Tel: XX-XXXXXXX
      Gaza: Tel. & Fax: XX-XXXXXXX/80                                         Fax:XX-XXXXXXX
      Hebron: Tel. & Fax: XX-XXXXXXX     Force 17                             Admin. Dir.: Mounir Ruzziyeh
      N.ablus: Tel.: XX-XXXXXXX          Head: Brig.Gen. Faisal Abu Sharkh    Tel.: XX-XXXXXXX/1/2
               Fax: XX-XXXXXXX           Tel: XX-XXXXXXX/87291
                                         Ramallah                             District Offices:
                                         .Gaza.:.                             .Gaza: Abu Seif
      Palestinian Oil Council (POQ                                                  Tel.: XX-XXXXXXX
      Head: Dr. Said Assaf               Tel.: XX-XXXXXXX/4
                                         Fax: XX-XXXXXXX                      Hebron: Abdallah AI-Manasra
      Tel. & Fax: XX-XXXXXXX                                                        Tel.: XX-XXXXXXX/7
      Tel.: XX-XXXXXXX I 052-277489                                           lecusalem - Abu Pis·
      Ramallah                           General Intelligence Service
                                         Head: Brig.Gen. Amin Al-Hindi                Kifah Barakat
                                         .Gaza                                        Tel.: XX-XXXXXXX/9518
      Political Guidance Commission      5udanieh: Tel: XX-XXXXXXX            .Nab.I.us: Moh'd Hassan lsbeih
      Head: Othman Abu Gharbieh           Fax: XX-XXXXXXX                             Tel.: XX-XXXXXXX
      Tel: XX-XXXXXXX                    As-Saraya: XX-XXXXXXX/420
      Gaza                                                                    Preventive Security
      J.e.c.i.cllo: Tel.: XX-XXXXXXX     West Bank:
                                         He ad: Brig. Gen .: Tawfiq Terawi    West Bank:
      Bethlehem: XX-XXXXXXX              Tel : XX-XXXXXXX                     Head: Col. Jibril Rajoub
      Qalqilya; XX-XXXXXXX               Fax: XX-XXXXXXX                      Tel: XX-XXXXXXX/2
      lenin.;. XX-XXXXXXX                                                     Gaza:
      Ramallab· XX-XXXXXXX                                                    Head: Col. Moh'd Dahlan
      Nabhw XX-XXXXXXX                   Medical Military l       ices        Tel: XX-XXXXXXX/55/2832085/0B
                                         Head: Dr. KhaJe d      . wa r
      s.aJ..fe.e.t:. XX-XXXXXXX          Te l: XX-XXXXXXX/4,; ' 616/               050-491473
                                               XX-XXXXXXX/ , .' i,            Airpmt: Tel.: XX-XXXXXXX

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 Dlctdct Offices:                    Governorate Khan Younis           Assira Ash-Shamaliyeh Municip.
 Bethl.: Tel.: XX-XXXXXXX/1344       Governor: Sakher Bseiso           Mayor: Assad Sawalmeh
 Hebron: Tel.: 02 -22 26442/920      Tel.: XX-XXXXXXX/65/75            Tel.: XX-XXXXXXX
 Al-lz:zariya: Tel.: XX-XXXXXXX      Fax: XX-XXXXXXX                         059-211255
 Je nin: Tel.: XX-XXXXXXX            E-mail : kh-gov@marna.com         Fax: XX-XXXXXXX
 Jericho: Tel.: XX-XXXXXXX-4
 Nablus: Tel.: XX-XXXXXXX/2587       Governorate Nablus                Attara Municipality
 Ramallah: Tel.: XX-XXXXXXX/2        Governor: Mahmoud AI-Aloul        Mayor: Mohammei::I Qteiri
                                     Tel.: XX-XXXXXXX/7                Tel.: XX-XXXXXXX / 050-339910
 Public Security                     Fax: XX-XXXXXXX                   Fax: XX-XXXXXXX
 Head: Maj. General: Nasr Yussef     E-mail: gnablus@planet.edu        PO Box40
 Tel. & Fax: XX-XXXXXXX/802          PO Box 1564
 B.esearcb & Plaooin~                                                  Attil Municipality
 Dir.Gen.: Brig.Gen.izar Ammar       Governorate Qal(lilya             Head: Mazen Al Qasas
 Tel: XX-XXXXXXX/7600                Governor: Mustafa Malki           Tel. & Fax: XX-XXXXXXX
 Fax: XX-XXXXXXX                     Tel.: XX-XXXXXXX/1/2
 PO Box 11 44, Gaza                                                    Azzoun Municipality
                                     Fax: XX-XXXXXXX                   Mayor: lhsan Abdul Latif
                                     Main St., Qalqilya                Tel.: XX-XXXXXXX
 Tourism and Antiquities Police
 Bethlehem: XX-XXXXXXX-1                                               Fax: XX-XXXXXXX
                                     Governorate Rafah                 E-mail: azounrnun@hally.net
 Gaza: Tel.: 0 7-2829017             Gov.: Abdallah Abu Samhadaneh
 Jericho: XX-XXXXXXX                                                   PO Box 753
                                     Tel.: XX-XXXXXXX/2136870/1
 Nab lus: XX-XXXXXXX                 Fax: XX-XXXXXXX                   Bala' Municipality
                                                                       Mayor: Jihad Hamad
                                     Governorate Ramallah              Tel.:092676860
     LOCAL GOVERNMENT                Governor: Mustafa Issa liftawi    Tel. & Fax: XX-XXXXXXX
      ADMINISTRATION                 Tel.: XX-XXXXXXX/8588
                                           XX-XXXXXXX                  Baqa Ash-Sharkiyeh Municipality
 ► GOVERNORATES
                                     Fax: XX-XXXXXXX                   Mayor: Mu'aid Hussein
                                     http://www.ramgov.org/            Tel.: XX-XXXXXXX
 Governorate Bethlehem               lrsal St., PO Box 665, ~amallah   Tel. & Fax: XX-XXXXXXX
 Governor: Moh'd Rashed Ja'bari
 Tel.: XX-XXXXXXX/4                  Covernorate Tulkarem              Beit Anan Municipality
 Fax: 02-27 41666                    Governor: lzzeddin Sharif         Mayor: Naji Jomhour
 PO Box 1035                         Tel.: XX-XXXXXXX/3335             Tel.: XX-XXXXXXX
                                           XX-XXXXXXX
 Governora te Gaza                   Fax: XX-XXXXXXX                   Beil Fajjar Municipality
 Governor. Moh'd Salim AI-Qudwah                                       Mayor: Salah Deirr
 Tel.: XX-XXXXXXX/2828704/14/24                                        Tel.: XX-XXXXXXX
 Fax: XX-XXXXXXX                     ►   MUNICIPALITIES &              Fax: XX-XXXXXXX
 E-mail: govrngz@palnet.com              VILLAGE COUNCILS
 Thalathni St, l'O Box 1422, Caza                                      Beit Furik Municipality
                                     Abasan AI-Kabira Municipality     Mayor: Atef Hanani
 Governorate Gaza North              Mayor: Mustafa Ash-Shawwaf        Tel.: XX-XXXXXXX/1
 Governor: Zuhdi Said                Tel.: XX-XXXXXXX
 Tel.: XX-XXXXXXX/766/855                  059-408113                  Beit Hanoun Municipality
 Fax: XX-XXXXXXX                     Fax: XX-XXXXXXX                   Mayor: Ibrahim Hamad
                                                                       Tel.: XX-XXXXXXX/0080/7487
 Governorate Hebron                  Abasan As-Saghira Municipality    Fax: XX-XXXXXXX
 Governor: Aziz Amro                 Mayor: Jalal Adaghma
 Tel.: XX-XXXXXXX / 059-550880       Tel. & Fax: XX-XXXXXXX            Beil lksa Village Council
 PO Box 45                                                             Head: Moh'd Abdul Wahhab
                                     Abu Dis Village Council           Tel.: 02-23411 OS
 Governorate Jenin                   Mayor: Na'eem Ayyad                     050-484246
 Governor: Zuheir Manasra            Tel.: XX-XXXXXXX
 Tel.: XX-XXXXXXX/21                 Fax: XX-XXXXXXX                   Beil Jala Municipality
 Fax: XX-XXXXXXX                                                       (est 1912)
 E-mail: goj@zaytona.com             Anabta Municipality               Mayor: Raji Zidan ·
 Haifa St., Jen in                   (est. 1954)                       Tel.: XX-XXXXXXX/3979/2601
                                     Mayor: Hamadallah Hamadallah      Fax: XX-XXXXXXX
 Governorate Jericho                 Tel.: XX-XXXXXXX/3401 /4460
                                     Fax: XX-XXXXXXX                   Beil Lahya Municip:ality
 Governor: n.a.                                                        Mayor: Mohammed Masri
                                     PO Box 1
                                                                       Tel.: XX-XXXXXXX/752
 Governorate Jerusalem/Abu Dis                                               XX-XXXXXXX
  Governor: Jamil Othman Nasser      Aqraba Municipalitl
                                     Mayor: Ghaleb Moh d Mayadmeh      Fax: XX-XXXXXXX
   Head: Mohammed Erekat
   PR: Jamil Salhout                 Tel.: XX-XXXXXXX / 050-542862
                                     Fax: XX-XXXXXXX                   Beil Lid Municipality
  Tel.: XX-XXXXXXX/6                                                   Mayor: Mahmoud Hamaydeh
· Fax:: XX-XXXXXXX/1                 E-mail: Aqraba97@hotmail.com
                                                                       Tel.: XX-XXXXXXX
  Ar-Ram: Ghassan Ayyoub                                               Fax: XX-XXXXXXX
  Tel.: XX-XXXXXXX/8                  Arrabah Municipili
                                      Mayor: Anwar Ez      in          Beit Liqya Municipality
  .B.idd1.G Moh'd Khaled AI-Faqih
  Tel.: XX-XXXXXXX                  · Tel. & Fax: 06-~~l 29            Mayor. Jabr A'si ·
  The Old Police Station, Bidu                     059, . 478          Tel.: XX-XXXXXXX           04:000048
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                                     Negotiations Affaic:i                 Mufti of JerusaJem & Palestine
     PLO - PALESTINE                 Oepartment-P LO                       Sheikh Ekrima Sabri
       LIBERATION                    Head: Mahmoud Abbas (Abu Hazen)       Tel. & Fax: XX-XXXXXXX/050-3 I 1489
     ORGANIZATION                    Dir.Gen.: Maen Ereikat                PO Box 54825, Jerusalem
                                     Tel.: XX-XXXXXXX-7                    Dir., AI-Aqsa Mosque:
                                     Fax: XX-XXXXXXX                       Sheikh Mohammed Hussein
                                                                           Tel.: XX-XXXXXXX

I          BODIES AND
          DEPARTMENTS
 Chairman; HE Yasser Arafat
                                     E-mail: nadr@palnet.com
                                     Nablus Rd., AI-Balou', Al-Bireh, PO
                                     Box 2245, Ramallah
                                     Tel.: XX-XXXXXXX/365711578
                                                                           Orient House / Jerusalem
                                                                           Tel.: XX-XXXXXXX/2483
                                                                           Fax: XX-XXXXXXX/6274020
 Tel.: XX-XXXXXXX-2/284 I 0281038    Fax: XX-XXXXXXX
                                     Negotiatjons Support Unit             E-mail: lnfo@orienthouse.org
 Fax: XX-XXXXXXX/6                                                         http://www.orienthouse.org
 http://www.sis/gov.ps/presidenc/    Tel: XX-XXXXXXX-6
                                     Fax: XX-XXXXXXX                       Abu Obeidah St.PO Box 20479,
        index.html                                                         Jerusalem
 Gen,-Sec,: Mahmoud Abbas (Abu       E-mail: admin@nsu-pal.org
 Mazen), Gaza                        http: flwww.nad-plo.org
                                     PO Box 4120, EI-Bireh, lrsal St.,     Palestinian National Council
 Tel.: XX-XXXXXXX/ I 578/40664/                                            (PNC)
       050-390257                    Awad Center, S"' fl., Ramallah
                                                                           ~ : Salim Adeeb AI-Zanoun
 Fax: XX-XXXXXXX                     Social Affairs Department;            Tel.: XX-XXXXXXX/5941
 Bamanah:                            Head: n.a.                            Fax: XX-XXXXXXX
 Tel.: 02-2961 133-S                 Tel.: XX-XXXXXXX - off.               Gaza
 Fax: 02-29613 13                    Fax: XX-XXXXXXX                       ~ : Taysir Quba'a
 Political Department: (Tunis)       E-mail: Alnajjab@planec.edu           Tel.: XX-XXXXXXX
 Head: Farouk Qaddouml               PO Box 2087, Ramallah                 Tel.: 050-S07431/059-50743 I
 Tel.: 002161-2301051237919/                                               E-mail: p-n-c@:taytona.com
               231806                Other PLO Executive                   http://www.p-n-c.org
 Fax:002161-786272/766640            Committee Members:                    Nablus
 95 Rue Mouawla lbn Abu Sofian EI-   Dr, Samjr Ghosheh                     Amman:
 Tuni$ia Menzah VI                   Tel.: XX-XXXXXXX res.                 Tel.: 962-6-5857208
 Media Department:                         XX-XXXXXXX off                  Fax: 962-6-5855711
 Head: Yasser Abed Rabbe                   Fax: XX-XXXXXXX                 PO Box 910244, Amman
 Ramallah:                           Ali (shaq
                                                                           Political Commissoner for
 Tel.: XX-XXXXXXX/ I 031 /54044      Tel.: XX-XXXXXXX- off.
 Fax: 02-29S4043                           XX-XXXXXXX-res.                 Jerusalem Affairs
                                           059-20S734                      Prof. Sari Nusseibeh
 Arab and International Dept.:       Fax: XX-XXXXXXX                       Tel: XX-XXXXXXX/627433S
 Head: Dr. Zakaria AI-Agha
 ~ 050-407627                        Mahmoud Ismail
 Tel.: XX-XXXXXXX                    Tel.: XX-XXXXXXX / 0S0-599870
 Fax: XX-XXXXXXX                     Qr, Emil Jadoyj
 Rart1allah:
 Tel.: XX-XXXXXXX/29S9167
 Fax: XX-XXXXXXX
 E-mail: dalr@palnet.com
                                     Tel.: 02-S828066 / 050-24360 I
                                     Tuysir Khalid
                                     Tel.: XX-XXXXXXX - off.
                                           XX-XXXXXXX / 059-573935
                                                                           I        DELEGATIONS
                                                                                      ABROAD

                                                                           Albania (Embassy)
 http://www.dair.org                       XX-XXXXXXX/015 - res.           Amb. Ali AI-Kurdi
 Economic Department;                Fax: 02-298040/                       Tel.: 355-4-2-34300/ 34056
 Head: Moh'd Zuhdi Nashashibi        Rlad Khodari                          Fax: 35S-4-2-32092
 Tel.: XX-XXXXXXX                    Tel.& Fax: XX-XXXXXXX / 059-          St. 'Skenderbeu' No. 6.1.1
 Fax: XX-XXXXXXX/28228S3             408027                                Tirana, Albania
 Educational Department:             Abdel Rahim Malouh                    Algeria (Embassy)
 Head: Yasser Amro                   Tel.: XX-XXXXXXX/2986689 - off.
 Tel.: XX-XXXXXXX/2964691                  XX-XXXXXXX - res.               Amb. Munzer Ad-bajani
 Fax: XX-XXXXXXX                           050-521287                      Tel.: 213-2-718857/73
                                                                           Fax: 213-2-732165
 Reru2ees Department;                Ghassan Shaka'a                       IS Blvd. Victor Hugo
 Head: Mahmoud Abbas (Abu Mazen)     Tel.: 09-23793131145 I                PO Box 308, Algiers, Algeria
 Ramallah:                           050-539334 / 059-330331                           0


 Tel.: XX-XXXXXXX-S                  Fax: XX-XXXXXXX                       Argentina (General Delegation)
 Fax: XX-XXXXXXX                     Dr. Asa'd Abdel Rahman                Amb. Suhail Akel
 E-mail: plord@plord.org             Tel.: 962-6-79-882020                 Tel.: 5411--48166651
 Dep. Head: Marwan Abdul Hamid       Fax: 962-6-46 I 3909                  Fax: 541 1-48166652
 Dir. Gen.: Saji Salameh             Tel.: 059-205161/0S0-54995 I          Riobamba 981, 1116 Buenos Aires,
 Tel.: XX-XXXXXXX-5                  Tel. & Fax: XX-XXXXXXX                Argentina
 ~ Tel. 8c Fax: XX-XXXXXXX
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            Australia (General Delegation}      China (Embassy)                     Gabon (Embassy)
            Amb.Alil<azak                       Amb. Mustafa As-Safarinl            Amb. Amin Abu Haslra
            Tel.: 61..62-950212                 Tel.: 86-l..65323318/53217574/      Tel.: 241-746012
            Fax: 61-62-950021                                65323136               Fax: 241-74601:4
            19 Carnegie Cres., Narrabundah      Fax: 86-1..653232416                PO Box 2168, Libreville, Gabon
            ACT 2604, PO Box "4646, Kingston    PO Box 9009, Beijing. China
            ACT2604                                                                 Genn~fGeneral Delegation)
                                                Colombla (Special Mission)          Amb.        lah Frenji
            Austria (Permanent Mission)         Amb. lbrahlm AI-Zeben               Tel.: 49-228-212035/6/82246S0
            Amb. Faisal Awaldeh                 Tel.: 57-1-2877691/287790"4         Fax: 49-228-213594
            Tel.: 43-l"-4088202/3               Fax: 57-1-2887◄ 39                  E-mail: Palaestlna@t-onllne.de
            Fax: 43-1-4088202-10                Calle 45 No. 14-76                  http://www.pal1.enJna.org
            E-mail: falsal_wich@hotmail.com     Santafe de Bogota, Colombia         August Bier Str. 33, 5300 Bonn I
            http: //www. Hotrnall.com
            Josefsgasse 5/1-1080 Vienna         Cuba (Embassy}                      Ghana (Embassy)
                                                Amb. lmad Jada'                     Amb. Ibrahim Omar Khalil
            Bahrain (Embassy)                   Tel.: 53-7-242556/241 I 14 (R.)     Tel.: 233-21-m529/128578
            Amb. Wafa Nabhan                    Fax: 53-7-241159                    Fax: 233-21-772528 .
            Tel.: 973-276099                    Calle 20, No. 714, Entre 7Ma        POBox IT1JJ OSU, Accra. Ghana
            Fax: 973-27605◄                     Y.9 NA Miramar, Havana. Cuba
            2801 St., Block 57                                                      Greece (Diplomatic: Representadon)
            PO Box I 102, Manama. Bahrain       Cyprus (Embu~                       Amb. Abdallah Abdallah
                                                Amb. Samir Abu hazaleh              Tel.: 30-1-6726061-3
            Bangfadesh (Embassy)                Tel.: 3S7-2-3/5010/11               nx: 30-1-6726064
            Amb. Mohammed Zo'rob                Fax: 357-2- 312301                  31 Marathonodromon St.
            Tel.: 880..2-603308/6030l 6         E-mail: palertin@spidornet.com.cy   154 52 Psychlco, Athens
            Fax: 880-2-883517                   PO Box 4669, Nicosia, Cyprus
            PO Box 600, Code I000                                                   Guinea (Embassy)
            Dacca, Bangladesh                   Czech Republle (Embassy)            Amb. Jamal Ghnalm
                                                Amb. Samih Abdel Fattah             Tel.: 224-441132/413034
            Belfum (General DelegatJon)         Tel.: 420-2-24311265-6              Fax: 224-◄ 12230
            Am • Shawqi Annall                  Fax: ◄20-2-2"4311133                PO Box 1021, Conakry, Guinea.
            Tel: 32-2-735 /639-2478             E-mall: palesta:@mbox.vol.cz
            Fax: 32-2-7352478                   PO Box 306, 111 l I Prague I        Guinea Bissau (Embassy)
            110 Winston Churchill.I 180                                             Amb. Nabll AI-Wulr
            Brussels                            Denmark {General Delegation)        Tel.: 245-215091/212710
                                                Amb. Dr. Moh'd Abu-Khoush           Fax: 245-252650
            Brull (Special Delegation)          Tel.: 'lS-3-9617207                 PO Box 888, Blssau, G. Bissau
            Amb. Musa Odeh            .         Fax: -t5-3-9614207
            Tel.: S5-61-2484S/2484482           EhlenveJ S, 2900 Hellervp           Hunga,y (Embassi6,
            Fax: SS-XX-XXXXXXX                  Copenhagen, Denmark                 Charge d'A/hires: aled Ghazal
            E-mail: Palestlna@tba.com.br                                            Tel.: 36-1-1804518
            Shls QI 09 Conj, 06 Casa 02, Lago   Egypt (Embassy)                     Fax: 36-1-12903S7
            Sul, 726S0-060 Brasilia-OF          Amb. Zuhdi AI-Kldra                 PO Box 213, 11, Jlzsefhegyi, UT 28-
            or: PO Box 1055; 71620-980 Lago     Tel.: 20-2-3384762-3                30 G/11/6 1025, Budapest, Hungary
            Sul, Brasilia, DF, Brazil           Fax: 20-2-3384764/3384760
                                                33 An-Nahda St., _Doldd, Cairo      lndla (Embassyl
            Bulgaria (Embassg                                                       Amb. Khaled A-Sheikh
            Chu·ge d'Afl'alres: r. Mohammed     Ethiopia (Embassy)                  Tel.: 91-XX-XXXXXXX/◄ 679115
            Salaymeh                            Amb. Yousef Rajab Radii             Fax: 91-11-6l'l294l/6872943"
            Tel~ 3S9~2-668947 / 668860          Tel.: 251-1~610811/6106721710719    DI /27 Vasantlhar
            Fax: 359-2-963257 I                 F-ax: 251-1-611199                  New Delhi 110057, India
            PO Box 87, Sofia, Bulgaria          E-mail: pal~b.et@telecom.net.et
                                                PO Box S , Addis Ababa               Indonesia ~bassy)
            Canada (General Delegatlqn)                                             Amb. Ribhi wad
            Amb. Or. Baker Abdel Munem          Finland (General Delegation)        Tel.: 61-XX-XXXXXXX/3105-444
            Tel.: l-613-7360053                 Amb. Zuhelr El-Wazlr                Fax: 62-XX-XXXXXXX
            Fax: 1-613-7360535                  Tel.; 358-9-2789771                 JL Dlponegoro No. 5<j
            E-mall: baker@lbm.net               Fax: 358-9-27B9n0/672126            Jakarta I 031 O, Indonesia
               or: bakermunemtotmail.com        E-mail: pgd@palestlnegd.fl
            www.cyberus.ca/~ba r/gdpc.htm       http://www.palestlnegg.fi           Iran (EmbasAf-~
            45 Country Club Drive, Ottawa,      Fredriklnkatu 2S A I0, Helsinki     Amb. Salah - wawi
            Ontario KIV 9WI Canada              00120, or: PO Box 351, Helsinki     Tel.: 98-21-664S01
                                                00121                               Fax: 98-21-64025 13
            Chile (Embassy)                                                         E-mail: plo@neda..net
            Amb. Dr. Sabrl Ateh(
            Tel.: 56-2-2065771 065764
                                                        f
                                                France eneral Delegation)
                                                Amb. Lei Shahid
                                                                                    PO Box 14S5-345S, Tehran, Iran
            Fax: 56-2-2282466                   Tel.: 33-l-◄8286600                 Iraq (Embassy)
            E-mail; falastin@entekhlle.net      Fax: 33-1-◄ 8285067                 Amb. Azzam Al-Ahmad
            Cuilla postal 53170, Sentiago-1     1-4, Rue de Commandant Leandri      Tel.: 964-1-7180209
                                                7S01S, Paris.                       Fax: 964-1-7181143
                                                                                    PO Box 3122, Baghdad, Iraq


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   Italy (General Delegation)              Lope de Vega 146 5, Piso col.          Portugal (General Delegation)
   Amb. Nimer Hamad                        Polanco Apdo. Postal 5-045, C.P.       Amb. lssam Bseisso
   Tel.: 39-6-7005041 /700879 I            I 1570, D.F. Mexico                    Tel.: 351-l-3621118/3621098
   Fax: 39-6-7005115                                                              Fax: 351-1-3621095
   Piazza San Giovanni, In Laterano .72,   Morocco (Embassy)                      E-mail: palestinaport@rnail.telepac.pt
   Rome, Italy 00 I 8-f                    Amb. Wajih Qassem                      Rue 22 no. 2 Bairro de Belem
                                           Tel.: 2 I 2-7-767331/766008            Apartado,50027, 1700, 1400-383
   Japan (General Delegation)              Fax:212-7-767166                       Lisbon
   Amb. Walid Siam                         4 Zanket Soussa, PO Box 387,
                                           Rabat, Morocco                         Qatar (Embassy)
   Jordan (Embassy)                                                               Amb. Yassin Al-Sharif
   Amb. Omar Al-Khatib                     Mozambique (Embassy)                   Tel.: 974-422530/3 I
   Tel.: 962-6-5677517/5663813             Amb. Majed Wadi                        fax: 974-327639
   Fax: 962-6-5661727                      Tel.: 258-1-742196                     AI-Khalij St., PO Box 138,
   E-mail: palestine@nol.com.Jo            Fax: 258-1-492190                      Doha 4100616
   PO Box 995757, Amman, Jordan            PO Box I 160, Maboto
                                                                                   Romania (Embassy)
   Kazakhstan (Embassy)                    Netherlands (General Delegation)       Amb. Fouad Al-Bitar
   Amb. Mohammed Tarshahani                Amb. Yousef AI-Habbab                  Tel.: 40-1-6132549/3 I 27548
   Tel. & Fax: 7-327-2601545/91950 I       Tel.: 3 l-XX-XXXXXXX/3604864           Fax: 40-1-6152467
   E-mail: plokaz@asdc.kz                  Fax; 31-XX-XXXXXXX                     E-mail: al bitar@cable.ro
   Kasteeva St. 38, Almaty 480 I00         E-mail: pgd@wxs.nl                     PO Box 314, Bucharest. Romania
                                           73, Laan Copes Van Cattenburch
   Korea. Democratic People's              73, Raaweg I A, 2585 The Hague         Russian Federation (Embassy)
   Republic (Embassy)                                                             Amb. Khalry Abdel Fattah
   Amb. Shaher M. Abdallah                 Nicaragua (Embassy)                    Tel.: 7-095-2013682/2022654
   Tel.: 850-2-3817465/6 I                 Amb. George Salamah                    Fax: 7-095-2302083
   Fax: 850-2-381 ns9                      Tel.: 505-2-65 I916/760239/762388      Kropotklnsky per 26,
   PO Box 24, Pyong Yang                   Fax: 505-2-650S89                      Moscow I 19034
                                           E-mail: embpal@ns.tmx.com.ni
   Kuwait (Embassy)                        Las Colinas-Calle Las Flores# 136
   Charge d Affaires: Moh'd Abdel Jabr                                            Saudi Arabia (Embassy)
                                           PO Box 5305, Managua                   Amb. Mustafa Hashem Al-Sheikh
   Tel.: 965-2-616211/613 I 60
   Fax; 965-2-6524S0                       Nigeria (Embassy)                      Deeb
   PO Box S363, As-Safat, Kuwait           Amb. Samir Baker                       Tel.: 966-1-4880738/9
                                           Tel.: 234-1-617259                     Fax; 966-1-4880721
   Lebanon (PLO Office)                    Fax: 234-1-618776                      PO Box 3589, Riyadh,
   Amb. Shafiq Al-Hoot                     12 Festival Rd., Victoria Island, PO   Saudi Arabia 11481
   Tel.: 961-1-3008 I 9                    Box 7891, Lagos, Nigeria
   Kumlsh Al Mazraa', Al Mazraa'                                                  Senegal 5embassy)
   Beirut, Lebanon                         Norway (General Delegatlon)            Amb. Sa'i AI-Abassl
                                           Amb. Omar Kitcmltto                    Tel.: 221-8242462
   Libya (Embassy)                         Tel.: 47-2-2560547                     Fax: 22 I -24 I 3TT
   Amb. Ali Mohammed Mustafa               Fax: 47-2-2731579                      PO Box 3169, Dakar, Senegal
   Tel.: 218-XX-XXXXXXX                    Drammensveien I 04, 0273 Oslo
   Fax: 21.8-21-333616 I                                                          South Africa (Embassy)
   PO Box 2466, Tripoli, Libya             Oman (Embassy)                         Amb. Salman Al-Ha;%
                                           Amb. Awni Battash                      Tel.: 27-XX-XXXXXXX 426411-3
   Malaysia (Embassy)                      Tel.: 968-697191/230                   Fax; 27-XX-XXXXXXX
   Amb. Ahmed Al-Farra                     Fax; 968-697251                        E-mail: palembasa@intekom.co.za
   Tel.: 60-3-4568905-6/909                Muscat, Oman                           PO Box 56021, Arcadia,
   Fax: 60-3-456 141 I                                                            Pretoria 0007, South Africa
   65 Jalan U Thant, PO Box l 0554-        Pakistan (Embassy)
   50716, 55000, Kuala Lumpur              Amb. Ahmad Abdel Razzak                 Spain~General Delegatlon)
                                           Tel.: 92-51-291231/ 29 I 185            Amb. abll Ma'rouf
   Mali (Embassy)                                                                  Tel.: 34-1-3453258/66
   Amb. Ahmed Abdel Rahim                  Fax: 92-51-294703
                                           No. 486, Islamabad, Pakistan            Fax: 34-1-3454287
   Tel.: 223-2-25328                                                               E-mail: embajada.palstlna@mad.
   Fax: 223-2-26462                        Peru (Special PLO Representation)               servicom.es
   Email: ambpalestlne@afribone.net.ml                                             20, Avda Pio XII, 28016 Madrid
   PO Box 1951, Bamaco, Mall               Charge d'Affaires: Walid lbrahlm
                                           AI-Mua'qat
                                           Tel.: S1-1-4221-4241                    Sri Lanka ~mbassy)
   Mauritania (Embassy)                                                            Amb. Attala Qobal'a
   Amb. Abdel Shafi Siyam                  Fax: 51-1-4221-4240
                                           E-mail: palperu@telematic:.com.pe       Tel.: 94-1-695991/S88607
   Tel.: 222-2-51 H3/ 52394                                                        Fax: 94-1-6959920/S88580
   Fax: 222-2-53888                        Av.Arequipa 4130 Of. 306
                                           Miraflores, Lima 18, Peru               PO Box 207, 110/10 Wejerama
   PO Box 408, Nouakchott                                                          NW, Colombo 7, Sri Lanka




                                                            i
    Mexico (Special Delegation)            Poland (Embassy)
                                           Charge d'Affalres: Hafez AI-Nimr        Sudan (Embassy)
   Amb. Fawzi Al-Mashni                                                            Amb. Omar Shalayel
   Tel.: 52-5-255-2904                     Tel.: 48-22-IH92 I 22/8489 I 26
                                           Fax: 48-XX-XXXXXXX                      Tel.: 249-11-225◄ 75/6
   Fax: 52-5-531-3821/4548936                                                      Fax: 249-1 l-224974/224968
   E-mall: dpalestina@ticnet.com.mx        UI. 5,.,oK;a,ka                         PO Box 2262, Khartoum. Sudan
                                           PO Box 475, War a ~-~oland

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Sweden (General Delegation)          Imam At-Termezi St., House No.         96 route de Vernier, Case postale
Amb. Eugene Makhlouf                 50, The lndex:700100, Tashkent         1828, 121 I Geneva I, Switzerland
Tel.: 46-8-7551222/8151588
Fax: 46-8-7534403                    Vietnam (Embassy)                      UN Office & International
E-mail: eugene.makhlouf@mbox         Amb. Sayyed Al-Masri                   Organizations
        300.swipnet.se               Tel.: 84-4-8524013/253016              (Permanent Mission)
PO Box 83, I 8205, Djurshohn         Fax: 84-4-8263696/8263699              Amb. Faisal Awaldeh
Stockholm, Sweden                    E-Mail: palestine@hn.Vnn.vn            Tel.: 43-1-4088202/3
                                     PO Box 73, Hanoi, Vietnam              Fax: 43-1-4088117
Switzerland (General Delegation)                                            Josefgasse 5, I080 Vienna, Austria
Amb. Nabil AI-Ramlawi                Yemen (Embassy)
Tel.: 41-XX-XXXXXXX                  Amb. Yahya Rabbah                      UNESCO (Permanent Observer)
Fax: 4122-7967860                    Tel.: 967-1-264237/264233-4/24 I 518   Amb. Ahmad Abdel Razeq
E-mail: mission-                     Fax: 967-1-264236/967l/241518          Tel.: 33-t-45683328
observer.Palestine@itu.ch            PO Box 18S, Sanaa, Yemen               Fax: 33-l-4S683340
96 Route de Vernier                                                         I, Rue Miollis 75015
Case Postal I 828, 121 I Geneva I    Yugoslavia (Embassy)                   Paris, France
                                     Charge.d'Affaires: Bader Akel
Syria (Embassy)                      Tel.: 381-1 l-663372/66391
Amb. Mahmoud AI-Khalidi              Fax: 381-11-663830
Tel.: 963-XX-XXXXXXX                 Maglajska 14, Belgrade I I 000,
Fax:963-11-444352                    Yugoslavia                                      PALESTINIAN
PO Box 288~. Damascus, Syria                                                         AUTHORITY                    .
                                     Zimbabwe (Embassy)
                                                                                .        .
Tanzania (Embassy)                   Amb. Ali Halimeh
Amb. Fariz Mehdawi                   Tel.: 263-4-725901-2
Tel.: 255-51-22254                   Fax:263-4-725970
Fax:·255-51-68409                                                                   PRESIDENT'S OFFICE
                                     I Falrbridge Avenue Belgravia,                   AND MINISTRIES
PO Box 20307, Dar As-Salaam          PO Box 3817, Harare, Zimbabwe
Tunisia (Embassy)                                                           ► PRESIDENT'S OFFICE
Charge d'Affalres: Munir Ghannam                                            President: Yasser Arafat
Tel.: 2 I 6-l-791288/790883/784725      REPRESENTATION IN
                                       INiERNATIONAL BODIES                 Tel.: 08--2824670/1/2
Fax; 2 I 6-1-785973/782533                                                        XX-XXXXXXX(038
17 Rue Ernest Conseil,                                                      Fax: XX-XXXXXXX/6
PO Box 142, 1002 Tunis               League of Arab States                  http://www.p-p-o.com/
                                     Sec. Gen.: Amr Mousa                   ~ Tel.: XX-XXXXXXX/38
Turkey (Embassy)                     Tel.: 202-575-0511/2966                Sec, Gen.1 Tayyeb Abdul Rahim
Amb. Fu'ad Yassin                    Fax: 202-574-0331                      Tel.: 08-282417 I
Tel.: 90-3 l 2-4360823/24            PO Box 11642                           Dir. Gen.: Dr. Ramzi Khoury
Fax: 90-3 12-437780 I                Al-Tahrir Square, Cairo, Egypt
Filistin Sokak No. 45                                                       Tel.: XX-XXXXXXX/1
                                     Palettfne Permaoenf Mission            Cabinet Sec:Ahmad Abdul Rahman
06700 G.O.P., Ankara, Turkey
                                     ~&league)                              Tel.: XX-XXXXXXX
United Arab Emirates
                                         b. Mohammed Sbeih                  Fax: 08--2822159
                                     Tel.: 20-2-3609873/3602997/8           Spokesperson: Marwan Kanafani
(Embassy)                            Fax: 20-2-3(,02996                     Tel.: XX-XXXXXXX / 054-871088
Amb. Khaled Malak .                  E-mail: pales_al@intouch.com
Tel.: 971-2-434652/434048                                                   Fax: 08-28225 18
                                     33 An-Nahda Street, Dokki              Advisor: Nabil Abu Rudelneh
Fax: 971-2--434363                   Cairo, Egypt
PO Box 841, Abu Dhabi, UAE                                                  Tel.: XX-XXXXXXX
                                                                            Fax: 08--2822365
                                     Organi:r.atlon of the Islamic          Advisor: Gaith Abu Gaith
United Kingdom (Gen. Delegation)     Conference (Permanent Mission)
Amb. Afif Safieh                                                            President's Representative:
                                     R.er.r. Abdel Aziz Abu Ghosh           Suleiman Ash-Shurafa
Tel.: 44-208-5630008/3703245         Te .: 966-2-68n572/0S4
Fax: -44-208-5630058                                                        Economic Advisor. Khalid Slam
                                     Fax: 966-2-6936407                     Tel.: XX-XXXXXXX
E-mail: I 06323.3367@                PO Box 1253, Jeddah 21431
         compuserve.com                                                     Fax: 02~2987771
                                     Saudi Arabia                            Protocol Office:
5 Galena Road, Hammersmith,
London, W60LT United Kingdom                                                 Dir.: Khaled Al Yaziji
                                     United Nations                          Tel.: 08-2824064l5
                                     (Permanent Observer Mission)            Fax: XX-XXXXXXX
United States (PLO Office)           Amb. Nasser AI-Kldwa
Amb. Hasan Abdel Rahman                                                      President's Office, lericho:
                                     Tel.: l-212-288-8500                    Dir.Gen.: Dr. Sarni Musallam
Tel.: 1-202-785-8394                 Fax: 1-212-517-2377
Fax: 1-202-887-5337                                                          Tel.: 02-232124 I /2 I 050-3231 64
                                     E-mail: misslon@palestine-un.org        Fax: 02-232129 I
E-mail: SH.9950@aol .com             115 East 65th Street
1730 K Street. NW# 1004                                                      President's Office, Ramallah;
                                     New Yori<. NY 10021, US                 Dir. Gen.: lmad Nahhas
Washington DC 20006
                                                                             Tel.: 02-295992918/298 I 370/l-4
                                     2:ni,~Na~ff1Al~Ramlawl                  Fax: 08-282'2365
Uzbekistan (Embassy)                 Tel.: 41-XX-XXXXXXX
Amb. Nabll Lahham                                                            Pfannjng Center (OPPC):
                                     Fax; 41-XX-XXXXXXX                      Dir.: Sulafa EI-Hijawi
Tel.: 7-3712-531017/549418/          E-Mail: mission-observer.
             550266                                                          Tel.: XX-XXXXXXX
                                              Palestine@itu.ch               E-mail: oppc@palnet.com
Fax: 7-3712-531017

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    http:lfwww.oppc.pna.net            Fax: XX-XXXXXXX                      ► MINISTRY OF DETAINEES &
    Neima Bldg., Rimal, Gaza           Tai Al-Hawa, Gaza                      FREED DETAINEES AFFAIRS
    National Institution Office:       Deputy: Sufian Abu Zaydeh            Minister: Hisham Abdel Razeq
    Dir.: Wa'el Nazif                  Tel.: XX-XXXXXXX/41595               Tel.: XX-XXXXXXX/3, XX-XXXXXXX
    Tel. & Fax: XX-XXXXXXX             Fax: XX-XXXXXXX                      Fax: XX-XXXXXXX
    Schoof St, Jericho                 Asst. Deputy; Zuheir Khalaf          E-mail: mda@palnet.com
    Press Office:                      Dir.Gen. West Bank: Wajih Al-        Shalash Bldg., lrsal St..
    Head: Mohammed Edwan               Atari, Khaled Salim, Jamal Zaqout,   PO Box 2105, Ramallah
    Tel.: XX-XXXXXXX                   Hussein Al- Shaikh                   Deputy Dir. Gen.: Radi Jarali
    Fax: XX-XXXXXXX                    .e..R: Dir.: Fakhr Eddin Ad-Dik      Tel.: XX-XXXXXXX/ 059-209922
    President's Archives:               PA Civil Affairs Offices;           ~
    Dir.: Yousef Issa                  Abu Dis: Tel.: XX-XXXXXXX            Tel.: XX-XXXXXXX
    Tel.: XX-XXXXXXX/2/608 I           Fax: XX-XXXXXXX                      Fax: XX-XXXXXXX
    PR: Saeed Zahran                   Allenbh Bridi:e: Tel.: XX-XXXXXXX    Office Dir.: Mu'ath AI-Hanafi
                                        Bethle em· Tel.: XX-XXXXXXX         Tel. & Fax: XX-XXXXXXX/58/68
    ► MINISTRY OF                          Fax: 02-2770S9 I                 Asst. Oep.: Khalil Ar-Rai
      AGRICULTURE                      Oejr AI-Balah: Tel.: 08-253 1517     Tel.: 0S9-403400
                                              Fax: 08-25315 18              Ojstrjct Offices;
    Minh,ter: Hikmat Zaid              ~ Tel.: XX-XXXXXXX/2822333
    Tel.: XX-XXXXXXX-8                                                      Bethl,: Head: Ibrahim Najajreh
                                       XX-XXXXXXX/7856                                 Tel. & Fax: XX-XXXXXXX
    Fax: XX-XXXXXXX                     Hebron: Tel.: XX-XXXXXXX
    E-mail: MOA@palnet..com                                                 .l::lfilIBm: Munquez Abu A'twan
                                                    Fax: XX-XXXXXXX                     Tel.: XX-XXXXXXX
    PO Box 197, Ramallah               ~ Tel.: XX-XXXXXXX                               Fax: XX-XXXXXXX
    Gaza Office:                        Fax: XX-XXXXXXX                     J&oi_n; Nazmi Abdel-Ghafour
    Tel.: 08-282780S/829090            fenin: Tel.: 04-25015S5                          Tel.: 04-250 I I 84
    Abu Khadra Bldg., Al-Wahda St.,              Fax: XX-XXXXXXX            ierusalem: Dir.: Nibal Taqash
    PO Box40M. Gaza                    ~ Tel.: XX-XXXXXXX                               Tel.: XX-XXXXXXX/3
    Asst. Deputy: Atta Abu Karsh           Fax: XX-XXXXXXX                              Fax: XX-XXXXXXX
    Tel. & Fax: XX-XXXXXXX              Khan Younis: Tel.: 08-285 I 144     ~ : Abdul Rahman Daoud
    Dir. Gen.: Mahmoud Abu Samra                          Fax: XX-XXXXXXX               Tel.: 09-237412S
    Tel.: XX-XXXXXXX / 2882909          Nablus: Tel.: XX-XXXXXXX            ~ : Head: Sal:i.h Ghanaim
    Nablus Office·                          Fax: XX-XXXXXXX                             Tel.: XX-XXXXXXX
    Tel.: XX-XXXXXXX/23827 I 6         Oalqilya:Tel.: XX-XXXXXXX            Ty!karem: Head: Atef 'Ata
    Fax: XX-XXXXXXX                     Fax: XX-XXXXXXX                                   Tel.: XX-XXXXXXX
    Deputy: Az:zam Tbaileh              ~ T e l . & Fax: XX-XXXXXXX/6140     Ex-Detainees Rehabilitatjon
    Tel.: XX-XXXXXXX-8                  Ramallah· Tel.: XX-XXXXXXX           Profraro
    Fax: XX-XXXXXXX                                   fax: 07.-1.986513      Dir.: Radi Jamil and Nasser Jarai'
    Dir. Gen. Scientific Research &     Tu!karern: Tel.: XX-XXXXXXX/5        Tel.: XX-XXXXXXX/3
    Consoling Dept,: Abdullah Lahluh                  Fax: XX-XXXXXXX        Gau: Dir.: Mohammed Tlouli
    Tel.: XX-XXXXXXX-8                  Salfeet: Tel.: XX-XXXXXXX            Tcl.: XX-XXXXXXX            ·
    Planning and Policies Dept:                    Fax: 09-25 I56S8          (services. Incl. health Insurance. loans.
    Shakerjudeh                                                              job search asslsu.nce, education, voca-
                                       ►   MINISTRY OF                      tional training, psychological counseling)
    lerjcho Office:                        CULTURE & ARTS
    Dir.Gen.: Ibrahim Qtaishat
    Tel.: 02-232242S/73                Minister. Yasser Abed Rabbo          ►  MINISTRY OF ECONOMY
    Fax: XX-XXXXXXX                    Tel.: XX-XXXXXXX/6/296 I 819            &TRADE
    General Admlo, of Pcofects:        Fax: XX-XXXXXXX                      Minister: Maher Al-Masri
    Head: Zakarla Salawdeh             E-mail: moc@gov.ps                   Tel.: XX-XXXXXXX-2
    Tel.: XX-XXXXXXX/6028              http://www.moc.gov.ps/               Fax:XX-XXXXXXX/59
    Central Vetednary                  Ar-Rayan Bldg., lrsal St.,           Rlmal, Gaza
    Department:                        PO Box 147, Ramallah                 R.amallah:
    Head: Dr. Moh'd Hassouneh          ~                                    Tel.: 02-298121"'1-9
    Tel.: XX-XXXXXXX/788               Tel.: XX-XXXXXXX/70                  Fax: XX-XXXXXXX
    Central Veterinadan                Fax: XX-XXXXXXX                      PO Box 1629, Ramallah
    Laboratory {Ramallah)              PO Box 4024                          Deputy: Dr. Maher Al-Kurd
    Tel.: XX-XXXXXXX                   Deputy: Yahya Hassan Yakhluf         Asst. Dep.: Sulaiman Abu Karsh
          XX-XXXXXXX                   Tel.: XX-XXXXXXX                     Asst. Deputy for Financial &
    Palestinian National               Dir. Gen.: Ahmed Dahbour             Admin. Issues: Tawfiq Shihabl
    Agrjcultural Research Center       Tel.: XX-XXXXXXX/60/7017253          Dir.Gen, of Trade: Nasser Sarraj
    (lerkho) D ir.: Dr. AH Fatafta     fax: XX-XXXXXXX                      Tel. & Fax: XX-XXXXXXX
    Tel.: XX-XXXXXXX-5                 Mustafa Hafez St., PO Box 4004,      Directors;
    Fax: XX-XXXXXXX                    Rimal,Gaza                           • Trade: Hamad Rafati
                                       Advisor & Dir. Gen.: Yousef            Tel.: XX-XXXXXXX/1/2
    ► MINISTRY OF CIVIL AFFAIRS        Lubbad                                 Fax: XX-XXXXXXX
    Minister: Jamil Tarm               Director Generals;                     Ar-Rimal, Gaza
    Tel.: XX-XXXXXXX-9/452-4/          - Literature & Publications:         - Trade, WB: Abdul Hafiz: Nofal
                                         Mahmoud Shqelr                     - General Admln. for Trade
    Fax: XX-XXXXXXX/745 I              - Arts: Leana Badr                     Cooperation: Saeb Bamleh
    Al-Bireh/Um AI-Sharayc, PO Box
    207"'1, Ramallah                   - Public Relations: Ali Amer         • General Admin. for
                                       - Cultur-'I Centers: Ali Khalili       Enterprises:
    YAU:                                                                      Omar Lehroub
    Tel.: XX-XXXXXXX/9647/49           - Hebron Offlcei~rusefTartouri


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  - Services & Trade Unit:             • lntemational & Public             ► MINISTRY OF FINANCE
    Ibrahim Muqaiyad                      Relations: Khalil Mahshi         Minister. Moh'd Zuhdi Nashashibi
    Tel.: XX-XXXXXXX                      Tel.: XX-XXXXXXX                 Tel.: XX-XXXXXXX/2863636/964/
  - Coordination with Chambers         • Supplies: Hasan Sarsour                08-2826 I88/365/75/85/7262
     of Commerce &                        Tel.: XX-XXXXXXX                 Fax: XX-XXXXXXX
     International Organixations:      - Technical & Vocational            Beirut St., Tel AI-Havr.~
     Nidal Al Ahmad                       Education: Jamil Abu Sa'da       PO Box 4007, Gaza
  Import/Export Dept:                     Tel.: XX-XXXXXXX                 RamaHah:
  Head: Hamad Ar-Raffati               • Training & Educational            Tel.: 02-240712 I -4
  Tel.: XX-XXXXXXX                        Supel"Vision: Dr. Ghazi Eid            XX-XXXXXXX/650(
  Exhibitions & Markets Dept:             Tel.: XX-XXXXXXX                        050.369350
  Majed Muhsen                         • Personnel & Registration          Fax: XX-XXXXXXX
  Tel.: XX-XXXXXXX-6/07                   Office: Mohammed Hamida          http://www.mof.gov.ps
  The Palestlnlna Development             Tel.: XX-XXXXXXX                 Sateh Marhaba, AI-Bireh
  Gateway (PDGj                        Legal Advisor: Khairi Hanoun        PO Box 795, Ramallah
  Coordinator. Marwan Tarazi           Tel.: XX-XXXXXXX                    Deputy Min.: Dr. Atef Alawneh
  Tel.: XX-XXXXXXX                     Advisor: Lucia Hijazl               Tel.: XX-XXXXXXX / 059-341614
  Fax: XX-XXXXXXX                      Tel.: 02-298325 I /68               Asst.Deputy: Mohammed Jaradeh
   E-mail: info@psgateway.org          District Offices:                   Tel.: XX-XXXXXXX
  http://www.psgateway.org             Bethlehem: Head: Moh'd Al-Dibs      Director Generals:
                                                 Tel.: XX-XXXXXXX          - Gaza: Sa'eed Aweidah
  ► MINISTRY OF EDUCATION              Gaza: Mohammed El Hanjuri             Tel.: XX-XXXXXXX
                                                 Tei.: XX-XXXXXXX          - West Banlc Saml Ramlawi
  Minister. n.a.                       Hebron: Dr. Taysir Maswadeh
  Tel.: XX-XXXXXXX/53142/56/55S5                                             Tel.: XX-XXXXXXX
                                                 Tel.: XX-XXXXXXX             Dir. Gen.: A'bla Nashashibi
  Fax: XX-XXXXXXX                      J.enio;. Jamal Tarif
  PO Box 576, Ramallah                                                       Tel.: 08-282S942
                                                 Tel.: XX-XXXXXXX          • Budgetary Affairs:
  Gaza:                                }fil:i_gm: Moh'd Abdel Qader
  Tel.: XX-XXXXXXX                                                            Tel.: 08.2825225
                                                 Tel.: XX-XXXXXXX          - Publications: Ibrahim AI-Biltaji
        XX-XXXXXXX/06                  !erusalem: Abdul Muhsen Jabber
  AI-Wihdeh & Al-Yarmouk St.                                                   Tel.: XX-XXXXXXX
                                                 Tel.: XX-XXXXXXX          - Personal/Administrative
  intersection, PO Box 435, Gaza       !'lem SubyrQi: Subhi Al Khatib
  Deputy: Dr. Naim Abu Hommos                                                 Affairs:        ·
                                                 Tel.: XX-XXXXXXX             Basel Ar-Rama.hi
  Tel.: XX-XXXXXXX/2983201142           Khan Yount~: Ali Khalefa
  Advisor: Muwafaq Yasein                                                     Tel.: XX-XXXXXXX
                                                 Tel.: XX-XXXXXXX          - Income Affairs: Jihad Zammari
  Tel.: XX-XXXXXXX                     ~ Rima Zeld AI-Kllanl
  Asst. Deputy/G;u::a: Abdallah                                               Tel.: XX-XXXXXXX
                                                 Tel.: XX-XXXXXXX          - Finance: Mahmoud AI-Saqa
  Abdul Mun'em                          North Gaza: Ismail Al-Jumasi
  Tel.: XX-XXXXXXX/5200                                                        Tel.: XX-XXXXXXX
                                                 Tel.: XX-XXXXXXX               Fax: XX-XXXXXXX
  Asst. Dep. for AdmlnJWest             Oabatia: Head: Lutfi Klttaneh
  Bank: Jihad Zakameh                                                        •Auditing/Control: Said AI-
                                                 Tel.: XX-XXXXXXX              Qidreh - Tel.: XX-XXXXXXX
  Tel.: XX-XXXXXXX/3207                 Oa!qjlya: Head: Mohammed Alia
  Asst. Dep. for Education/West                                            ~ Customs & VAT:
                                                 Tel.: XX-XXXXXXX/11 I I       ~ : Mohammed Issa
   Bank: Dr. Said As$af                 Ramallab-AI-Bireh: Musa Jamhour
  Tel.: XX-XXXXXXX                                                             Tel.: XX-XXXXXXX
                                                 Tel.: XX-XXXXXXX              West Bank: Nasser Tahboub
   Director Generals;                   Salfeet: Khalil Abu Libdeh
  Acting Dir. Gen. for High                                                 - Income Tax:
                                                 Tel.: XX-XXXXXXX              West Bank: Jihad Zamari (Acting)
     Education: Rima Kilani             South Hebron: Khalil Tmeizi
     Tel.: XX-XXXXXXX/ 3205                                                    Tel.: XX-XXXXXXX
                                                 Tel.: XX-XXXXXXX               ~ Bayyan Abu Shaban
  - Administrative Affairs:             Tulkarem: Husni Sadeq Badran
     Azzam Abu Bakr                                                            TuJ..: XX-XXXXXXX
                                                 Tel.: 09-267 I 038         - Salaries: Mustafa Diab
     Tel.: XX-XXXXXXX                   Baf;m: Said Harb
  - Books & Educational Publi-                                                 Tel.: XX-XXXXXXX
                                              Tel.: XX-XXXXXXX
     cations: Nihad AI-Sa'di
     Tel.: XX-XXXXXXX                                                      ► MINISTRY OF HEALTH
  - Buildings & Projects:              ►    MINISTRY OF
                                            ENVIRONMENT                     Minister: Dr. R.iad Za'noun
     Eng. Fawwaz Mujahed                                                    Tel.: XX-XXXXXXX-3 / 153/4
     Tel.: XX-XXXXXXX                  Minister: Dr. Yousef Abu Safiyeh     Fax: XX-XXXXXXX/295
   - Curriculum Center: Dr. Salah      Tel.: XX-XXXXXXX/3000/284TI08        E-mail: mohgaza@palnet.com
     Yassin - Tel.: XX-XXXXXXX         Fax: XX-XXXXXXX                      E-mail: pnamoh@palnet.com
   - Development & District                   XX-XXXXXXX                    http://www.moh.gov.ps/
     Admin.: Jihad Zakarneh            E-mail: menaw6@gov.ps                Abu Khadra Bldg., PO Box I 035 or
     Tel.: 02-298329 I                 http://www.mena.gov.ps               PO Box 500 I, Gaza
   • Educational Activities & Stu•     An-Nasser, Ath-Thwara St., Gaza      Ramallah;
     dents' Affairs: Zainab AJ-WazJr   Deputy: Dr. Suflan Sultan Tamimi     Tel.: XX-XXXXXXX
     Tel.: XX-XXXXXXX                  Tel.: XX-XXXXXXX/8(3495              Fax: XX-XXXXXXX
  p  Educational Techniques:           Fax: XX-XXXXXXX                      Primary Health Care and
     Subhi AI-Kayyed                   Ramallah, PO Box 3841                Public Health Directorate
     Tel.: 02-2-401119                 Hebron:                              Tel.: XX-XXXXXXX
   - Financial Affairs: Moh'd Jubran   Tel.: XX-XXXXXXX/9269                Fax: XX-XXXXXXX
     Tel.: XX-XXXXXXX                  Fax: XX-XXXXXXX                      Or. Ziad Al-Haj Yassi-l Bldg., AI-
   - Gen. Education: Walid Zagha                                            Baiou•, AI-Bireh
     Tel.: XX-XXXXXXX
                                                                                                        04:000056
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  Deputy: Dr. Munther Al-Sharif        Health Services Manaiement             E-mail: rsnelneh@mhe.planet.edu
  Tel.: XX-XXXXXXX-6                   Unjt                                 - Admin. & Financial Affairs:
  Fax: XX-XXXXXXX                      Dir.: Dr. Faisal Abdul Latif            Dr. Abdul Karim Az-Zughayar
  PO Box 14. Nablus                    Tel.: XX-XXXXXXX                       Tel.: XX-XXXXXXX .
  Director Generals;                   Fax: 09-2384m                          E-mail: dg-finance@gov.ps
  - Gaza: Dr. lmad Tarawiyeh           E-mail: hsmu@jrol.com                - Scientific Research:
    Tel.: XX-XXXXXXX/H                 District Offices;                      Dr. Abdel Salam Shal'ab
  • West Bank: Dr. Fahed As-Said       Sethi.: Dr. DeGaulle Haudali           Tel.: XX-XXXXXXX
    Tel.: XX-XXXXXXX-6                       Tel.: XX-XXXXXXX/S                E-mail: dg-research@gov.ps
     Fax: XX-XXXXXXX                   1:k1rr2o: Dr. Abdel Aziz Shqeir      - Planning & Development:
  - Children's Health:                       Tel.: XX-XXXXXXX/6078/7706        Dr. Wael AI-Qadi
    Dr. Raghda Shawwa                  Jenin: Dr. Mohammed Toufakji           Tel.: XX-XXXXXXX
  - Community Health:                        Tel.: 04-2S0 I033/2480            E-mail: dg-planning@gov.ps
     Dr. Assad Ramlawi                 Jericho: Dr. Nazih Mulseh            - University Education:
     Tel.: XX-XXXXXXX/3                      Tel.: XX-XXXXXXX/406/l 292/3     Tel.: XX-XXXXXXX
  - Dentistry: Dr. Saqer Abu           ~ : Dr. Sa'id Al Hamouz                 E-m: dg-universities@mhe.planet.edu
     Qumboz                                  Tel.: XX-XXXXXXX/213/5         Gaza: Dir.: Mohammed Abu Jarad
    Tel.: XX-XXXXXXX                   Oalqyilia: Dr. Ziad Eid              Tel.: XX-XXXXXXX
     Or. Rajl Musleh                         Tel.: XX-XXXXXXX/1054          Fax: XX-XXXXXXX
    Tel.: XX-XXXXXXX                   Ramallah: Dr. Fawzi Falah            E-mail: abujarad@gov.ps
  - Emergency: Dr. Moh'd Salameh             Tel.: XX-XXXXXXX/56S8/84850    PO Box 5301, Gaza
  - Enviromental Health: Dr.           SilID:.et: Dr. Bassam Abu Madi       Nablus: Dir.: Hani Makboul
     Ibrahim Attiyeh                         Tel.: XX-XXXXXXX/674/727       Tel. & Fax: XX-XXXXXXX
    Tel.: 02-295576617392              Tulkarem: Dr. Sa'id Hanoun           Az-Zaka Bldg., Rafidia Main St.
  - Health Insurance: Diab Ahmad             Tel.: 09-2671003171423
     Fadel
                                                                            ► MINISTRY OF HOUSING
  - Health Promotion: Dr. Zahira       ►  MINISTRY OF HIGHER
     Habash                                EDUCATION                        Minister: Dr.Abdul Rahman Hamad
  - Hospitals: Dr. Faisal Abu Shahla                                        Tel.: XX-XXXXXXX-6
  - International Cooperation:         Minister: Dr. Munther Salah          Fax: XX-XXXXXXX
     Dr. Yousef Al-Hindi               Tel.: XX-XXXXXXX/◄                   Damascus St., Southern Rimal, PO
    Tel.: XX-XXXXXXX                         XX-XXXXXXX/30/4/7833           Box 4034, Gaza
    Fax: XX-XXXXXXX                    Fax: 02-29S45 I 8                    Ramallah:
  • Pharmaceuticals: Dr. Ziad          E-mail: msalah@gov.ps                Tel.: XX-XXXXXXX/S 1434/
    Sha'ath                            Office Dir.: Rana Halsah                    XX-XXXXXXX/0 IS4
     Tel.: XX-XXXXXXX                  Tel.: XX-XXXXXXX/ I 8                Fax: XX-XXXXXXX
     Dr. Walid Obeidallah              Fax: XX-XXXXXXX                      lrsal St., AI-Masayef, PO Box 2227
     Tel.: 02-29.54698                 E-mail: rhalaseh@~v.ps               Dep. Min.: Marwan Abdul Hamid
  • planning: Khaled Abu Ghali         http://www.mohe@gov.ps               Dir, Gen,:
     Tel. & fax: XX-XXXXXXX            Um Sharayet, POBox 17360, J'lem      - Gaza: Dr. Ramadan Al-Najjar
     Dir. of Research, Planning &      Gaza:                                - West Bank: Adnan Abu Ayyash
     Development: Ghaleb Abu           Tel.: XX-XXXXXXX/8824/14             Dept. for: Land Survey
     Baker                             Fax: XX-XXXXXXX                      Tel.: 02-29S7371/544
    Tel.: 09-238727S                   AI-Yarmouk//Omar Al-Mukhtar St.,     fu:!b.!/4 Tel. & Fax: XX-XXXXXXX
     Fax: XX-XXXXXXX                   PO Box S301, Gaza                    J::Wmm.: Tel.: XX-XXXXXXX
  - Primary Healthcare: Dr. Abdul      Deputy: Eng. Hisham Kuheil                         Fax: XX-XXXXXXX
    Jabar At-Tibl .       ·            Tel.: XX-XXXXXXX/82604/              .lfiltin: Tel. & Fax: 04-250 IO 16
  - Preventive Medicine:                      XX-XXXXXXX                    ~ : Tel. & Fax: XX-XXXXXXX
     Dr. As'ad Ramlawi                 E-mail: hkuheil@gov.ps               JJ.mi; Tel. & Fax: 02-279720 I
     Tel.: XX-XXXXXXX/3                Dep.'s Office Dir.: Frosse Dabit     ~ : Tel.: XX-XXXXXXX
            02-29S56S7                 Tel.: XX-XXXXXXX ,                                 Fax: XX-XXXXXXX
  - PR: Dr. Marwan Za'ayim/Gaza        Advisor: Dr. Gabi Baramki            ~ Tel.: XX-XXXXXXX
     Tel. & fax: XX-XXXXXXX            Tel.: XX-XXXXXXX                                    Fax: XX-XXXXXXX
     Dr. Omar Al Nasser/ West Bank     E-mail: gbaramki@gov.ps               Ramallah: Tel.: XX-XXXXXXX
    Tel.: XX-XXXXXXX                   Press Office: Mohammad Shtaiwi       Salfeet: Tel.: XX-XXXXXXX
     Fax: XX-XXXXXXX                   Tel.: XX-XXXXXXX                                  Fax: 09-239S808
  - Public Health Admin.: Dr.          E-mail: mlnister@mhe.planet.edu      ~ Tel.: XX-XXXXXXX
     Nadim Toubasl                     Director Generals:                                fax: 09-2S74504
     Tel.: XX-XXXXXXX /8394            - International & Cultural            Tulkarem: Tel.& Fax: XX-XXXXXXX
  • Treatment Abroad : Dr. Majed           Relations:
     B-Rayyes                             Dr. Llly Feidy
                                         Tel.: XX-XXXXXXX/1 S               ► MINISTRY OF INDUSTRY
  • Human Resourse
     Development Dr. Wael Issa           E-mail: dg-ir@gov.ps               Minister: Or. Sa'di Al-Krum:
     Tel.: XX-XXXXXXX                  - Students' Affairs: Moh'd Khader    Tel.: XX-XXXXXXX
  - General Admln. of Pharmacy           Tel.: XX-XXXXXXX                   Fax: XX-XXXXXXX
     Dir.: Dr. Walid Ubeidallah           E-mail: dg-student@gov.ps         E-mail: industry-WB@gov.ps
     Tel.: XX-XXXXXXX/7                - Technical Education &                       pnaindus@p-l-s.com
     Fax: XX-XXXXXXX                       Colleges:                        http://www.industry.gov.ps/lndex.htm
  Quality lm~royement Project              Tel.: XX-XXXXXXX                 Um Sharayet, POB 2073, Ramallah
  Dir.: Dr. Ne aya Telbani                 E-mail: dg-tech-ed@gov.ps        Ga-z:a/An-Nasser:
  Tel.: XX-XXXXXXX                     - Licensing &: Accreditation:        Tel.: XX-XXXXXXX/454/41707
  Fax: os..2a2n2S                          Head: Dr. Ribhi Abu Sneineh      Fax: XX-XXXXXXX
  http://www.qippna.org                    Tel.: 02-298263Ja


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    GazaQ"al El-Hawa                         ►   MINISTRY OF THE                    Salfit: Tel.: XX-XXXXXXX
     Tel.: 0B-2826463/9697/8                      INTERIOR
     Fax: XX-XXXXXXX                                                                Ibahriyyeh: 02-226711 I
                                            Minister (acting): Yasser Arafat        Tulkarem: Tei.: XX-XXXXXXX
     Asst. Deputy: Dr. Jawad Naji                                                   l'.Mg: Tel.: XX-XXXXXXX
     Hlrzallah • Tel.: XX-XXXXXXX           Tel.: XX-XXXXXXX/185
     Dir.Gen.: Dr. Nasr Jabr                       XX-XXXXXXX
    Tel.: XX-XXXXXXX/6453/463               Fax: XX-XXXXXXX                         ► MINISTRY OF JERUSALEM
     Fax: XX-XXXXXXX                        An-Nasser Sc., Gaza                        AFFAIRS
     Dir. Gen,: Rateb AI-A'mleh,            Ramallab:                                Minister: Ziyad Abu Ziyad
     Majeda Al-Masri                        Tel.: 02-29S9395-7                      Tel. & Fax: XX-XXXXXXX-1/62821S9
    Research & Planning:                    Fax: XX-XXXXXXX                                       0S0-248089
    Dr. Sarni Abu Zarifeh                   Al-lrsal St., PO Box 641                E-mail: pij@palnet.com
    Distrjct Offices:                       ~=                                              jeaff@alami.net
    .lk!hl,: Head: Mahmoud Al Sha'er          Tel.: XX-XXXXXXX/6350                 Dir. Gen.: Dr. Nimer lsma'il
              Tel.: 02-27"11776/2132          Fax: XX-XXXXXXX                                    Tel.: XX-XXXXXXX
   ~ : Head: Sharaf Muhanna                   Deputy: Ahmad Said Tamimi             Technical Dept.; Eng. Muncher
              Tel.: XX-XXXXXXX                Tel.: XX-XXXXXXX                      Al-Shami
   .lfilun: Head: Ziad Tu'meh                 Asst. Deputies.: Zakaria Abdul        Legal Dept.: Rania Nassar
              Tel.: 04-250328 I               Rahim & Nidal 'Amer/ Gaza             SociaJ Research: Suheir AI-Hirbawi
   ~ : Head: Kamal Ghannam                    Tel.: XX-XXXXXXX                      Public Affairs: Rami Tahboub
              Tel.: XX-XXXXXXX/2              Asst. Dep.: Jamil Shihadeh/ WB        Ras Qubsa, PO Box I I 5, Al-
   Tulkarem: Yousef Saleh Babiyeh             Tel.: 02-295939S                      lnariyya
              Tel.: 09-2672S I I              Dir. Gen.: Dr. Awad Hijazi
   Oal~Uya: Mosameh Mosameh                   - Gaza, Tel.: XX-XXXXXXX
                                              Mohammed Lutfi Yassin                 ► MINISTRY OF JUSTICE
               Tel.: 09-294310 I
                                             -West Bank                             Minister: Freih Abu Meddein
   ►    MINISTRY OF
                                              Ucenslni Dept.: XX-XXXXXXX            Tel.: XX-XXXXXXX/20256
                                             XX-XXXXXXX                                    XX-XXXXXXX/42
        INFORMATION                           Director Generals:                          XX-XXXXXXX /3 18/9 I 18.
   Minister: Yasser Abed Rabbo               - Ministry: Omar AI-Shibii             Fax: XX-XXXXXXX/20l65
   Tel.: XX-XXXXXXX-4/2986465-8              - PR: Sana' Abu Zayed                  Deputy Min.: Ibrahim Al Daghma
   Fax: XX-XXXXXXX                           · Organizations:                       Tel.: XX-XXXXXXX
   E-mall: mlnlnfog@_planec.edu                  Mohammed AI-Madhoun                Asst. Dep.: Hassan Abu Libdeh
     or. posonaster@mlninfo.pna.org             Tel.: XX-XXXXXXX/4084/2 I 66 I      Tel. & Fax: XX-XXXXXXX
   http://www.pna.org/mininfo                    Fax: XX-XXXXXXX                    Atty. Gen.: Zuheir As-Sourani
   Acre Sc., Al-Birch, PO Box 224            - Passport & Naturalization:          Tel.: 08-282905'1/4584
   Rarnallah                      '            Jamal AI-Sunndt - Tel: XX-XXXXXXX    Dir.Gen,: Atef Khudari
   ~                                           Hassan 'Alawi • Tel.: XX-XXXXXXX    Tel.: XX-XXXXXXX
    Tel.: XX-XXXXXXX/6200                   - Legal Dept;.; Hussein Assi            Fax; XX-XXXXXXX
    Tel. & Fax: 08-2826 I00                     Tel.: XX-XXXXXXX/2321060            Dir, Gen.lWB: Farouk Abul Rub
    An-Nasr St., PO Box 5195, Gaza              Fax: XX-XXXXXXX                    Tel.: XX-XXXXXXX
    Dir. Gen.: Hasan AI-Kashif                  Jericho                            Fax: XX-XXXXXXX
   Tel.: XX-XXXXXXX                         - Directorate of Prisons:              Dir, Gen,: Yahya Shrouro
    Fax:XX-XXXXXXX/2824926                      Col. Hamdi Reef!                   Tel.: XX-XXXXXXX
    Dir. Gen. West Bank:                        Tel. & Fax: XX-XXXXXXX             Fax: XX-XXXXXXX
    Mohammed Suleiman                           Tel.: XX-XXXXXXX                   Dir. Gen. Public Relations:
   Tel. XX-XXXXXXX/54044                    - Directorate of Police Training;      Mohammed Abu Shawiesh
    Fax: XX-XXXXXXX                             Brig.Gen. Samih Nasser             Tel.: XX-XXXXXXX
    PIJtrlct: Offices;                          Tel.: XX-XXXXXXX/65                Fax: XX-XXXXXXX
   Jkthi.: Tel. & Fax: 02-276S 115              Fax: XX-XXXXXXX                    Legislation Department •
   .l:::h:.bnm: Tel. & fax: XX-XXXXXXX      - Civil Defence:                       Diwan Al Fatwa Wal Tashrel'
             Shalalah St., Natsheh Bldg.       Mahmoud Abu Marzouq                 Head: Ibrahim Al Daghma
   ~ : Tel.: XX-XXXXXXX                        Tel.: XX-XXXXXXX - Gaza             Tel.: XX-XXXXXXX/9118
             Sa'addin Bldg., Adel St.                XX-XXXXXXX - Tai EI-Hawa      Tel.: XX-XXXXXXX/6 (!umallah)
   • International Relations &                       XX-XXXXXXX - Tai EI-Hawa      Fax: XX-XXXXXXX
       Advisor to the Min,: Sam'an          Civil Defense Centers;                 Fax: XX-XXXXXXX
       Khouri                         ·     AI-Bjreb: Tel.: 02-29S5595             Chamber of the Chief lustiee
   Director Generals;                      ful!hl.: Toi.: I 10/XX-XXXXXXX-3        High Court;
   - Press & Printed Materials:             Deir AI-Balah: Tel.: 102               Tel.: XX-XXXXXXX
       Hani Al-Masri                                         XX-XXXXXXX            Fax: 0B-2822388/390
  - Financial & Admin. Affairs:            OJ.ml: Tel.: 02-i280677                 Chief Justice, Shari'a Courts:
       Ibrahim Sajdiyeh                    .Gru:3; Tel.:102/XX-XXXXXXX/3633        Sheikh Mahmoud Salameh
  - Loca.1 Media: Muhannad Abdul           J::k!mm: Tel.: XX-XXXXXXX               Tel.: XX-XXXXXXX/3609
  Hamid                                    ~ : Tel.: 102/XX-XXXXXXX/35
  - Public Media: Towfi9 Bseiso                            XX-XXXXXXX/6            ► MINISTRY OF LABOR
  - External/Local Media/Public            koln: Tel.: 102/XX-XXXXXXX              Minister. Rafiq An-Nauheh
       Relations: Walld Alami                              XX-XXXXXXX
  - Women & Child Affairs:                 ~ : Tel.: XX-XXXXXXX/1062               Tel.: XX-XXXXXXX-9/2900990
                                                                                   Fax: XX-XXXXXXX
       Clemence Khoury                     Khan )'ouoli: I 02 / XX-XXXXXXX         E-mail: info.mol.pna.org
  - South Governorate Office:              ~ : Tel.: XX-XXXXXXX/1011
       Yacoub Shaheen                      OalqHya: Tel.: XX-XXXXXXX/1             http:l/www.mol.gov.ps
                                           &tab: Tel.: XX-XXXXXXX                  Main St., Betunia, PO Box 350,
                                                                                   Ramallah
                                           Ramallah: Tel.: 02-295880/5S99

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   ~:                                 ►    MINISTRY OF LOCAL                Deputy: Dr. Samih Al Abed
   Tel.: XX-XXXXXXX/8393                   GOVERNMENT                       Tel.: XX-XXXXXXX / 059-352875
         XX-XXXXXXX/640               Minister: Dr. Sa'eb Erekat            Asst. Deputy: Ali Sha'ath - Gaza
   Fax: XX-XXXXXXX/22400              Tel.: XX-XXXXXXX/065                  Tel.: XX-XXXXXXX / 059-408115
   Abu Khadra, PO Box 4021            Fax: 02-232 I 240                     Dir. Gen.: Dr. Majdi Khalidi
   Asst. Deputy Ministers:            E-mail: molg@p-ol.com                 Tel.: XX-XXXXXXX
   Moh'd Sabbah (West Bank, Gaza)     http://www.p-ol.com/-molg/            Director Generals;
     Tel.: XX-XXXXXXX                 Kitf Al-Wad, PO Box 98, Jericho       - lnternat. Coop.: Walid Siam
   Haider Ibrahim (West Bank)         Gaza:                                    Ahmad Suboh
     Tel.: 02-2902-404                Tel.: XX-XXXXXXX/494/29 I 84/046        Tel.: XX-XXXXXXX
   Employment Program:                      XX-XXXXXXX /3/4478                 Hisham Mustapha
   Dir,: Abdul Majeed Swailem         Fax: XX-XXXXXXX                       - Gender Planning & Develop-
   Tel.: XX-XXXXXXX                   Ramailah: PO Box 73 I                 ment Zahira Kamal
   Director Generals:                 Tel.: XX-XXXXXXX-4                       Tel.: XX-XXXXXXX /
   - Admin. & Financial Affairs:      Fax: XX-XXXXXXX                                050-500363 / 050-695342
      Mohammed Abu Sbeitan            Deputy: Dr. Hussein AI-Araj           - Expatriate Affairs: Anis Bargoutlii
   - Cooperatives: Taher An-          Tel.: XX-XXXXXXX                         E-ma.il: expat@indcoop.pna.net
      Natsheh                         Asst. Deputy/Gaza: Ismail Abu            Tel.: XX-XXXXXXX/1
   - Employment & Labor:              Shamaleh -Tel.: XX-XXXXXXX            - Admin. & Financial Affairs:
     ~ : Said Mdalal                  Asst. Oeputy/WB: Ahmed                    Said AI-Qudreh
     West Bank: Hussein Al-Abed       Ghneim                                    Tel.: XX-XXXXXXX / XX-XXXXXXX
   - International, Arab & Public     Dir. Gen.: Jihad Hamdan,              - Israeli Affairs: Suflan Abu Zaydeh
      Relations: Hassan Saleh                      Omar Samha, Qalqilya         Tel.: XX-XXXXXXX
   - Labor Inspection: Mahmoud AI-    _f_fu Dir.: Dr. Hani AI-Hrub
                                                                            - Strategic & Sectoral Planning
      Shunaq                          Tel.: XX-XXXXXXX                         Khalil Nijim
   - Labor National Institute:                                                 Tel.: XX-XXXXXXX / 052-634511
                                      District Plannln~ Committee:          • Institution Building & Human
      Fawaz:Yassln                    Tel.: XX-XXXXXXX - Qalqilya
   - Labor Relations: Riyad Jubran                                             Resources Development:
   - Occupational Sarety &                                                     Dr. Mohammed Ghadiyeh
      Health:                         ► MINISTRY OF NGO AFFAIRS                Tel.: XX-XXXXXXX
     Assef Sa'id                      Minister: Hassan Asfour               Science & Technoloey Unit:
   - Planning & Information:          Dir. Gen.: Dr. Fathi Darwish          Head: Dr. Karim Tahboub
     Ghazi Al-Khalili                 Tel.: XX-XXXXXXX/818                  Tei. & Fax: XX-XXXXXXX
   - Social Insurances:               Fax: XX-XXXXXXX                       PALESTA (Palestinian Sdentists and
      Mohammed Hzayyim                Dir., Planning & Development/         Tecbno[D~ists Abroad)
   - Vocational Training: Riad        Ga:z:a: Khamis Rouk                   E-mail: ask@palesta.net
      Madan!, Ahmad Al Khatib         E-mail: mongoa@gov.ps                 http://www.palesta,net
   - Woman Affairs: lhsan Barnawi     http://www.mongoa.gov.ps              Balou', Ramaliah
   Medja & Public Relations Dept.;    PO Box I 370, Gaza
                                                                            NPA Secretariat (N ational
   Head: Ali Najmeddin                RamaHah;
   lericho Office;                    Tel.: XX-XXXXXXX-2/7220               Piao of Action for Palestinian
   Husni Hamdan                       Fax: 02-240 1371                      Children)
                                                                            Tel.: XX-XXXXXXX/1
   Tel.: XX-XXXXXXX                   PO Box 20, Ramallah                   Fax: XX-XXXXXXX
         XX-XXXXXXX                                                         E-mail: npapal@palnet.com
   Fax: 02-2321 I 61                  ►    MINISTRY OF PARLIA-              http://pal net.com/-npased
   Public Relations: Hafez Abbassi          MENTARY AFFAIRS                 As-Sahrafeh St., AI-Blreh, o pp. AI-
   Tel.: XX-XXXXXXX/9129                                                    R:ui Hospital (M unis T rcsh Ho use),
   District Offices;                  Minister: Nabll Amro
                                      Tel.: XX-XXXXXXX/2                    PO Box 38 1•H, Kufr Aqab
   Bethlehem: Head: Yassin Radi                                             PR b ept.: Basel Jaber
             Tel. & Fax: 02-2742S57   Fax: XX-XXXXXXX
                                      E-mail: mpa@planet.edu                Tel.: XX-XXXXXXX
   Hebron: Head: Ali Qdaimat                                                Media Office; Basel Jaber
             Tel.: XX-XXXXXXX/7896    Finance & Admin. Dir,:
                                      Mohammad Yaghi                        Tel.: XX-XXXXXXX
             Fax: 02-22261 I 5
   ~ Head: Walid Bilbaisi             lrsal St., Jaber Shalash Bldg., P.O
             Tel.: 04-250 I Oi 0      Box 4047, R.amallah                    ►   MINISTRY OF POSTS &
   ~       : Head: Ahmad Najim                                                   TELECOMMUNICATION
             Tel.: XX-XXXXXXX/ 1270   ►   MINISTRY OF PLANNING              Minister. lmad AI-Falouji
             Fax: XX-XXXXXXX               & INTERNATIONAL                  Tel.: XX-XXXXXXX/9 171
   Jerusalem: Hussein Abu Gharbieh         COO PERATl<;>N                   Fax: XX-XXXXXXX
             Tel.: XX-XXXXXXX/9862    Minister: Nabil Sha'ath               Gaza
   llihlfil: Head: Moh'd Abu Zaytun   Tel.: OB-2867334/28224882/93           Rama.Hah:
             Tel.: XX-XXXXXXX               XX-XXXXXXX/2821655/40           Tel.: XX-XXXXXXX/7/8/946
   ~ : Head: Husni As-Saifi           Fax: XX-XXXXXXX/2937/2482             Fax: XX-XXXXXXX
             Tel.: XX-XXXXXXX         E-mail: info@nmoplc.pna.net           lrsal St., AI-Balou', PO Box 674
   Ramallah: Head: Ali Hamdan         http://www.pnagov.ps/                 Deputy Min.: Zuhelr lahham
             Tel.: XX-XXXXXXX/6       PO Box 4017, Gaza City                Tel. & Fax: XX-XXXXXXX
   SaJket; Head: Baha' Eddln Taha     West Bank:                                         XX-XXXXXXX/65S5
             Tel.: XX-XXXXXXX         Tel.: XX-XXXXXXX-2/850/I              E-mail: zlaham@mama.com
   Iulkarem: Ghazi Nasrallah                XX-XXXXXXX/2983914              P.O Box 5300, Gaza, Ar Rima(
             Tel.: XX-XXXXXXX         Fax: 02-2963n2                        Dir. Gen.: Mahmoud Diwan
   :Iuhll: Ahmad Daraghmeh
   Tel. & Fax: XX-XXXXXXX
                                      R,moll•h oc PO    j!t:
                                      AI-Balu', AI-Blreh, PO Box 1336,
                                                               19, j'lem
                                                                             Director Generals;
                                                                             - West Bank: Samir Bakr


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• Communications: Moh'd Skeik        Oalqilya: Head: Dr. Saleh Mara'be   Tel.: XX-XXXXXXX I XX-XXXXXXX
• lntemal Control: Majdi Jaber              Tel.: XX-XXXXXXX             Fax: XX-XXXXXXX
~ Postal Affairs: Taysir Sabri       Ramallah: Head: Zuheir AI-Zuheiri   Dir-. Gen.: Bajes Ismail
                                            Tel.: XX-XXXXXXX             Tel.: XX-XXXXXXX
 ► MINISTRY OF PUBLIC                       Tel. & Fax: XX-XXXXXXX       Fax: XX-XXXXXXX
   WORKS                             Tulkarem: Head: Ra'eq AI-Dureydi    District Offices;
                                              Tel.: XX-XXXXXXX           yaza: Tel.: XX-XXXXXXX/282946 I
Minister: Azzam Al-Ahmad                                                         Fax: XX-XXXXXXX
Tel.: XX-XXXXXXX                                                         ~ : Samer Masri
Fax: 02-2-400890                      ► MINISTRY OF SUPPLIES
                                                                         Tel.: XX-XXXXXXX
E-mail: mpw@palnet.com               Minister: Abdul Aziz: Shaheen       Fax: XX-XXXXXXX
Sateh Marhaba. AI-Bireh              Tel.: XX-XXXXXXX/05'25/2825 MO      Jenin: Majid Abu Rub
PO Box 3961, Ramallah                       059-419995                   Tel.: XX-XXXXXXX
~                                    E-mail: supply@rannet.com                   Fax: XX-XXXXXXX
Tel.: XX-XXXXXXX                     AI-Wihda St., Gaza
Fax: XX-XXXXXXX                                                          Jericho: Ayyoush Abed As-Salam
                                     Ramallah:                           Tel.: XX-XXXXXXX
Arab League St., Rima!               Tel. & Fax: XX-XXXXXXX
Deputy: Deif Allah Al Akhras                                             Fax: 02-232 1229
                                     AI-Balou', PO Box 2148, AI-Bireh    MahlYl: lmad Ya'ish
 Director Generals;                  Um Sharayet: Tel: XX-XXXXXXX        Tel.: XX-XXXXXXX-4
• Public Works: Afif Said            PO Box 2148, Ramallah
    Tel.: XX-XXXXXXX                                                      Fax: XX-XXXXXXX
                                     Deputy: Abdul Hamid AI-Qudsl        ~ Ibrahim Al- Hafi
    Fax: XX-XXXXXXX                             Tel.: XX-XXXXXXX
• Jericho: Musa Ja<bllah                                                 Tel.: XX-XXXXXXX
                                     Dir. Gen.: Adel Saqallah            Fax: 09-2943 143
· Planning & Studies:Aqil ~                     Tel.: XX-XXXXXXX
   Tel: XX-XXXXXXX                                                       Rama(lah: Daoud Odeh
                                     Consultant Dr. Subhi Abu Sha'ireh   Tel.: 02-2402S30/2/3
• Technical Affairs: Maher Gooeim                Tel.: XX-XXXXXXX
   Tel. & Fax: XX-XXXXXXX                                                Fax: 02-2402S3 I
                                     Director Generals;                  ~ Sayel Al- Deik
• Admln. & Financial Affairs:        - Northern Region: Abdallah Skafi
  Bassam Abu Gharbiyeh                                                   Tel.: XX-XXXXXXX
                                       Tel.: XX-XXXXXXX/5/29878920       Fax: 09-239S970
  Tel.: XX-XXXXXXX                   - Financial & Admin. Affairs:
  Fax: XX-XXXXXXX                                                        Tulkarem: 'Amer Al- Jicawi
                                        Riyad Aweidah                    Tel.: XX-XXXXXXX
                                       Tel.: XX-XXXXXXX/8/9              Fax: XX-XXXXXXX
 ► MINISTRY OF SOCIAL                - Control & Inspection:
   AFFAIRS                             Gaz:a; Abdallah Fattah Humeid
Minister. lntinr AJ-Wmr (Um            Tel.: XX-XXXXXXX-9                 ► MINISTRY OF TRANSPORT
Jihad)                                 West Bank: Mahmoud ld'eis         Minister. Dr. Ali Qawasmi
Tel.: XX-XXXXXXX/1/5/89                Tel.: XX-XXXXXXX                  Tel.: XX-XXXXXXX
Fax: XX-XXXXXXX                      - PR: Ibrahim Khader                Fax: XX-XXXXXXX
Old Housing Bldg.. RlmaJ, Gaza       Gen. Directorate of Center          PO Box 399, Ramallah
l\aroallab:                          Labs: Tel.: 02-2987 893             Asst. Deputy: Ali Suleiman Ja'bar1
Tel.: 02-295906 I/2986183/4          Dept. Hall Marketing and            Tel.: XX-XXXXXXX
Fax: 02-29S5723/2959060              Inspection of Metals:               ~ : Tel.: XX-XXXXXXX/63762
Um Sharayet, PO Box 3525,            Tel.: XX-XXXXXXX, Ramallah                          XX-XXXXXXX
AI-Bireh                             Tel.: XX-XXXXXXX, Nablus            Fax: XX-XXXXXXX
Deputy Min. & Dir. Gen.:             Food Science Directorate:           Dir-. Gen.: Mahmoud Qawasml
Wahid M'teir                         Tel.: XX-XXXXXXX                    Tel.: XX-XXXXXXX
Tel.: XX-XXXXXXX                     Distrjct Offices;                   Director G enerals:
Director Generals:                   Beic Lahya: Tel.: XX-XXXXXXX        - Licensing, Southe rn Districts:
• Rehabilitation: Rihab 'lssawi      Bethlehem: Tel.: 02-2n3S44            Jlbrll Til bani - T el.: XX-XXXXXXX
  Tel.: XX-XXXXXXX/2848426           Deir AI-Balah: Tel.: 08-235 Is 19   - Licensing, W est Bank:
• PR Dept.: Abeer Abu K.ishk         Gan Cicy:: Tel.: XX-XXXXXXX-9         Eng. Mohammad Jaradat
  Tel.: XX-XXXXXXX/4                 l:klmzn: Tel.: XX-XXXXXXX/3333        Tel.: XX-XXXXXXX
• Planning Unit: Hana AJ-Qalmari     kn.in: Tel.: XX-XXXXXXX/3           - Financial Affairs: Ali Erekat
  Tel.: 02-29S9061/2986183--4        ~       : Tel.: XX-XXXXXXX           Tel.: Ol-1400941
Dir-. Information & Statistics       Jerusalem: Tel.: XX-XXXXXXX         - Admln. Affairs & Suppl!es:
Dept.: Ayman Sawalha                 Khan Younls: Tel.: XX-XXXXXXX         Abdul Jabbar Hamad
Tel.: XX-XXXXXXX                     ~ : T e l.: XX-XXXXXXX/8
Fax: XX-XXXXXXX                      ~!ya: Tel: XX-XXXXXXX               ►    MINISTRY OF WAQF &
District Offices;                      afa : Tel.: XX-XXXXXXX                 RELIGIOUS AFFAIRS
~ Head: Diana Mubarak                Ramallah: Tel.: XX-XXXXXXX
            Tel.: 02-274121617       Tulkarem: Tel.: XX-XXXXXXX/9        Minister. - -
             Fax: 02-2nos82                                              ~rysalem
.!:::h:lm;m: Head: Sharif Jaradat                                         el.:
                                     ►     MINISTRY OF TOURISM           l::ieJmm
            Tel.: XX-XXXXXXX               & ANTIQUITIES
             Fax: XX-XXXXXXX                                             Tel. & Fax: XX-XXXXXXX/2228213
~ Tel. & Fax: XX-XXXXXXX             Minister: Mitri Abu Alta            ~
~ : Head: Ahmad Maharmeh             Tel.: 02-2741S81-3                  Tel.: XX-XXXXXXX
            Tel.: XX-XXXXXXX         Fax: 02-27437S3                     Fax: XX-XXXXXXX/2824837
 lerusalem: Head: Sha'lan Bahar      E-mail: mota@visit-palestine.com    AI-Yarmuk St., PO Box 283, Gaza
            Tel. & Fax: XX-XXXXXXX   http://www.vlsit-palestine.com      1:zµ,tiyya:
~ Head: Fadia Al Masri               Nazzal Building, Main Street        Tel.: XX-XXXXXXX/3
          Tel.: 09-238JS74/2JSnas    PO Box 534, Bethlehem               Fax: XX-XXXXXXX
          Fax: XX-XXXXXXX            Deputy: Abdallah Hijazi             Oar AI-Aytam Al-lslamla Bldg.

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  Dep.: Sheikh Yusef Juma Salameh                   Fax: XX-XXXXXXX             Dir. Gen. of the Speaken
  Asst. Deputy: Aziz: Amro                  Salfeet: Head: Rey.id Amer          ~ : Salah AI-Ay.in
  Oh-, Generals:                                    Tel.: 09-25195623           Tel.: XX-XXXXXXX / 050-377915
  - Jerusalem Affairs:                      Tulkarem: Head: A'la'a Haloub       Fax: XX-XXXXXXX
     Nasser Daoud Rifa'i                            Tel.: XX-XXXXXXX            Financial Department
  - Directorates: Bahjat Dwelkat            •Ben Weider Academy for             Abdul Karim Abu Taha
  - Financial Affairs: Moh'd                Fitness                             Tel. & Fax: 02-298772 I
     Mustapha Ja'far, Khader Abu               Dir.: Dr. Naz:ih N'elrat         Tel.: 059-205206
     Sha'ban: Tel.: XX-XXXXXXX                 Tel.: XX-XXXXXXX                 PLC Committees
     Mahmoud AI-Neirab:                        Fax: XX-XXXXXXX                  Dir.: Ibrahim Khreisheh
     Tel.: XX-XXXXXXX                          Beitunia                         Tel.: XX-XXXXXXX / 0!..0-566317
  - Christian Affairs:                                                          Media & Information DeJ!t,
                                            • Majed As'ad Sports'               Dir.: Basem Barhoum
     Ibrahim Kandalaft                      Compound
     Tel.: XX-XXXXXXX/050-39 I 697                                              Tel.: XX-XXXXXXX/24027 I8
                                               Dir.: Daoud Mitwali              PR Depa.rt:ment
  - Heritage Dept.: Yousef Hamad               Tel.: XX-XXXXXXX
   Tel.: XX-XXXXXXX                                                             Dir.: Nadia Sartawi
                                               AI-Bireh                         Tel. & Fax: XX-XXXXXXX/050-28 I I 93
  - Islamic Research: Mohd. Lafi
     Tel.: XX-XXXXXXX/47638                 • The Martyr Salah Khalaf           Administrative Affairs;
  - Legal Affairs: Fathallah Al-            Center for Young Leaders            Dir. Gen.: lz:tideen Abu Safiyeh
  Husseini & Fouad Siam                        Dir.: Marwan Wishahi             Tel.: XX-XXXXXXX
  - Women's Affairs Dept.:                   . Tel.: XX-XXXXXXX                       050-316080 / 059-316080
     Tel.: XX-XXXXXXX                          AI-Fara'a                        Library: Dir.: Lina Queider
  Pistcict Offices;                                                             Tel.: XX-XXXXXXX f 050-363848
  ~ : Tel.: 08--2826892
  ~ : Tel.: XX-XXXXXXX/5/6
                                            ►   .MINISTERS
                                                 PORTFOLIO
                                                           WITHOUT              Lel!fll Dept,; Jamal El Khatib
                                                                                Tel.: XX-XXXXXXX
  Hebron & Southern District:               Minister: Salal-i Ta'amarl
         T el.: 02-222 3005                 (Settlements)
                                            Tel.: XX-XXXXXXX                            PLC MEMBERS ·
  ►    MINISTRY OF YOUTH &                        OS0-202947 / 0S2-202947
                                                                                ►   JERUSALEM DISTRICT
       SPORT                                Fax: XX-XXXXXXX
   Minister: - -                                                                Jerusalem Djstrict Office (J seats)
   Tel.: XX-XXXXXXX/2826689/                Minister: Dr. Nabil Kassis
                                                                                Tel.: XX-XXXXXXX/1
           XX-XXXXXXX/2668/9/7654           (Bethlehem 2000)                    Fax: XX-XXXXXXX
   Fax: XX-XXXXXXX                          Tel.: XX-XXXXXXX
   E-mail: MYS@palnet.com                   Fax: XX-XXXXXXX                     Ahmad Qrei'a (Abu Ala)
   Ash-Shifa St., Southern Rima.I,                                              Tel.: XX-XXXXXXX/59595 - off.
    PO Box 1416, Gaza                       Minister: Jirar Qudwa                     059-542666/6279263 - res.
    RamaUah:                                (General Monitoring Commission)     Fax: XX-XXXXXXX
   Tel.: XX-XXXXXXX/2/8/6490/               Tel.: XX-XXXXXXX
            02-29559730-4                   Fax: XX-XXXXXXX                     Hanan Ashrawi
   Fax: 02-298599 I                                                             Tel.: XX-XXXXXXX/35461 - off.
    lrsal St., lrsal Bldg., PO Box 52                                                 XX-XXXXXXX/9 - res.
    Deputy Min.: Dr. Ahmad AI-Yaz:jl            P L C - PALESTINIAN                   0S9-201207/6
   Tel.: XX-XXXXXXX/2743                             LEGISLATIVE                Fax: 02-583S 184
    Fax: XX-XXXXXXX                                    COUNCIL
    Asst. Deputy/West Banlc
                                                                                 Dr. Emile Jarjou'i
                                                                                 Tel.: XX-XXXXXXX/S -off.
    Dr. Jamal AI-Muheissen                                                               XX-XXXXXXX - res.
   Tel.: XX-XXXXXXX                         Speaker. Ahmed Qrei'a (Abu Ala')
                                            Tel.: XX-XXXXXXX/2959595                   . 050-24360 I
    Dir. Gen.: Rabiha Diab                                                       Fax:XX-XXXXXXX/27425l4
    Tel.: XX-XXXXXXX                              059-S42666
    District Offices;                             XX-XXXXXXX - res.
                                            Fax: XX-XXXXXXX                      Hatem Abdel Qader
    ~ Head: Khalil Shahwan                                                       Tel.: XX-XXXXXXX/1 -off.
             Tel.: XX-XXXXXXX               Main Office. AI-Blceh:                      0S2-867629
    Pelc Al Balah: Tel.: XX-XXXXXXX         Tel.: XX-XXXXXXX/5/7
                                            Fax: 02-29877 I 9                    Fax: XX-XXXXXXX
    Gaza Compound: 08--2824956
  · J:klmm: Abdul Nasser Al Sharif          ~                                    Ahmad AI-Batsh
             Tel.: XX-XXXXXXX               Tel.: XX-XXXXXXX/9337/8              Tel.: 02-23-47450 - off.
   J.ruiin: Head: Ghassan Kaba.ha                   08-282-4194/3953                    XX-XXXXXXX - res.
             Tel.: XX-XXXXXXX               Fax: XX-XXXXXXX/4174/2596                   052-222327
    J.fil:kh2: Suleiman Abu Taleb           E-mail: palplc@planet.edu            Fax: XX-XXXXXXX
             Tel.: XX-XXXXXXX               http://www.pal-plc.org
    )km: Head: Nabil Abu Omar                I st D e puty: Ibrahim A bu Naja    Ahmad Hashem Az-Zughayar
             Tel.: XX-XXXXXXX               Tel.: 08-2824 154 / 059-448448       Tel.:XX-XXXXXXX/2347450- off.
                                            Fax: XX-XXXXXXX                        XX-XXXXXXX/050-38976 I - res.
     Khan Younis:                           2 nd Deputy: Ghazi Hanania
             Tel.: XX-XXXXXXX/3671                                               Fax: XX-XXXXXXX
    thl2ha: Head: Fathl Khader              Tel.: XX-XXXXXXX/541 IO
                                                    059-301357                   Ziad Abu Zayyad
             Tel.: XX-XXXXXXX                                                    Tel.: 02-62821 IS/2797450/1 - off.
             Fax: XX-XXXXXXX                Fax: XX-XXXXXXX
                                            Djr. Gen.: Mahmoud Laba.di                  02-62821S9
     Oa!ql(ya: Hussam Bal'awl               Tel.: XX-XXXXXXX / 2960733                  XX-XXXXXXX / 050-248089
             Tel.: XX-XXXXXXX
     RamaHah-AI-Blreh: Nimer Attlyeh
           Tel.: XX-XXXXXXX/4/298598 I /2
                                                    050-S32747
                                            Fax:XX-XXXXXXX     id                Fax: XX-XXXXXXX
                                                                                 E-mail: pij@palnet.com
                                                                                                           .



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        ► BETHLEHEM DISTRICT                   Marwan Ka.nafani                    Suleiman Abu Sneineh
                                               Tel.: XX-XXXXXXX/5470               Tel.: 02-2226766ll - off.
        Bethlehem District Office                    059-408119                          02-2228550l6398
        (4 seats)                              Fax: 08-282603 I                          050-537729 I 059-205176
        Officer: Fuad Suleiman Salem                                               Fax: XX-XXXXXXX/7
        Tel.: XX-XXXXXXX/ 059-233536           Nahedd Ar-Rayyes
        Fax: XX-XXXXXXX                        Tel.: XX-XXXXXXX - off.             Nabil Amro
                                                     050-228746                    Tel.: XX-XXXXXXX/3 -off.
        Mitri Abu Aitta                        Fax: XX-XXXXXXX                           XX-XXXXXXX - res.
        Tel.: XX-XXXXXXX/5440 - off.                                                      050-573784 - 059-205025
              02-27416-41 - res.               Faraj As-Sa.rraf                    Fax: 02-298110 I
              050-510047                       Tel.: XX-XXXXXXX - off.
        Fax: XX-XXXXXXX                              08-28600 I I - res.           Mohammed Al-Hourani
                                                     059-408423                    Tel.: 02-2226766l7
        Bishara Daoud                          Fax: XX-XXXXXXX                           059-205204
        Tel.: XX-XXXXXXX/5440 - off.                                               Fax: 02-2226766l7
              XX-XXXXXXX - res.                Youse( Ash-Shanti
              050-381090                       Tel.: 08-2867105ll4003              Rafiq An-Natsheh
        Fax: XX-XXXXXXX                               059--408368 / 052-379414     Tel.: 02-290J375-9 - off.
                                               Fax: XX-XXXXXXX                           XX-XXXXXXX I XX-XXXXXXX
        Salah At-Ta'mari                                                                 052-390555/ 059-224244
        Tel.: XX-XXXXXXX - off.                Fakhri 51,aqoura                    Fax: XX-XXXXXXX/6
              02-27n366 - res.                 Tel.: 08-28.4 2440- off.
              050-202947                             XX-XXXXXXX / 059-408158       Ali AI-Qawasmi
        Fax: XX-XXXXXXX                        Fax: XX-XXXXXXX                     Tel.: 02-222090 I /2400944 - off.
                                                                                          02-2228165l69 IO - res.
        Daoud Az-Zeir                          Rawya Ash-Shawwa                           050-433942 / 059-433942
        Tel.: 02-2n046I - off.                 Tel.: XX-XXXXXXX- off.              Fax: XX-XXXXXXX/6766/7
              050-263556I 059-205271                 XX-XXXXXXX - res.
        Fax: XX-XXXXXXX                              059--408416                   Jamal Ash-Shobaki
                                               Fax: XX-XXXXXXX                     Tel.: 02-2226766l7 - off.
                                                                                         02-27458B0 - res.
        ► DEIR AL-BALAH DISTRICT               lntisar AI-Wazlr                          050-289722 I 059-205304
                                               Tel.: XX-XXXXXXX - off.             Fax: 02-2226766ll
        Deir Balah District Office (S seats)          XX-XXXXXXX - res.                        0



        Tel. & Fax: XX-XXXXXXX                        050-326999                   Abbas Zak i
                                               Fax: XX-XXXXXXX                     Tel.: 02-222385 1-3/ 6391 - off.
        Freih Abu Meddein                                                                XX-XXXXXXX - res.
        Tel.: XX-XXXXXXX / 050-314142          Wajih Yaghi                               050-388678 I 059-224455
              08-282213 1- Res.                Tel.: XX-XXXXXXX- off.              Fax: XX-XXXXXXX
        Fax:XX-XXXXXXX/2552166                       059-408415
                                               Fax:XX-XXXXXXX
        Ibrahim Al•Habbash                                                         ► JABALIA DISTRICT
        Tel.: XX-XXXXXXX                       Musa Az-Za'bout
              XX-XXXXXXX - res.                Tel.: 08•2822788- off.              Jabalia District Office (7 seats)
               059--408332                       XX-XXXXXXX I 0S9-408412 -res.     Tel. & Fax: OB-2477337
        Fax: XX-XXXXXXX                        Fax: XX-XXXXXXX                     Hisham Abed Ar-Razek
        Sa'adi Al•Krunz                        Reyad Az-Zanoun                     Tel.: XX-XXXXXXX - off.
        Tel.: XX-XXXXXXX/2843707               Tel.: XX-XXXXXXX-2 - off.                 XX-XXXXXXX - res.
              059-908331                             XX-XXXXXXX - res.                   050-369732 , o.S9-408 IB1
        Fax: OB-2552166/2824884                      050-3-49671                   Fax: XX-XXXXXXX
                                               Fax: XX-XXXXXXX                     Yousef Abu Safieh
        Jalal AI-Msadar
        Tel.: _08-25S1166130950                                                    Tel.: XX-XXXXXXX - off.
                0S9-401015                     ► HEBRON DISTRICT                         XX-XXXXXXX - res.
        Fax: 08-2S52166                                                                   059-408262
                                               Hebron District Office (10 seats)   Fax: XX-XXXXXXX
        Jamileh Saydam                         Tel. & Fax: XX-XXXXXXX
        Tel.: 08-25S2166 - off.                                                    Fuad Eid
              XX-XXXXXXX- res.                 Zahran Abu Qbeltah                  Tel.: XX-XXXXXXX I 059-408328
              059-408379                       Tel.: 02-22267667I 6390- off.             XX-XXXXXXX - res.
        Fax: 08-2S52166                               02-227933 I - res.           Fax: XX-XXXXXXX
                                                     OS0-533979
                                               Fax: XX-XXXXXXX                     Emad Al-Faloujl
                                                                                   Tel.: XX-XXXXXXX
        ► GAZA CITY DISTRICT                   All Abu Ar-Rish                           XX-XXXXXXX - res.
                                               Tel.: 02-22519.11/26390- off.             059-433943
        Gaza District Office (11 seats)              050-233926 I 059-205 178      Fax: XX-XXXXXXX
        Tel.: XX-XXXXXXX                       Fax: 02-222676&ll
        Fax: XX-XXXXXXX                                                            Abdul Rahman Hamad
                                               MusaAbu Sabha                       Tel.: 08-2825903ll77/914912235
        Ziad Abo Amr                           'rel.: XX-XXXXXXX/7 -off.
        Tel.: XX-XXXXXXX / 059-408407                                                    059-408120
                                                      XX-XXXXXXX - res.            Fax: XX-XXXXXXX/849
               XX-XXXXXXX - res.                      050-356815 I 059-205186
        Fax: XX-XXXXXXX                        Fax:02-2226766ll

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   Karam Sarandah                      Hassan Asfour                      Fayez Zeidan
   Tel.: XX-XXXXXXX I 052-332567       Tel.: XX-XXXXXXX/5552              Tel.: XX-XXXXXXX- off.
         XX-XXXXXXX - res.                   059-347226                         059-408409
   Fax: 08-2-457337                    Fax: XX-XXXXXXX                    Fax: XX-XXXXXXX
   Kamal Ash-Sharafi                   Ra'fat An-Najar
   Tel.: XX-XXXXXXX/059-40832 I-off.   Tel.: XX-XXXXXXX - res.            ► QALQILYA DISTRICT
         XX-XXXXXXX - res.                   08-2051 134/059-760887
   Fax: XX-XXXXXXX                                                        Oalqilya District Office (2 seats)
                                       Fax: XX-XXXXXXX                    Tel.: XX-XXXXXXX/ 059-797147
                                       Ahmad Nasr                         Fax: XX-XXXXXXX
   ► JENIN DISTRICT                    Tel.: XX-XXXXXXX - off.            Mahmoud Da'as
   lenin Djstrict Office (6 seats)           XX-XXXXXXX - res.            Tel.: 09-29-f3044- off.
   Tel.: XX-XXXXXXX/2                        059--113925                        XX-XXXXXXX - res.
   Fax: XX-XXXXXXX                     Fax:XX-XXXXXXX/2022576                   050-2208TT
                                       Nabil Sha'ath                      Fax: XX-XXXXXXX
   Azzam Al-Ahmad
   Tel.: XX-XXXXXXX/4181 - off.        Tel.: XX-XXXXXXX                   Othman Ghashash
         050-S00104                    fax: XX-XXXXXXX                    Tel.: XX-XXXXXXX - off.
   Fax: XX-XXXXXXX                     Ahmad Ash-Shibi                          XX-XXXXXXX
                                       Tel.: XX-XXXXXXX - off.            Fax: XX-XXXXXXX
   Jamal Shatl Al-Hindi
                                             XX-XXXXXXX - res.
   Tel.: XX-XXXXXXX/2-off.                   059-484150
         XX-XXXXXXX / 059-20512 I                                         ► RAFAH DISTRICT
                                       fax: XX-XXXXXXX
   Fax: XX-XXXXXXX
                                                                          Rafah District Office (5 seats)
                                       Jawad At-T(bl                      Tel.: XX-XXXXXXX/282593 I
   Ahmad lrsheid                       Tel.: 08-2051 134 / 059-7621 15
   Tel.: XX-XXXXXXX/2-off.                                                Fax: 0S-2136912
                                             052-256001
         XX-XXXXXXX / 059-205 174      fax: 08-2051 134
   Fax: XX-XXXXXXX                                                        Abed Rabbo Abu O'un
                                                                          Tel.: XX-XXXXXXX - off.
   Burhan Jarrar                       ► NABLUS DISTRICT                         XX-XXXXXXX- res.
   Tel.: 04-243716 I/2 - off.                                                   059--108392
         XX-XXXXXXX - res.             Nablus District Office (8 seats)   Fax: XX-XXXXXXX
   Fax: XX-XXXXXXX                     Tel.: XX-XXXXXXX / 059-204410
                                       Tel. & Fax: XX-XXXXXXX             Rouhi Fatouh
   Hikmat Zeid AI-Kllani                                                  Tel.: XX-XXXXXXX/4194- off.
   Tel.: XX-XXXXXXX-8 / 90-2           Kamel Al-Afghani                         XX-XXXXXXX / 050-566319
         059-205147 / XX-XXXXXXX       Tel.: XX-XXXXXXX/33490             fax: XX-XXXXXXX
   Fax: XX-XXXXXXX                         · 0S9-20S460
                                             XX-XXXXXXX - res.            Mohammed Hljazi
   Fakhri Turkman                      fax: XX-XXXXXXX                    Tel.: 08-21369 IO/ l/5108 - off.
   Tel.: XX-XXXXXXX/2- off.                                                      XX-XXXXXXX/2826725 - res.
         XX-XXXXXXX /059-205377        Salloum Sarnri                            059- 859561
   Fax: XX-XXXXXXX                     Tel.: XX-XXXXXXX - off.            Fax: XX-XXXXXXX
                                             09-238S888 / 059-205454
                                       fax: XX-XXXXXXX                    Suleiman Ar-Rumi
   ► JERICHO DISTRICT                                                     Tel.: 08-213691 I - off.
                                       Husam Khader                             XX-XXXXXXX/8 / 059--111044
   Jericho Distrkt: Office ( I seat)   Tel.: XX-XXXXXXX - off.            Fax: 08-21369 I2
   Tel.: 02-2321S40/I                        XX-XXXXXXX - res.
                                             059-205410                   Abdul Aziz Shaheen
   Sa'eb Erekat                        fax: XX-XXXXXXX                    Tel.: XX-XXXXXXX/6430/4324 - off.
   Tel.: XX-XXXXXXX/065 - off.                                                  XX-XXXXXXX / XX-XXXXXXX
         XX-XXXXXXX - res.             Maher Al-Masri                     Fax: XX-XXXXXXX/S I40
         050-523405 I 059-205190       Tel.: XX-XXXXXXX - off.
   Fax: XX-XXXXXXX                           XX-XXXXXXX - res.
                                                                          ► RAMALLAH DISTRICT
                                              050-37370S
                                       Fax: XX-XXXXXXX
   ► KHAN YOUNIS DISTRICT                                                 RamaJlah District Office (I seats)
                                       Mu'awiyah Al-Masri                 Tel.: XX-XXXXXXX/719
   K. Y. District Office (8 seats)     Tel.: XX-XXXXXXX - off.
   Tel.: 08-205 1349/205 I 134                                            Marwan Barghouti
                                             XX-XXXXXXX
   Fax: 08-20S 1134                          0S0-288671 / 059-205448      Tel.: XX-XXXXXXX/50 -off.
                                       Fax: 09-23864◄ I                         059-205211
   Ibrahim Abu An-Nafa                                                    Fax: XX-XXXXXXX
   Tel.: 0B-2824154-off.               Dalal Salameh
         XX-XXXXXXX - res.             Tel.: -238S647 09- off.            Qadura Fares
         059-448448                           059-205470 I 052-236594     Tel.: XX-XXXXXXX - off.
   fax: XX-XXXXXXX                     fax: XX-XXXXXXX                          059-205142
                                                                          Fax; XX-XXXXXXX
   Abdul Karim Abu Salah               Ghassan Ash-Shaka'a
   Tel.: 08-205 I I 34 - off.          Tel.: 09-23793 I 3                 Abdul Fatah Hamayel
         XX-XXXXXXX - res.                   XX-XXXXXXX - res.            Tel.: XX-XXXXXXX - off.
         059--108314                    .    059-205400                          XX-XXXXXXX
   Fax: XX-XXXXXXX                     Fax: 09-237469Qu id.                      XX-XXXXXXX / 0S9-205166

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       Ghazi Hanania                        · . :·PLC ·COMMITTEES                .   E-mail: gaza-int@hally.net
       Tel.: XX-XXXXXXX - off.                                                       htq,:/lwww.gaza.-airport.org
             XX-XXXXXXX                     Budget Committee                         PO Box 8007, Rafah, Gaza
             XX-XXXXXXX - res.              Chair: Daoud Az-Zir                      Airport Securio/, 0B-2134339/49
             059-3013S7                     Tel.: XX-XXXXXXX/5                       Preventive Security: 08-2 I 34369
       Fax: XX-XXXXXXX/2                          059-205271 / 0S0-20 I 005
                                            Fax: XX-XXXXXXX                          General Control Institution
       Abdul Jawad Saleh                                                             Chairman: Jirar Qudwa
       Tel.; XX-XXXXXXX - off.              Economic Committee                       Tel.: 0B-2829187 / 282737
             XX-XXXXXXX / 059-459352        Chair: Jamal Shobaki                     Fax: XX-XXXXXXX
       foe XX-XXXXXXX                       Tel.: XX-XXXXXXX                         Dir, Gen.: Abdellatif Matar
                                                  0S0-289722 I 059-205304            Tel.: 02-24073S4/03
       A'zml Ash-Shu'aybi                   Fax: XX-XXXXXXX
       Tel.: XX-XXXXXXX/3 - off.                                                     Fax: XX-XXXXXXX
             02-240 I 084 - res.            Educational Committee
                                                                                     llihl.Y.i:
       Fax: XX-XXXXXXX                                                               Contact: Mazen Mahroum
                                            Chair: Abbas Zaki                        Tel.: XX-XXXXXXX
                                            Tel.: 02-222385 l-3/6390/1/2444
       Jamil Al-Tarifi                            XX-XXXXXXX
       Tel.: XX-XXXXXXX/3/4 - off.                                                   General Personnel Council
                                                  050-388678 / 059-22445S            Chairman: Dr. Moh'd Abu Sharia
             XX-XXXXXXX - res.              Fax: XX-XXXXXXX
       Fax: XX-XXXXXXX                                                               Rama(lah;
             XX-XXXXXXX                     Interior & Security Committee            Tel.: XX-XXXXXXX/779 I /2
                                            Chair: Fakhri Shaqura                    Fax: XX-XXXXXXX/7793
                                            Tel: XX-XXXXXXX/42440/059-408 I 58       Um Sharayet, PO Box 1995,
       ► SALFIT DISTRICT                                                             Ramallah
                                            Jerusalem Committee                      ~ Tel.: XX-XXXXXXX
       Salfit District Office ( I seat)
       Tel.: XX-XXXXXXX                     Chair: Ahmad Hashem Az-Zughayar          Fax: XX-XXXXXXX
       Fax: XX-XXXXXXX                      Tel.: 02-23474S0 I 0S0-389761            E-mail: diwan@palnet.com
                                            Fax: XX-XXXXXXX                          Abu Khadra Complex, Gaza
       Ahmad Ad-Deik
       Tel.: XX-XXXXXXX/9 -off.             Land & Settlement Committee              Gener-al Petroleum
             XX-XXXXXXX I 059-205210        Chair: Salah Ta'mari                     Corpor-ation
       Fax: 09~2515668                      Tel.: 02-27435023 - off.                 Chairman: Harbi Sarsoour
                                                  XX-XXXXXXX / 050-202947            Tel.: XX-XXXXXXX-9/ I 6
                                            Fax: XX-XXXXXXX                          Fax: XX-XXXXXXX
       ► TUBAS DISTRICT                                                              E-mail: gpc@palnet.com
                                            l.egal Committee
       Tubas Distrjct Office (I seat)       Chair. Abdul Karim Abu Salah             Nablus main St., Sllwadi bulfdlng,
       Tel.: XX-XXXXXXX                     Tel.: 08-20S 1134 / 0S9-"1083 14         P.O Box 372S, Al Blreh
             050-660469 I 059-733373        Fax: 0B-20S 1134                         ~
                                                                                     Tel.: 08-28237-4S
       Hashem Suleiman Saleh                Parliamentary Monitoring                 Fax: 0B-2843407
       Dar-aJ?hmeh                          Committee                                E-mail: gpchq@palnet.com
       Tel.: XX-XXXXXXX I 0S9-20S4S I       Chair: Qadura Fares                      PO Box 1-444, Rimal, Gaza
       Fax: XX-XXXXXXX                      Tel. & Fax: XX-XXXXXXX
                                            Tel.: 059-205142 ·                       GoverTJment Computer- Center
                                                                                     Dir. Gen.: Or. Ghassan Qadah
       ► TUl.KAREM DISTRICT                 PLC Affail"5 Committee                   Tel.: XX-XXXXXXX/7
                                            Chair: Ahmad Qrei'a                      Fax: 02-296 I865
       Tulkarem District Offica (4 seats)   Tel.: XX-XXXXXXX / 2963636               http://www.gcc.g.ov.ps/
       Tel. & Fax: XX-XXXXXXX               Fax:XX-XXXXXXX                           Opp. Bridge Academy, Ar-Ram
                                                                                     ~ Dir.: Dr. Blshara Khouri
       Mufid Abed Rabbo                     Political Committee                      Tel.: 08-282926213
       Tel.: XX-XXXXXXX                     Chair. Dr. Ziad Abu Amr                  Fax: XX-XXXXXXX
              XX-XXXXXXX - res.             Tel.: XX-XXXXXXX / 059-408407            Abu Khadra Bldg.
             059-20S723                     Fax: XX-XXXXXXX
       Fax: XX-XXXXXXX                                                               Institute for- Administrative
                                            Refugees & Diaspora
       AI-Tayyeb Abdul Rahim                Committee                                Development
       Tel.: XX-XXXXXXX - off.              Chair: Jamal Shatl Al-Hindi              Dep. Dir. Gen.s: Bana Kalotl, Ghada
       Fax: XX-XXXXXXX                      Tel.: 04-243716 I /2 / 059-205 I21       Hazboun
                                            Fax: XX-XXXXXXX                          RamaUah: Tel.& Fax: 02-296S I 30
       Hakam Bala'wi                                                                 Urn Sharayet. POB 1995, Ramallah
       Tel.: 08-2824276101-2984373 -off.                                             ~ Tel.: XX-XXXXXXX
       Fax: XX-XXXXXXX                                                               Fax: XX-XXXXXXX
                                                 PA AGENCIES AND                     E-mail: diwan@palnet.com
       Hassan Khreisheh                            INSTITUTIONS                      Southern Ar-Rimal , Gaza
       Tel.: XX-XXXXXXX-off.
             XX-XXXXXXX/5029                Gaza International Air-por-t             Martyrs' Families & Prisoners'
             059-205071                     Chair: Fayez Zeidan                      Institution (M's F. & t.C.E.)
       Fax: XX-XXXXXXX                      Dir. Gen.: Salman Abu Halib              Dir. Gen.: Yousef Jubran
                                            Tel.: XX-XXXXXXX / 4129 (Tower)          Dir.: Amneh Al-Hassan
                                                   XX-XXXXXXX/2134338/58             Tel.: XX-XXXXXXX / XX-XXXXXXX
                                                   0B-2134279/89/99 (Info)           Fax: XX-XXXXXXX
                                            Fax: XX-XXXXXXX/7844                     Ramallah


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    ~ : Dir.: Yousef Abu Laban          ~ : Tel. 09-238S721n                 DahletAI- Barid. PO Box 54910,
          Tel. & Fax: XX-XXXXXXX             Fax: 09-237S745                 Jerusalem
    Deir Al-Balah: Tel.: 08-253630 I                                         Project Dir.: Dr. Hisham Shkokani
    .Gan: Dir.: Mohammed Arafat         Palestinian Broadcasting             Tel.: XX-XXXXXXX/48
           Tel.& Fax: XX-XXXXXXX        Corporation {PBC)                    Fax: XX-XXXXXXX
    !:ll:lrom: Dir.: Moh'd Abu Sharar   Chairman: Radwan Abu Ayyash           PECDAB - Oeporn aeots/Heads·
           Tel. & Fax: XX-XXXXXXX       Tel.: 02-2959893fl/9                 Tedmical Assjs t11 nce & Train-
    J.imjn: Dir.: Ghazi Abdul Hadi      Fax:XX-XXXXXXX(1                     iDE Dept,: Dr. Mohammad Dijani
           Tel. & Fax: 0◄ -2436864      E-mail: pbc@palnet.edu               T el.: XX-XXXXXXX/70/73
    !erusalem: Dir.: Khaled Kharouf     Dir.Gen.Radio: Basem Abu Sumaya      Fax: 02-234704 I
           Tel. & Fax: XX-XXXXXXX       Tel.: XX-XXXXXXX                      Services: Muhaymen Tirhi
    Khan Younis: Tel.: XX-XXXXXXX       Fax: XX-XXXXXXX                      Tel.: XX-XXXXXXX
    Nab!us: Dir.: Ali Assad             Dir. Gen. TY: Ali Rayan              Admln. & Financial Affairs:
           Tel. & Fax: XX-XXXXXXX       Tel.: XX-XXXXXXX                     Mohammed Abu Awad
    Oal~ya: Dir.: Mai Zeid              Gen. CoordJHead of Satellite         Tel.: XX-XXXXXXX/60
             el. & Fax: XX-XXXXXXX      Channel:                             ~ Tel.: OB-2824859
  . Rafab: Tel.: XX-XXXXXXX             Tel.: XX-XXXXXXX/25824                         Fax: XX-XXXXXXX
    S;illit;_Oir.: Zahra Qaroush        Fax: XX-XXXXXXX                       Hebron: Tel.: XX-XXXXXXX
           Tel. & Fax: XX-XXXXXXX       PO Box 2540. Gaza                    ~        : Tel.: XX-XXXXXXX
    Tulkarem: Dir.: Zuheir Khatab       ~       : Tel.: XX-XXXXXXX (Gaza)     National Institute for
           Tel. & Fax: XX-XXXXXXX             Tel.: 02-298790 I (Ramallah)   Information:
    ~         : Dir. Ahmad Maharmeh                                          Dir.: 'Adel Lafi
            Tel.: XX-XXXXXXX            Palestinian Central Bureau of        Tel.: 02-24077S1
                                        Statistics (PCBS)                    Fax: 02-240nS ◄
   National Center for Public           ~ Dr. Hassan Abu Ubdeh               .G.aza;
   Administration & Human               Tel.: XX-XXXXXXX                     Tel.: XX-XXXXXXX
   Resource Development                 Fax: XX-XXXXXXX                      Fax: XX-XXXXXXX
   (MOPIC)                              E-mail: diwan@pcbs.pna.org
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   Fax: XX-XXXXXXX                      Tel.: 02-2951 IOI                    Fax: 02-298619 I
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                                                                             Dir.: Eng. N abil Tineh
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   Head: Abdallah Hourani               J.en{n: Tel.: XX-XXXXXXX             Fax: 09-238-t388
   Tel. & Fax: XX-XXXXXXX/65716         t:la.hh.ls:.Tel.: XX-XXXXXXX         E-mail: perc@palnec.co m
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   Fax: XX-XXXXXXX                      Tel.: 08-282 I 309/7814/24/          Gen.Dir.: Eng.Younis AI-Qawasmi
   E-mall: fzaidan@palalrlines.com             050-343603/059-40840.9        Tel. & Fax: XX-XXXXXXX/2
   http://www.palalrllnes.com           Fax: XX-XXXXXXX/9526                 E-mail: palgric@planet.edu
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       Head: Ahmad Arafac Qudwe               Bethlehem; Tel.: XX-XXXXXXX             or: consulcant@mhe.planetedu
       Dir.: Abdel Hamid Ghanem                                                            minlscer@ mhe.planet.edu
       Tel.: XX-XXXXXXX/9307                  Central Photographic (Archives)
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       Gaza
       Ramallah Office:
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                                              I    PA COMMISSIONS
                                                     & COUNCILS
                                              Bethlehem 2000
                                                                                  E-mail: phc@palnet.com
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       hcq>://www.pwa.pna.org                 E-mail: lnfo@bethlehem2000.o rg     Head: Dr. Said Assaf
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       Contact: Maher AI-Rayyes               E-mail: hcat-pal@palnet.com         mi;: Tel.: XX-XXXXXXX
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  Tel.: XX-XXXXXXX                    Tel.: XX-XXXXXXX/4308/9393/4469/
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  Fax: 02-23 21248/23 99                                                     ADMINISTRATION
  fericho: Basem El Khatib            Navy Police
  Tel.: XX-XXXXXXX                    Head: Jawad Abu Hassan              ► GOVERNORATES
  Women Police:                       Tel.: XX-XXXXXXX                    Governorate Bethlehem
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                                      - Ansar 2: Tel.: XX-XXXXXXX/2/3     Tel.: XX-XXXXXXX/4 / 059-432159
  Criminal lnvesti~ation:             • Sudanieh: Tel.: 08-287091 /2
  Abdul Rahman Barakat                                                    Fax: XX-XXXXXXX
  Tel.: XX-XXXXXXX/2824101            - Hebron: Tel.: XX-XXXXXXX/3 I 1    PO Box 1035
                                      - Nablus: Tel.: XX-XXXXXXX
  Drugs D'=fit.: Fihmi 'lkeileh
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  Tel.: XX-XXXXXXX-I                  Police Directorate                  Governor: Moh'd Salim AI-Qudwah
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  Tel.: XX-XXXXXXX/905/907            Tel.: 08-282340 I North)            Fax: XX-XXXXXXX
  Fax: XX-XXXXXXX                     Tel.: XX-XXXXXXX/ 02                E-mail: govrngz@palnet.com
                                      Fax: XX-XXXXXXX
  ~    =
  Tel.: XX-XXXXXXX/6
                                                                          Thalathni St., PO Box 1422, Gaza
   Beit Sahour:                       Presidential Security               Governora.te Gaxa North
  Tel.: XX-XXXXXXX                    Head: Brig.Gen. Faisal Abu Sharkh   Governor: Saker Besiso
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  .G.aza.:.                                  Tel.: XX-XXXXXXX/7           E-mail: goj@zaytona.com
  Tel.: XX-XXXXXXX/4                  Jerusalem - Abu Dis:                Haifa Sc., Jenin
  Fax: XX-XXXXXXX                            Kifah Barakat
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  General Intelligence Service        ~ : Moh'd Hassan lsbeih             Governor: n.a.
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  Sudanieh: Tel.: XX-XXXXXXX          Preventive Security                 Dis
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  Medical Military Services           6irJ2on: Tel.: XX-XXXXXXX
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         Tel: 02-298121 ◄-9                          Dr. Fahoum Sha/ab!                               · Tel: XX-XXXXXXX                      Tal.: 08-28292◄7                             02-l-407790/059-2Ml43
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         Tel.: Ol-2~8121.f-9                         Or. Khalil Nakhlelt        m     "'                 Fox: 04-25Cl3S03                    Tel: 08-28259◄2                           Gani Or.Riyad 'Awud                  ~
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               ► MINISTRYOFllie                                                             Molwm!cd~                             Tel: 02-27◄2637170594                                                         Tel.: 08-20S1103
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               Hlnlstan Hanl Al-Hauan                                                                                             ~ Fathim EI-Rql,ib                                                            Tel.: 08-21-493'3/50-ll
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                                                  fax: 02-298◄306                                      Tel.: 09-2.l!M6l9                                                                                              Fax; 09-2'142588
           Dir. Ge.n., WB: Dr. Moh'd Yusln        Chief Justice, Shari'a Courts:        ~ H•d: Hutni As-s.i~                                                               AFFAIRS                               bmlllb: Tetn. Fax: 02-
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0        Cir. Gen.: Waid 'l:t-ebc               Dlrtctar Gcoecals                     Deputy. Or. H....in A>-Ar.J                  Tela 08- 22 83                          Toi. & Fax:02-298&180                   tli Ol-2322319
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         Fu:: 02-29593,◄                          Mohammed Abu Sbeltan                Aslt. Oeputy/Gaz:a: lmwt Abu                 Dir. Gen. o(tha Ministry,               Tol. & falC: XX-XXXXXXX     ,          ► MINISTRY OF SUPPU~S
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              T.t: 02,,2'40071 S.1>59-7 t 320,          Salah At-Ta'mari                           Tel.: 08-28<12◄◄0 - cf.
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              LQP-J Q~,Ja,raJ El Khatib                      050.2029◄7                                                                             . el~ 02-'1226766/7 - off.         Fax: 04-2-4395BO
              T•l.:02-2 717                            Fax: 02-27-0503                             Ra~Ash,Shawwa                                          02-27◄5880 - res.                                                      ► NABLUS DISTRICT
                                                                                                   Tel.:   2860177- oft                                   OS0.2897ll / 059-295304      Hlkmat Zeld AI-Kllanl
                                                       Dacud Az-Za.lr                                    XX-XXXXXXX - rec.                           Fu: 02-'1226766/7                 Tel.:02•2961080-8 I 90-2                  ~uil~1 Dlrtfif oma (8 ":la)
                     PLC MEMBERS                       TeL: 02-2770!61-off.                              059-408416                                                                        ' 0S9-l05147 I 0◄:,1501027            Tel.: 09-1333    /o5'1-l0,4.,ll0
                                                             050.263556/ 059-205271                Fax: XX-XXXXXXX                                  Abbas Zaki                         Fax: 02-2'61211                           Tel. & Fax: XX-XXXXXXX
                                                       Fax: XX-XXXXXXX                                                                              Toi.: 02-22238S1-3/ 63'11-olf,
           ► JERUSALEM DISTRICT                                                                   lntlsar AI-WazJr                                        02-nll-4◄◄- res.                                                       Kamel Al-Afgl,11111
                                                                                                  T•I.: 08-2827◄7'4 -df.                                                               Fakhrl Turlanan
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           r,ro••lern Plstdct Offl•q (7 seao)          ► DEIR AL-BALAH DISTRICT                            011-282◄730- res.                        Fax: XX-XXXXXXX
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           Fu: 02-23474S2                             Pale Bllllb Dlstnct Qfila (5 , ....)        fax: XX-XXXXXXX                                                                      Fax: 04-2439S80
                                                      Tel. & fax: XX-XXXXXXX                                                                                                                                                     Fax: 09-2386◄◄ 1
                                                                                                                                                     ► JABAUA DISTRICT
          Ahmu Qrel'a (Abu Ala)                                                                   Hwa A:z-Za'bout                                                                                                                Salloum Samrl
          Tel.: Ol-298n!Mi9S9S-,ff,                   Frelh Abu Medd.Jn                                                                              ~balla Plstdct Office fl seacs)   ► JERICHO DISTRICT
                                                                                                  Td.: XX-XXXXXXX - off.                                                                                                         ;rel.: 09-2333'490 - off.
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          Hanan Ashrawl                                                                                                                              Tela 08-2<1S7337-off.              Fax: 02-23215◄ 1
                                                      lbrahlm AI-Hahbuh                           Rey&cl Az•Zanoun                                                                                                               Hus11111 Khader
          T•L: 02-SBS l&l2/l5'162-off,                                                            Tel.: Oll-2.829301-2 - off.                              08-2◄S79 I I - res.         Sa'eb Erelcat                             T .1.: XX-XXXXXXX - off.
                02-29S/728/9 • l'!S.                  Tel.: 08-2552/6612531321 - res.                   OB-2826666 • .--s.                                 0S0-369732 / 059-408 IBI    Tel.: XX-XXXXXXX/06S - off.                      09-2leo936 - res,
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          hx02-S83S1&4                                Fax: XX-XXXXXXX                             Fax: XX-XXXXXXX                                                                            050-523405 / 059-105190             Fax: XX-XXXXXXX
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          Dr. Emile Juiou'I                           Sa'adl AI-Krunz                                                                                Tel.: 08-2<1S7337 - cff.          Fax: Ol-23215◄0                           Mahu Al-Masri
          Tel.: 02-27◄/ I 1115 - ol/'.                Tel.: ~2552166/21!◄3707                    ► HEBRON DISTRICT                                          08-24577◄-4 - res.                                                   Toi.: XX-XXXXXXX - off,
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                050-243601                            Fax: XX-XXXXXXX/282◄884                    t:Jm11:1m Pl:itdct Qffl" (IO,..u)                   Falc: 08-2-457337                                                                 050-373705
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               052-861629                            fax: XX-XXXXXXX                                    02,.2279331 - , ....                         fa>c: 08-2-457337                  Ibrahim Abu An-Naja                            XX-XXXXXXX
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         Ahmad 1-laabun Ax-Zuahayar                                                                                                                                                          059-4083 I ◄
         T.L: 02"'2Bl.3S l/2H74SO• oft                                                          Tel: 112-221675&.17-off.                                  059-408120                    fax: 08-205113◄                           Tel.: XX-XXXXXXX
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               ► QAl.QILYA DISTRICT                 fax: 02-295706012                    Tel.: XX-XXXXXXX               l2lcJlm; Abdellallf EI-Qura'n           Jmiu!cm: Cir.: l<halocl Kharouf       h>e: 08-18237-44      ·


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              ► llAFAH DISTRICT                   ► SALFIT DISTRICT
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              fax:XX-XXXXXXX                                                                                            Gm:
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           Rauh) Fatouh                          ► TUBAS DISTRICT                      Head: 'Abd!A Karlrn Abu SaJah
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           Suleiman Ar-Ruml                      ► l\JU<AJIEH DISTRICT                                                   Gm; Dir.: Or. Bbhara Khouri
           Tel.:XX-XXXXXXX-off.                                                       Budget & Financial
                                                                                      Committee
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           Fax: XX-XXXXXXX                                                            Head: Oawood 1\1-Zeer              Abu l<hadra Bldr,                                                            Dir.: Or. Sal&h Yas sin
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          Abdul Aziz Shaheen                                                          Fuc 02-27◄3S03                                                            Dlr.Gon: Moh&mmed Shel•               Fax: 02·2-WISSO
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          Fax 08-282-432-4151'40                                                       Pubfic ~oms Committee                                                    D:ahlet Al•Barkl. PO 8o>< 66353,      PO Bo>< 71'1, P-amallafl
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          ► llAHAUAH DISTRICT                   Tel; 282-417-4-ot.                     Fax: 02.2987,'.lll                ~ Toi.: 08-lal9l28
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          Rarnlll!b Pbtrlct OJBco (7 mu)                                                                                                                        Dir. Gen.: Miaen Abu Shari'a          Mao..Qlc.: Mohammed Sho'X
          Tol: 02-29876W719                                                                                              E-mal: dlwan@palnec.com                Tel: XX-XXXXXXX
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                                                Tela 08-282-427"02-29&4373 -of!.                                                                                Fax: 02-1964◄ 33                      Tel: Ol-ll 80/00(050-2103P8
          HarwuillarshoutJ                      Fax: 02-218137◄
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                          Palestine Airlines:                Gen. Dir,: Randa Sousou-Janho           Public Relation & Media
                          Dir.-Gen.: Captain Ziad AI-Badah   Tel.: XX-XXXXXXX/2423315                Dir.-Gen.: Badder Makki
                          Tel. & Fax: XX-XXXXXXX             Mobile: 0599-677987/0598-887007         Tel.: XX-XXXXXXX/2/0597-917201
                                                             Fax: XX-XXXXXXX                         Fax: XX-XXXXXXX
                                                             E-mail: randasocio@yahoo.com            Sports Affairs
                          ►    MINISTRY OF WAOF &            Gen. Dir. of A.M.C: Marlene AI-         Dir.-Gen.: [brahim Al-Sabbah
                               RELIGIOUS AFFAIRS             Rabadi- Nazzale                         Tel.: XX-XXXXXXX/2/0599-607661
                                                             Tel.: XX-XXXXXXX/0599-672346             Fax: XX-XXXXXXX
                          Minister: Dr. Mahmoud AI-Habbash
                                                             Fax: XX-XXXXXXX                         Youth Affairs
                          Tel.: XX-XXXXXXX
                                                             E-mail: nazzalmar@yahoo.com             Dir.-Gen.: Walid 'Atatrah
                          Fax: XX-XXXXXXX
                          E-mail: info@pal-wakf.ps           Gen. Dir. of Planning & Policies:       Tel.: XX-XXXXXXX/2/0599-607662
                          http://www.pal-wakf.ps             Fatinah AI-Wathaefi                     Fax: XX-XXXXXXX
                          Hai Al-Jinan, AI-Bireh             Tel.: XX-XXXXXXX/0599-674776
                                                             Fax: XX-XXXXXXX                         District Offices:
                          Ramallah:
                                                             E-mail: f-wathaefi@yahoo.com            Bethl.: Head: Abdul Nasser Al Sharif
                          Tel.: XX-XXXXXXX-8
                                                             Gen. Dir. of Human & Financial              Tel.: XX-XXXXXXX/0598-947743
                          Fax: XX-XXXXXXX
                                                             Resources: Haitham Amro                 Hebron: Saleh Jadallah
                          Departments:                       Tel.: XX-XXXXXXX/0599-998941              Tel.: XX-XXXXXXX/0598-947756
                          Christian Affairs:                 Fax: XX-XXXXXXX                         Jenin: Head: Saeed Hamdan
                          Tel. & Fax: XX-XXXXXXX             E-mail: haitham.amro@yahoo.com              Tel. : XX-XXXXXXX/0598-947746
                          Fax: XX-XXXXXXX                                                            Jericho: Majed Abu Zayed
                                                                                                         Tel.: XX-XXXXXXX/0598-947748
                          Dar AI-Aytam AI-Islamiyeh:         ► MINISTRY OF YOUTH & SPORT             J,'.!gm: Head: Mohammed Sub Labban
                          Jerusalem:                                                                     Tel.: XX-XXXXXXX/0598-947742
                          Tel.: XX-XXXXXXX                   Acting Min.: Dr. Salam Fayyad
                                                                                                     Nablus: Ghassan Qabaha
                          Tel. & Fax: XX-XXXXXXX             Gaza:
                                                                                                         Tel.: XX-XXXXXXX/0598-947755
                          Fax: XX-XXXXXXX                    Tel.: XX-XXXXXXX/77901/5529/30
                                                                                                     Qg_lgili@.;. Reyad 'Amer
                          AI-Izzariwa: Tel.: XX-XXXXXXX      Fax: 0B-2875535
                                                                                                         Tel.: XX-XXXXXXX/0598-947752
                          Tel. & Fax: XX-XXXXXXX             E-mail: youth@p-ol.com
                                                                                                     Ramallah/AI-Bireh: Tamador Sawalmeh
                                                             http://www.mys.gov.ps
                          Heritage & Islamic Research:                                                   Tel.: XX-XXXXXXX/0598-947740
                                                             Ash-Shifa St., Southern Rimal,
                          Tel.: XX-XXXXXXX                                                           Salfit: Head: Hussam Bal'awi
                                                             PO Box 1416, Gaza
                          Tel. & Fax: XX-XXXXXXX                                                       Tel.: 09·2515040/0598-947749
                                                             Ramallah:
                          Fax: XX-XXXXXXX                                                            Tubas: Head: Arafat Al-Masri
                                                             Tel.: XX-XXXXXXX/1
                                                                                                       Tel.: 0599-338456
                          Islamic Waqf' Directorates         Fax: XX-XXXXXXX
                                                                                                     Tulkarem: Head: Himmat AI-Shanteer
                         Jerusalem Affairs:                  Surda St., opp. AI-Zuhor Bldg., after
                                                                                                       Tel.: XX-XXXXXXX/0598-947751
                         Tel.: XX-XXXXXXX                    Best Eastern Hotel, Ramallah
                         Fax: XX-XXXXXXX                     Dep. Min.: Musa Abu Zaid                Majed As'ad Sports' Compound
                         Ramallah/AI-Bireh:                  Tel.: XX-XXXXXXX/0599-607660            Dir.: Abdel Rahman Rimawi
                                                             Fax: XX-XXXXXXX                         Tel.: XX-XXXXXXX/0597-975471
                         Tel.: XX-XXXXXXX
                         Fax: XX-XXXXXXX                     Advisor: 'Amer Abu Shams                AI-Bireh
                                                             Tel.: XX-XXXXXXX/2/0597-303831
                         Bethlehem:                                                                  The Martyr Salah Khalaf Center
                                                             Fax: XX-XXXXXXX
                         Tel.: XX-XXXXXXX                                                            for Young Leaders
                         Fax: XX-XXXXXXX                     Departments:                            Dir.: Marwan Wishahi
                         Nablus:                             Administration Affairs:                 Tel.: 09·2578177/0598-947747
                         Tel.: XX-XXXXXXX                    Dir.-Gen.: Munther Masalmah             AI-Fara'a
                         Tel. & Fax: XX-XXXXXXX              Tel.: XX-XXXXXXX/2/0599-607375
                         Hebron:                             Fax: XX-XXXXXXX
                         Tel.: XX-XXXXXXX
                                                             Adolescence & Children
                         Fax: XX-XXXXXXX
                                                             Dir.-Gen,: Fathi Khader Al-Sabbah
                                                                                                      PALESTINIAN LEGISLATIVE
                         Dura:                                                                               COUNCIL (PLC)
                                                             Tel.: XX-XXXXXXX/2/0598-947741
                         Tel. & Fax: XX-XXXXXXX
                                                             Fax: XX-XXXXXXX
                         Fax: XX-XXXXXXX
                         Jericho: Tel. & Fax: XX-XXXXXXX     Cabinet.Affairs:                        Sec. Gen.: Dr. Ibrahim Khreiheh
                         Jenin: Tel.: XX-XXXXXXX             Dir.-Gen.i Mahmoud AI-Saqa              Tel. & Fax: XX-XXXXXXX
                         Fax: XX-XXXXXXX                     Tel.: 02-XX-XXXXXXX/2/0599-202084       Tel.: 0599-566317
                         Salfit:                              Fax: XX-XXXXXXX                        E-mail: ibrahimk@pal-plc.org
                         M& Fax: XX-XXXXXXX                  Complaints Unit                         Office the Secretary General;
                         Tulkarem: Tel.: XX-XXXXXXX          Dir.-Gen.: Dr. Reyad Al-Fayed           Dir. Gen.; Nehad Alayyan
                         Fax: XX-XXXXXXX                     Tel.: XX-XXXXXXX/2/0599-357093          Tel. : XX-XXXXXXX/0598-922966
                         Tubas: Tel. & Fax: XX-XXXXXXX       Fax: XX-XXXXXXX
                         ~ Tel.: XX-XXXXXXX                  Inspection & Internal Control:          Speaker's Office:
                                                                                                     Tel.: XX-XXXXXXX-2/2984804/6
                                                             Dir.-Gen.: Mohammed Daoud
                                                                                                     Tel. & Fax: XX-XXXXXXX
                                                             Tel.: XX-XXXXXXX/2
                          ►    MINISTRY OF WOMEN'S                                                   http://www.pal-plc.org
                                                             Fax: XX-XXXXXXX
                               AFFAIRS                                                               Main Office, Ramallah:
                                                             Infrastructure & Projects
                                                             Asst. Dir.: Malek Barghouthi            - Bureau of the Speaker
                          Minister: Rabiha Diab
                                                             Tel.: XX-XXXXXXX/2/0599-607364          Head: Dr. Dawwas Dawwas
                          Tel.: XX-XXXXXXX/9461-2/2429947
                                                             Fax: XX-XXXXXXX                         Tel.: 02·2960733/87712/84804/6
                          Mobile: 0599-555223
                                                                                                     Mobile: 0599-877102
                          Fax: XX-XXXXXXX                    Planning & Research
                          E-mail: rabiha_diab@palnet.com                                             Fax: XX-XXXXXXX
                                                             Asst. Dir.: Wael Rimawi
                          http://www.mowa.gov.ps                                                     E-mail: speaker@pal-plc.org
                                                             Tel .: 02-2.959730/2/059~11 11334
                          PO Box 4616; AI-Bireh
                                                             Fax: XX-XXXXXXX       ).~ •• .•,

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                      Assistant Sec. Gen.s for:                 Abdel Jawad, Nasir (Change &          * Abu Teir, Mohammed (Change &
                                                                Reform - Salfit)                      Reform - List)
                      Council Meetings & Committees
                                                                Tel. : XX-XXXXXXX/0599·593378         Tel.: XX-XXXXXXX/0548-021499
                      Nasha'at Qariuti
                                                                Fax : XX-XXXXXXX
                      Tel. : XX-XXXXXXX/0599-255932
                                                                                                      Abu Tous, Khalid (Change &
                      Sessions Affairs:                         Abdel Rahman, Wa'el (Change &         Reform - Tubas)
                      Dir. Gen .: Raeda Qandil                  Reform - Jerusalem)                   Tel.: XX-XXXXXXX/0599-534132
                      Tel.: 02·2987719/0599-711756              Tel. : XX-XXXXXXX / 0522-825722       Fax: XX-XXXXXXX
                      Record Keeping Department:                Fax: XX-XXXXXXX
                      Ameenah Zahran                                                                  Abu Znaid, Jihad (Fateh - List)
                      Tel. & Fax: XX-XXXXXXX                    Abdullah, Abdullah (Fateh - List)     Tel.: 02·5826530/10977
                                                                Tel. : XX-XXXXXXX / 0599-240185       Mobile : 0547-301049 /0599-256135
                      External & Information Affairs:           Fax : XX-XXXXXXX                      Fax: 02·532189 1
                      Bassem Barhoum
                      Tel.: 02·2984159/ 0598-922967             Abu Ali, Mohammad (Fateh • List)      Ahmad, Ahmad (Change & Reform
                      Fax: 02·2984159                           Tel.: XX-XXXXXXX/0599-367977          - Nablus)
                      Financial & Administrative Affairs:                                             Tel .: XX-XXXXXXX
                      Ahmad Abu Hashish                         Abu Amro, Ziad (Independent-Gaza)     Fax: XX-XXXXXXX
                      Tel. : 02· 2984746/0599-200465            Tel.:XX-XXXXXXX / 0599-408407
                      Fax: 02·2984746                           Fax : XX-XXXXXXX                      Al-Ahmad, Azzam (Fateh - Jenin)
                      E-mail : asahashish@yahoo .com            E-mail : ziadabuamr@yahoo.com         Tel. :XX-XXXXXXX/XX-XXXXXXX
                      Legal Affairs:                                                                  Tel. & Fax: 02·2405070 off.
                      Mr. Jamal Al-Khatib                       Abu Baklr, Najat (Fateh - List)       Mobile: 0599-205220
                      Tel.: 02·2984245/0598-961333              Tel.: XX-XXXXXXX / 0599, 872315
                      Fax: 02·2984245                           Fax: XX-XXXXXXX                       Al-'Aileh, Abdel Hamid (Fateh-List)
                      E-mail : Jamalalkhateeb@yahoo.com                                               Tel .: XX-XXXXXXX / 0599·411200
                      -Legal Affairs Dept.: Yousef Jaffal       Abu Halabiya, Ahmad (Change &
                      -Research and Studies Dept.:              Reform - List)                        Al·Akhras, Radwan (Fateh - Rafah)
                       Jihad Harb                               Tel.: 08·2855015/0599-320631          Tel. : XX-XXXXXXX/2845177/
                      Tel.: 02· 2984803/0599-679303             Fax: 08·2855015                       Mobile: 0599-403892
                                                                                                      Fax: 08·2958029
                      Directorates:                             Abu Hassan, Khalid (Change &
                      Administration & HR Affairs               Reform - Jenin)                       * Ala-Eddin, Mohammed (Change
                                                                Tel.: 04·2502260/0599·774286          & Reform - List)
                      Dir. Gen: Hani Odeh
                      Tel.: 02·2984302/0597·532532                                                    Tel .: 02·2222360/0599·678264
                                                                Abu Houli, Ahmad (Fateh - Deir Al·
                      Financial Affairs                         Balah)                                Al·Aloul, Mahmoud (Fateh -Nablus)
                      Dir. Gen .: Nabil Odeh                    Tel.: XX-XXXXXXX/0599·418706          Tel.: XX-XXXXXXX/0599-205450
                      Tel. & Fax : 02·2987721/0599-111440
                                                                                                      Tel. & Fax: XX-XXXXXXX off.
                      PR & Media:                               Abu Jhalsha, Mohammad (Change
                      Dir. Gen.: Kamal Daibes                   & Reform - Hebron)                    Amii, Riad (Change & Reform -
                      Tel. & Fax.: 02·2984240                   Tel.: XX-XXXXXXX/0599-765859          Nablus)
                      Mobile: 0599·799339                                                             Tel .: 09·2520210/0599· 252559
                      E-mail: kamald2000@gmail.com              Abu Musameh, Sayed (Change &          Tel. & Fax: XX-XXXXXXX· off.
                                                                Reform • List}
                      Departments:                              Tel.: XX-XXXXXXX/0599·852422          Al·Ashqar, Ismail (Change &
                      Committees' Affairs Dept.:                                                      Reform • North Gaza)
                      Dir. Gen : Dr. Ahmad Abu Dayyeh           Abu Ras, Marwan (Change &             Tel.: XX-XXXXXXX / 0599-734827
                      Tel.: 02·2980306/0599·801010              Reform • List)                              XX-XXXXXXX off
                                                                Tel.: XX-XXXXXXX / 0599·465534        Fax : XX-XXXXXXX
                      Information Technology Dept.:             Fax: XX-XXXXXXX
                      Tel. : 02· 2984742
                      Tel. & Fax : XX-XXXXXXX                                                         Ashrawi, Hanan (The Third Way -
                                                                Abu Al-Rob, Jamal (Fateh • List)      List)
                      ~                                         Tel.: XX-XXXXXXX/.0599-365022
                      Tel. : 08·2827037/9337/84194/3953                                               Tel. ; XX-XXXXXXX/0599· 201207
                      Fax : 08·2827027/4174/2596                                                             XX-XXXXXXX off.
                                                                Abu Salem, Ibrahim (Change &          Fax: XX-XXXXXXX
                      E-mail: speaker@pal-plc.org               Reform • Jerusalem)
                      Session Affairs Dept.:                    Tel. :XX-XXXXXXX/0525-768659          Assaf, Walid (Fateh · Qalqilya)
                      Tel. & Fax: XX-XXXXXXX                                                          Tel.: XX-XXXXXXX/0599-803039
                                                                Abu Shahla, Faysal (Fateh - List)
                                                                                                      Fax: XX-XXXXXXX
                                                                Tel.: 08·2824878/0839
                               PLC MEMBERS                  I   Mobile: 0599-204245
                                                                Fax: XX-XXXXXXX
                                                                                                      Al•Astal, Najat (Fateh - List)
                                                                                                      Tel. : XX-XXXXXXX / 0599-600144
                                                                                                      Fax: XX-XXXXXXX
                        NB:   *= currently Imprisoned by        Abu Shammaleh, Majid (Fateh - List)
                                 Israel                         Tel .: XX-XXXXXXX/2830500
                                                                                                      AI-Astal, Younis (Change & Reform
                                                                Mobile: 0599-400202 / 0598-905105
                                                                                                      - Khan Younis)
                                                                Fax : XX-XXXXXXX
                      El·Abadsa, Yahia (Change &                                                      Tel. : XX-XXXXXXX/ 0599-481347
                      Reform • List)                            Abu Sir, Daoud (Change & Reform -
                      Tel. : 08·2052715 / 0599·608184                                                 Atoun, Ahmad (Change & Reform -
                                                                Nablus)
                                                                                                      Jerusalem) (Self-imposed house
                                                                Tel.: 09·2392510/2520555
                      Abdel Hamid, Nizar (Change &                                                    arrest (!CRC) since 1/7/2010)
                                                                Mobile: 0599-749444
                      Reform • Hebron) ,                                                              Tel.: XX-XXXXXXX/0505·452131
                      Tel.: 02·2284610/0599-225222              Fax : XX-XXXXXXX     {cl••··•         Fax: XX-XXXXXXX


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                      Mubarak, Ahmad (Change &               * Romanin, Ali (Change & Reform -       Shihab, Mohammed (Change &
                      Reform - Ramallah)                     List)                                   Reform - North Gaza)
                      Tel.: XX-XXXXXXX/0599-283384           Tel. : 02·2328283/7545/0599-838714      Tel. : XX-XXXXXXX/0599-608890
                          XX-XXXXXXX off.                    Fax: XX-XXXXXXX                         Fax: XX-XXXXXXX
                      Fax: XX-XXXXXXX
                                                             Sabella, Ivivan (Fateh - Jerusalem;     Shraim, Ahmad (Fateh - Qalqilya)
                      Musleh, Mahmoud (Change &              Christian quota)                        Tel.: XX-XXXXXXX/3044/0599-205170
                      Reform - Ramallah)                     Tel.: XX-XXXXXXX/0505-234416            Fax: XX-XXXXXXX
                      Tel. : XX-XXXXXXX/0599-568877          Fax : XX-XXXXXXX
                                                                                                     Al-Tai, Mohammad (Change &
                      Al-Najjar, Khamis (Change &            Salamah, Muhib (Fateh - Ramallah)       Reform · Hebron)
                     Reform - Khan Younis)                   Tel.: XX-XXXXXXX/0599-711589            Tel.: XX-XXXXXXX/2298991
                     Tel.: XX-XXXXXXX/0599-856428            Fax : XX-XXXXXXX                        Fax: XX-XXXXXXX/0599-387739

                     Nofal, Imad (Change & Reform -          Salamah, Salim (Change & Reform         Al-Tawil, Husam (Independent -
                     List)                                   - Deir AI-Balah)                        Gaza)
                     Tel.: XX-XXXXXXX/0599-520920            Tel.: XX-XXXXXXX/ 0599-850847           Tel.: XX-XXXXXXX/0599-403092
                     Fax: XX-XXXXXXX                         Fax: XX-XXXXXXX                         Fax: XX-XXXXXXX

                     AI-Qadi, Samir (Change & Reform -       Saleh, Jamal (Change & Reform •         • Terawl, Jamal (Change &
                     Hebron)                                 Gaza)                                   Reform- List)
                     Tel.: XX-XXXXXXX/225M44                 Tel. : XX-XXXXXXX/599-414MO             Tel.: n/a
                     Mobile: 0599-520882/0599-795204
                     Fax : XX-XXXXXXX                        Saleh, Maryam (Change & Reform -        Thabit, Siham (Fateh - List)
                                                             List)                                   Tel.: XX-XXXXXXX / 0599·888938
                     Qafalsh, Hatem (Change & Reform         Tel.: XX-XXXXXXX/0599-8754 72                 XX-XXXXXXX off.
                     - Hebron)                                                                       Fax: XX-XXXXXXX
                     Tel .: XX-XXXXXXX/621/0599-523416       * Salhab, Azzam (Change &
                     Fax: XX-XXXXXXX                         Reform - Hebron)                        Thwaib, Khalid (Change & Reform ·
                                                             Tel .: XX-XXXXXXX/0599-252206           Bethlehem)
                     Qaraqi, 'Issa (Fateh - List)                                                    Tel.: XX-XXXXXXX/0522-489965
                     Tel.: XX-XXXXXXX/0599-673887            AI-Salhi, Bassam (Alternative • List)   Tel. & Fax : XX-XXXXXXX
                     Fax: XX-XXXXXXX/27%741                  Tel.: XX-XXXXXXX/0599-224499
                                                                   XX-XXXXXXX off.                   Totah, Mohammad (Change &
                     Qar'awi, Fathi (Change & Reform -       Fax: XX-XXXXXXX                         Reform - Jerusalem) (Self-imposed
                     List)                                                                           house arrest (ICRC) since 1/7/2010)
                     Tel.: XX-XXXXXXX                        AI-Saqqa, Fayez (Fateh- Bethle-         Tel.: XX-XXXXXXX / 0547-753225
                                                             hem; Christian quota)                   Fax; XX-XXXXXXX
                     AI-Qawasmi, Sahar (Fateh - List)        Tel.: XX-XXXXXXX/2741620
                     Tel.: XX-XXXXXXX/2293456                Mobile: 0599-276802                     Tumailah, Jihad (Fateh - list)
                     Mobile: 0599-226893                     Fax: XX-XXXXXXX                         Tel.: XX-XXXXXXX/2975652
                     Fax: XX-XXXXXXX                                                                 Mobile: 0599-187070
                                                             Sha'ath, Nabil (Fateh - List)           Fax: XX-XXXXXXX/2965657
                     AI-Qreenawi, Huda (Change &             Tel.: XX-XXXXXXX/0599-603310
                     Reform - list)                          Fax: XX-XXXXXXX                         AI-Wazir, Intisar (Fateh · list)
                     Tel.: XX-XXXXXXX/0599-302794                                                    Tel.: XX-XXXXXXX
                                                             Shami, Shami (Fateh - Jenin)            Mobile: 0599-408413 / 0599-110881
                     Rabai, Khalil (Change & Reform -        Tel.: XX-XXXXXXX/0599-520903            Fax: XX-XXXXXXX
                     list)                                   Tel. & Fax: XX-XXXXXXX
                     Tel.: XX-XXXXXXX/2298990                                                        Yaghi, Alaa Addin (Fateh - List)
                     Mobile: 0599-292609                     Shamieh, Yahia                          Tel.: 08·2877402/XX-XXXXXXX
                     Fax : XX-XXXXXXX/2279314                Tel.: XX-XXXXXXX/0599-408008            Mobile: 0599-111149
                                                             Fax: XX-XXXXXXX                         Fax: XX-XXXXXXX
                     Radad, Reyad (Change & Reform-
                     Tulkarem)                               Al-Shanty, Jameela (Change &            Vahya, Khalid (Change & Reform -
                     Tel.: XX-XXXXXXX/0599-389965            Reform - List)                          Jenin)
                                                             Tel.: XX-XXXXXXX/0599-565161            Tel.: XX-XXXXXXX/0599-355892
                     * AI-Rajoub, Naief (Change &                                                    Fax: XX-XXXXXXX
                     Reform - Hebron)                        AI-Sharafi, Yousef (Change &
                     Tel.: XX-XXXXXXX/0599-801744            Reform - North Gaza)                    Yasin, Husni (Change & Reform -
                                                             Tel,; XX-XXXXXXX/0599·847999            Nablus)
                     *AI-Ramahl, Mahmoud (Change &           Fax: XX-XXXXXXX                         Tel.: XX-XXXXXXX/0599-520989
                     Reform - List) (arrested by Israel on                                           Fax: XX-XXXXXXX
                     10/11/2010)                             Shawa, Rawya (Independent Pales-
                     Tel.: XX-XXXXXXX/0599-522699            tine - List)                            * Za'arir, Basim (Change & Reform
                     Fax: XX-XXXXXXX                         Tel.: 08·2808466/2824177                - Hebron)
                                                             Mobile: 0599-307439 / 0599-334470       Tel.: 02·2268780/0599-800507
                     * Rasoul, Ahmad Sa'adat (Martyr         Fax: XX-XXXXXXX                         Tel. & Fax: XX-XXXXXXX/1
                     Abu Ali Mustafa - List)
                     Tel.: XX-XXXXXXX                        Al-Sheikh, Ali Na'emah(Fateh-List)      Al-Zahar, Mahmoud (Change &
                     Fax: XX-XXXXXXX                         Tel.: XX-XXXXXXX/0599-412708            Reform - list)
                                                             Fax: XX-XXXXXXX                         Tel.: XX-XXXXXXX/0599-408404




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                          Zaidan, Abdel Rahman (Change &            District Courts:                      Court of Appeal -Nablus:
                          Reform - Tulkarem)                        - Bethlehem:                          Head: Fahrni Jaradat
                          Tel.: XX-XXXXXXX/0599-207017                Tel.: XX-XXXXXXX                    Tel.: XX-XXXXXXX
                                                                       Fax: XX-XXXXXXX
                          AI-Zboun, Anwar (Change &                 - Hebron:
                          Reform - List)                              Tel.: XX-XXXXXXX/2
                          Tel. & Fax: XX-XXXXXXX/2764014               Fax: XX-XXXXXXX
                                                                                                                   PA AC.ENCIES &
                          Mobile: 0599-520909/0522-329344           - Ramallah                                      INSTITUTIONS
                                                                      Tel. & Fax: XX-XXXXXXX
                                                                    - Qfilgfu@:                           Environmental Quality Authority
                                                                      Tel. & Fax: XX-XXXXXXX              Chairman: Dr. Yousef Abu Safiyeh
                             PA ATTORNEY C.ENERAL

                                                             -
                                                                    -Jenin:                               Tel. & Fax: XX-XXXXXXX
                            · C.ENERAL PROSECUTION                    Tel.: XX-XXXXXXX                    An-Nasser, Ath-Thwara St., Gaza
                                                                      Fax: XX-XXXXXXX
                                                                                                          Deputy Chairman: Jamil AI-Motour
                                                                    - Nablus:
                          Attorney General                                                                Tel.: XX-XXXXXXX/6/8
                                                                      Tel.: XX-XXXXXXX
                          Ahmad AI-Mughanni                                                               Fax: XX-XXXXXXX
                                                                      Fax: XX-XXXXXXX
                          Assistant. West Bank:                                                           E-mail: jarneel_mtr@hotmail.com
                                                                    -Tulkarem:
                          Abdel Ghani 'Iweiwy                                                             AI-Sharafeh, Burj AI-Ein,
                                                                      Tel. & Fax: XX-XXXXXXX
                          Tel.: XX-XXXXXXX/8/2429161                                                      PO Box 3841, Ramallah
                                                                    -Jericho:
                          Fax: XX-XXXXXXX                                                                 Regional Offices:
                          E-mail: ag.office@pgp.ps                    Tel.: XX-XXXXXXX
                                                                      Fax: XX-XXXXXXX                     Hebron: Tel.: XX-XXXXXXX/9269
                          http://www.pgp.ps                                                                        Fax: XX-XXXXXXX
                          AI-Balua, opp. Foreign Min., AI-Bireh     Magistrate Courts:
                                                                                                                   PO Box 1310
                                                                    :..Sfilfit                            Nablus: Tel. & Fax: XX-XXXXXXX
                                                                     Tel. & Fax: XX-XXXXXXX
                                                                                                          Jenin: Tel. & Fax: XX-XXXXXXX
                                                                     -Tubas:
                               PA HIC.HER JUDICIAL                   Tel. & Fax: XX-XXXXXXX
                                                                                                          Tulkarem: Tel. & Fax: XX-XXXXXXX
                                    COUNCIL                                                               Bethlehem: Tel.: XX-XXXXXXX
                                                                     - Halhoul·
                                                                       Tel. & Fax: XX-XXXXXXX
                                                                                                          General Authority of Civil Affairs
                          Higher Judicial Council                    - Dura:
                                                                       Tel.: XX-XXXXXXX                   Chairman: Hussein Al-Sheikh
                          Chief Justice: Judge Farid EI-Jallad                                            Tel.: XX-XXXXXXX
                          Tel.: XX-XXXXXXX                           - Nablus:
                                                                       Tel.: XX-XXXXXXX                   Fax: XX-XXXXXXX/44
                          Fax: XX-XXXXXXX                                                                 E-mail: info@mca.gov.ps
                          E-mail: sab2001b@yahoo.com                 -Ramallah:
                                                                       Tel. & Fax: XX-XXXXXXX             http://www.mca.gov.ps
                          AI-Bireh, AI-Balua, opp. City Inn Hotel                                         Qattom Bldg., AI-Balou', AI-Bireh,
                                                                     - Bethlehem:
                          Judiciary Training Department:               Tel.: XX-XXXXXXX                   PO Box 2074, Ramallah
                          Head: Judge Dr. Othman EI-Takrouri         - Hebron:                            Gaza:
                          Tel. & Fax: XX-XXXXXXX                       Tel.: XX-XXXXXXX                   Dep. Asst.: Amin Siam
                          E-mail: rjomhour@hotmail.com               -Tulkarem:                           Tel.: XX-XXXXXXX/47/9
                          AI-Bireh, AI-Balua, opp. City Inn Hotel      Tel. & Fax: XX-XXXXXXX             Fax: 08-28229648
                          Judiciary Inspection Department:           -Jenin:                              Al-Nasir St., Yaziji Bldg., opp. Qaser
                          Head: Az.my Tangeer                          Tel.: XX-XXXXXXX                   AI-Hakem, Gaza
                          Tel. & Fax: XX-XXXXXXX                    -Jericho:                             Dep. Minister. West Bank:
                          E-mail: azmi-tanjeer@yahoo.com               Tel.: XX-XXXXXXX                   Marouf Zahran, Ayman Kandil
                          AI-Bireh, Nablus St., nr. Ford Agency     .:Qgjgllitg;_                         Tel.: XX-XXXXXXX
                                                                       Tel. & Fax: XX-XXXXXXX             Fax: XX-XXXXXXX
                          Planning & Projects Management
                          Department                                                                      Dir.s Gen .• West Bank: Hisham Abu
                          Head: Judge Thuraya AI-Wazir                                                    Mariam, Adib Abu Khalil, Fakhreddin
                          Tel. & Fax: XX-XXXXXXX                                                          AI-Deek, Saleh AI-Zeq, Rezq Nofal,
                                                                        SUPREME JUDC.E                    Emran Yousef, Majdi Alawneh, Hassan
                          E-mail: thuraya.alwazir@gmail.com
                                                                    DEPARTMENT•THEUPPER                   Abu Hasheesh, Louay Alsady, Mah-
                          Court of Appeal                             COUNCIL OF SHARIA                   moud Samara, !mad EI-Natsheh
                          Ramallah:
                          Tel. & Fax: XX-XXXXXXX                         JURISDICTION                     Dir.s Gen•• Gaza: Ziad Al-Abed, Khalil
                                                                                                          Farraj, Musa Abu Ghazi, Maher Abu Al-
                          AI-Bireh, AI-Baloua', opp. Ministry of
                                                                                                          'Ouf, Ayman Elraqm, Muhammed
                          Foreign Affairs                           Acting Supreme Judge: His Eminence    Joudeh, Sameer Abu Nahleh, Musa
                          Jerusalem:                                Sheikh: Yousef Ed'ees Al Sheikh       Abu Sadeh, Ashraf Dahlan, Ziad Awaja
                          Tel. & Fax: XX-XXXXXXX                    Deputy Head of the Upper Council of
                                                                                                          PR: Dir.-Gen.: Raghda Farrah
                          Financial & Administrative Affairs        Sharia Jurisdiction
                          Dir.-Gen.: Fahad Qawasmi                   Deputy Head of Sharia High Court     Civil Affairs Offices:
                          Tel.: XX-XXXXXXX                          Tel.: 02-241158/2411633
                          Fax: XX-XXXXXXX                           Fax: XX-XXXXXXX                       Abu Dis: Tel.: XX-XXXXXXX
                                                                    E-mail: Kudah@kudah.gov.ps            Fax: XX-XXXXXXX
                          Courts Admin. Department:                                                       Allenby Bridge: Tel.: XX-XXXXXXX
                          Head: Judge Ezzat EI-Ramini               http://www.kudah.gov.ps
                                                                    Supreme Sharia Court:                 E!ethlehem: Tel.: XX-XXXXXXX/65305
                          Tel. & Fax: XX-XXXXXXX                                                                       Fax: XX-XXXXXXX
                          E-mail: ezzat.ramini@gmail.com            Member: Sheikh Mustafa Al-Tawil,
                                                                    Tel.: 02-24012045                     Deir AI-Balah: Tel.& Fax: XX-XXXXXXX
                          Judicial Media Center                     Court of Appeal                       Ethna: Tel.: XX-XXXXXXX
                          Head: Majed Al-Arouri                     Acting: Sheikh Atta Al-Muhtaseb               Fax: XX-XXXXXXX
                          Tel. & Fax: XX-XXXXXXX                    Tel.: XX-XXXXXXX                      Gaza: Tel.: XX-XXXXXXX/2822333
                          E-mail: laya~10l2@hotmail.com             Jerusalem                             Hebron: Tel.: XX-XXXXXXX/2258558
                                                                                                                    Fax: XX-XXXXXXX


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                     Jabalia: Tel. & Fax: XX-XXXXXXX-1       Martyrs' Families & Injured Care       Gc.ne@J PIJptQqraghic (Archives J:
                     Jenin: Tel.: XX-XXXXXXX/2431642         Establishment (M's F. & l,C.E.)        Tel.: XX-XXXXXXX/0599-383326
                     - - Fax: XX-XXXXXXX                     Dir.-Gen.: Khalid Jabarin              Fax: XX-XXXXXXX
                     Jericho: Tel.: XX-XXXXXXX               Dir.: Sulairnan AI-Deek                E-mail: tasweer_w@wafa.ps
                     --Fax: XX-XXXXXXX                       Tel.: XX-XXXXXXX /60111                       or: tasweer w@hotmail.com
                     Nablus: Tel.: 09· 2384404/2391750       Fax: XX-XXXXXXX                        AI-Masaief, Mak'a Center Bldg., 2, 4,
                     Fax:     XX-XXXXXXX                     Ramallah                               5 fl., Ramallah
                     ~ : Tel.: XX-XXXXXXX                    Bethl.: Dir.: Yousef Abu Laban
                                Fax: XX-XXXXXXX                      Tel. & Fax: XX-XXXXXXX         Palestine Standards Institution
                     Rafah: Tel. & Fax: XX-XXXXXXX           Deir AI-Balah: Tel.: XX-XXXXXXX        Dir_-Gen.: Dr. Mazen Abu Sharieha'
                     Al-Ram: Tel.: XX-XXXXXXX                Gaza: Dir.: Fathi Shahin               Tel,: XX-XXXXXXX/4144/2965191
                     - -       Fax: XX-XXXXXXX               - - Tel. & Fax: XX-XXXXXXX             Fax: XX-XXXXXXX
                     Rafah: Tel, & Fax: XX-XXXXXXX           Hebron: Dir.: Amal Jaradat             E-mail: info@psi.gov,ps
                     Ramallah: Tel.: XX-XXXXXXX                       Tel. & Fax: XX-XXXXXXX        http://www.psi.gov.ps
                     - - - Fax: XX-XXXXXXX                   Jenin: Dir.: Mus'ad 'Ammar             AI-Quds St., Al-Tai Area, PO Box
                     Salfit: Tel.: XX-XXXXXXX                       Tel. & Fax: XX-XXXXXXX          2258, Ramallah
                             Fax: XX-XXXXXXX                 Jericho: Dir: Sa'ed Jubran             Gaza: Tel.: XX-XXXXXXX
                     Tubas: Tel.: XX-XXXXXXX                 --     Tel.: XX-XXXXXXX                - - Fax: XX-XXXXXXX
                              Fax: XX-XXXXXXX                Jerusalem: Dir.: Ibrahim Faqousah      Hebron: Tel. & Fax: XX-XXXXXXX
                     Tulkarem: Tel.: XX-XXXXXXX                         Tel. & Fax: XX-XXXXXXX      lfili!J_: Tel.: XX-XXXXXXX
                                  Fax: XX-XXXXXXX            Khan Younis: Tel.: XX-XXXXXXX          Nablus: Tel. XX-XXXXXXX
                                                             Nablus: Dir.: Ali Assad                - -        Fax: XX-XXXXXXX
                     General Personnel Council               - - Tel. & Fax: XX-XXXXXXX
                     Chairman: Dr. Hussein AI-Araj           ~ : Dir.: Mai Zeid                     Palestinian Broadcasting Corpo-
                     Tel.: XX-XXXXXXX-3                                 Tel. & Fax: XX-XXXXXXX      ration (PBC)
                     Fax: XX-XXXXXXX                         Rafah: Tel.: XX-XXXXXXX                Gen. Supervisor: Vasser Abed Rabbo
                     E-mail: info@gpc.gov.ps                 Salfit: Dir.: Zahra Qaroush            Tel.: XX-XXXXXXX/0597-403168
                     http://www.gpc.gov.ps                          Tel. & Fax: XX-XXXXXXX          Fax: XX-XXXXXXX
                     Um Sharayet, PO Box 1995, Ramallah      Tulkarem: Dir.: Zuheir Khattab         E-mail: yasser@palestine-pmc.com
                                                                        Tel. & Fax: XX-XXXXXXX      Asst.: Ibrahim Melhem
                     Government Computer Center                                                     Tel.: XX-XXXXXXX/0599-205146
                     see Index or Ministry of Telecommu-     National Center for Studies &          Fax: XX-XXXXXXX
                     nication above                          Documentation                          E-mail: ib.milhim@hotmail.com
                                                             Tel. & Fax: XX-XXXXXXX/2839940
                                                                                                    Director Generals, JY:
                     The Land Authority                      E-mail: n-c-s-d@palnet.com
                                                                                                    - Financial & Administrative Affairs:
                     Pres.: Nadim AI-Barahmeh                http://www.qum-ncsd.com
                                                                                                    Mahmoud Mizher
                                                             AI-Khazendar Bldg., 1+2 fl., Ahmad
                     Tel.: XX-XXXXXXX                                                               Tel.: XX-XXXXXXX/0599-111337
                     Tel. & Fax: XX-XXXXXXX                  Ben Abdul Aziz St., Rimal, PO Box
                                                                                                    Fax: XX-XXXXXXX
                     Dir.-Gen.: Sa'eb Nathif                 5256, Gaza
                                                                                                    E-mail: misnmof@hotmail.com
                     Tel.: XX-XXXXXXX                                                                    or: Mahmoudmizher@pbc.pna.ps
                     Fax: XX-XXXXXXX
                                                             Palestine Monetary Authority
                                                                                                    - Gen. Man. of 1V: Ahmad Hazouri
                                                             Governor: Dr. Jihad AI-Wazir
                     Nablus St., AI-Ramuni Bldg., AI-Bireh                                          Tel.: XX-XXXXXXX/0598-914458
                                                             Tel.: XX-XXXXXXX-2/54-5
                     Gaza:                                                                          Fax: XX-XXXXXXX
                                                             Fax: XX-XXXXXXX/24
                     Tel.: XX-XXXXXXX/8827                                                          E-mail: ahmadhazouri@hotmail.com
                                                             E-mail: info@pma.ps
                     Fax: XX-XXXXXXX                                                                - News Department: Dr. Said Ayyad
                                                             http://www.pma.ps
                     Real State & Surveying:                 PO Box 452, Ramallah                   Tel.: 02·2967921/0598-914467
                                                             Gaza:                                  Tel.: XX-XXXXXXX res.
                     Ramallah:
                                                             Tel.: XX-XXXXXXX/5713/23               Fax: XX-XXXXXXX
                     Tel.: XX-XXXXXXX Survey
                                                             Fax: XX-XXXXXXX                        E-mail: newspbc2@hotmail.com
                     Tel.: XX-XXXXXXX State Land
                                                             Haidar Abdul Shafi St., Murad Bldg.,        or: ayyads@yahoo.com
                     Bethl.: Tel. & Fax: XX-XXXXXXX
                                                             PO Box 4026, Gaza                      - 1V Programs: Emad AI-Asfar
                     Hebron: Tel. & Fax XX-XXXXXXX                                                  Tel: XX-XXXXXXX/63750/0598-914456
                     Jenin: Tel. & Fax: XX-XXXXXXX                                                  Fax: XX-XXXXXXX
                     Nablus: Tel.: XX-XXXXXXX                Palestine News"& Information
                                                             Agency (WAFA)                          E-mail: Emadalasfar@hotmail.com
                     - - Fax: XX-XXXXXXX
                                                             Chair: Reyad Al-Hassan                 - Internationl Relation & Training:
                     ~ : Tel.: Fax XX-XXXXXXX                                                       Sameh Khader
                     Tulkarem: Tel. & Fax: XX-XXXXXXX        Tel.: XX-XXXXXXX/0599-605522
                                                                                                    Tel.: XX-XXXXXXX/0599-262276
                                                             Fax: XX-XXXXXXX
                     Land Registries:                        E-mail: r_hasssan@yahoo.com
                                                                                                    Fax: XX-XXXXXXX
                     Ramallah: Tel.:XX-XXXXXXX                                                      E-mail: sameh.khader@pbc.pna.ps
                                                                   or: elhassan.r@gmail.com
                                  Fax: XX-XXXXXXX            http://www.wafa.ps                     Director Generals. Radio:
                     Bethl.: Tel. & Fax XX-XXXXXXX           Dir. Gen. of WAFA: Nemer Khalouf       Gen. Dir.: Khaled Siam
                     Hebron: Tel. & Fax XX-XXXXXXX           Tel.: XX-XXXXXXX/ 0599-202911          Tel.: XX-XXXXXXX/0597-785454
                     Jericho: Tel. XX-XXXXXXX                E-mail: nemer_ Khalouf@hotmail.com     Fax: XX-XXXXXXX
                              Fax: XX-XXXXXXX                Dir. Gen.: Nawaf Hamed                 - Acting Dir. Gen. News Department:
                     Jenin: Tel. & Fax: XX-XXXXXXX           Tel. & Fax: XX-XXXXXXX/                Haitham Saleh
                     Oalgily_g: Tel. & Fax XX-XXXXXXX        Mobile: 0598-926200/ 0599-261311       Tel.: XX-XXXXXXX/0598-914487
                     Nablus: Tel.: XX-XXXXXXX                E-mail: nawaf@wafa.ps                  Fax: XX-XXXXXXX
                     - - Fax: XX-XXXXXXX                     Editor in Chief: Ali Hussein           Public Relation & Information:
                     Tulkarem: Tel. & Fax: XX-XXXXXXX        Tel.: XX-XXXXXXX/0599-403213           Head: Mufid Sahloob
                     Tubas: Tel. & Fax: XX-XXXXXXX           Fax: XX-XXXXXXX                        Tel.: XX-XXXXXXX/0599-204839
                     Salfit: Tel. & Fax: XX-XXXXXXX          E-mail: ali@wafa.ps                    Fax: XX-XXXXXXX
                                                                  or: Suhaalf73~r:~il.com           E-mail: mufid.press@gmail.com


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                          Dir.: Inam Shaban                          Palestinian Economic Council for         Palestinian Medical Council
                          Tel.: XX-XXXXXXX/0505-387969               Development & Reconstruction             Head: Minister of Health
                          Fax: XX-XXXXXXX                            (PECDAR)                                 Gen. Sec.: Dr. Munther Al-Sharif
                          E-mail: selwan2008j@hotmail.com            President: Dr. Mohammed Shtayyeh         Tel.: XX-XXXXXXX
                          Marketing Department                       E-mail: shtayyeh@planet.edu              Fax: XX-XXXXXXX
                          Dir.; Ibrahim Qendah                       Tel.: XX-XXXXXXX-1 / 0599-210338         http://www.pmc.ps
                          Tel.: 02-240465/0598-914498                Fax: XX-XXXXXXX                          AI-Balou', besides AI-Wardah Al·
                          Fax; XX-XXXXXXX                            http://www.pecdar.org                    Hamrah Bldg., Ramallah, PO Box
                          E-mail: pbcmarketing.com                   Yasmin St., near Nursery College,        2441, Jerusalem
                          Producing Department                       Next to AI-Quds Educational TV, AI-
                          Dir.: Mohammed Abu Al-Rob                  Bireh, PO Box 54910, Jerusalem           Palestinian National Commission
                          Tel.: 02·2404653/0598-914470               Admin. & Financial Department:           for Education, Culture & Science
                          Fax: XX-XXXXXXX                            Mohammed Abu Awad                        (UNESCO,ISESCO,ALECSO)
                          E-mail: aboelrob@hotmail.com               Tel.: XX-XXXXXXX                         Sec.-Gen.: Ismail Tillawi
                                                                     Fax, XX-XXXXXXX                          Tel.: XX-XXXXXXX/2400901
                          Legal Advisor: Loai Allawi                 Projects Monitoring Office:              Fax: XX-XXXXXXX
                          Tel.: XX-XXXXXXX/0599-364896               Dir.: Dr. Hisham Shkoukani               E-mail: pncecs@palnet.com
                          Fax: XX-XXXXXXX
                                                                     Tel.: XX-XXXXXXX/48                      http://www.pncecs.org
                          E-mail: loaialawi@hotmail.com                                                       AI-Balou', AI-Wardah AI-Hamrah
                                                                     Fax: XX-XXXXXXX
                          PlaJ1ning &.Coordination TV E'r©r.ilffi.   Public Relations Office:                 Bldg., 2°• fl., AI-Bireh, PO Box 174,
                          Qassem Mansour                             Dir.: Abdul Hakim Odeh                   Ramallah
                          Tel.: XX-XXXXXXX/0598-914490               Tel.: XX-XXXXXXX
                          Fax: 02,2959893                            Fax: XX-XXXXXXX                          Palestinian Olympic Committee
                          E-mail:kasem5656@hotmail.com               E-mail: odeh@pecdar.pna.net              Head: Jibril Rajoub
                          Coordination TV                            Gaza:                                    Tel.: XX-XXXXXXX/89/2410612/18
                          Dir.: Mohammed AI-Barghouthi               Tel.: XX-XXXXXXX                         Fax: XX-XXXXXXX/2410611
                          Tel.: XX-XXXXXXX/0598-914495               Fax: XX-XXXXXXX                          E-mail: palolympic@yahoo.com
                          Fax: XX-XXXXXXX                            Nablus: Tel.: XX-XXXXXXX                       or: j.rajoub2009@gmail.com
                          E-mail: m-brghoute@yahoo.com               National Institute for Informa-          Ramallah, Industrial Area St.
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                          TV: Tel.: XX-XXXXXXX-1/2977901-3           Tel.: XX-XXXXXXX                         'ref.:08-28979191/92
                          Radio: Tel.: XX-XXXXXXX-9                  Fax: XX-XXXXXXX                          Fax: XX-XXXXXXX
                          News:                                      Gaza:
                          TV: Tel.: 02-967921                        Tel.: XX-XXXXXXX                         Palestinian Water Authority
                               Fax: XX-XXXXXXX                       Fax: XX-XXXXXXX                          Head: Dr. Shaddad AI-Attili
                               E-mail: newspbc2@hotmail.com                                                   Tel.: XX-XXXXXXX
                          Radio: Tel.: XX-XXXXXXX                    Palestinian Energy & Environ-            Fax: XX-XXXXXXX
                                  Fax: XX-XXXXXXX                    ment Research Center (PEC)               E-mail: pwa@pwa.ps
                                                                     Dir. Gen.: Ayman Ismail                       or: sattili@pwa.ps
                          Palestinian Central Bureau of              Tel.: XX-XXXXXXX                         http://www.pwa-pna.org
                          Statistics (PCBS)                          Fax: XX-XXXXXXX                          Al·Baloua', AI-Bireh
                          Acting Pres.: Ola Awad                     E-mail: perc@palnet.com                  Gaza:
                          Tel.: XX-XXXXXXX                           http://www.perc.ps                       Acting Dir.: Ribhi Ash-Shaikh
                          Fax: XX-XXXXXXX                            Zaka' Committee Bldg., 3'' fi.,          Tel.: XX-XXXXXXX
                          E-mail: diwan@pcbs.gov.ps                  PO Box 85, Nablus                        Fax: XX-XXXXXXX
                          http://www.pcbs.gov.ps                     Ramallah: Tel. & Fax: XX-XXXXXXX
                          Ein Munjed Quarter, Tokyo St., opp .                                                State Audit and Administrative
                          Ramallah Cultural Palace, PO Box           Palestinian Industrial Estate &          Control Bureau
                          1647, Ramallah                             Free Zone Authority                      Acting Auditor Gen.: Jamal Abu Baker
                          PR Officer: Loay Shehadeh                  Board Chairman: Dr.Hassan Abu Libdeh     Tel.: XX-XXXXXXX/90-93
                          Tel.: XX-XXXXXXX/0599-230118               Dir.-Gen.: Abdel Rahman Ishtayeh         Fax: XX-XXXXXXX
                          Fax: XX-XXXXXXX                            Tel.: XX-XXXXXXX/2989912                 E-mail: facb@facb.gov.ps
                          E-mail: loays@pcbs.gov.ps                  Fax; XX-XXXXXXX                          http://www.saacb.ps
                                                                     E-mail: info@piefza.org                  AI-Nahda St., PO Box 755, Ramallah
                          Field Work Directorates:
                          Gaza: Tel.: XX-XXXXXXX                     http://www.piefza.org
                                 Fax: 08·2829600                     AI-Quds St., besides Nursing College
                          ~ethlehem:                                 Palestine Standards Institution Bldg.,
                                                                     4•h fl., Ramallah                                PA COUNCIL$ &
                          Tel. & Fax: XX-XXXXXXX
                          Khan Younis:                               Gaza:                                             COMMISSIONS
                          Tel. & Fax: XX-XXXXXXX                     Tel.: 08·2801028/29/33
                          Hebron: Tel.: XX-XXXXXXX                   Fax: XX-XXXXXXX
                                                                     Gaza industrial area                     Central Election Commission
                                     Fax: XX-XXXXXXX
                                                                                                              - Palestine
                          Jenin:
                                                                     Palestinian Investment Promo-            Chair: Dr. Hanna Nasir
                          Tel. & Fax: XX-XXXXXXX
                                                                     tion Agency (PIPA)                       Sec. Gen.: Dr. Rami Hamdallah
                          Nablus: Tel.: XX-XXXXXXX
                                                                     Board Chairman: Dr.Hassan Abu Libdeh     Tel.: XX-XXXXXXX
                                    Fax: XX-XXXXXXX
                                                                     Dir.-Gen.: Eng. Ja'far Hdaib             Fax: XX-XXXXXXX
                          Qgjgili@:
                                                                     Tel.: XX-XXXXXXX-2/4                     E-mail: info@elections.ps
                          Tel. & Fax: XX-XXXXXXX
                                                                     Fax: XX-XXXXXXX                          http://www.elections.ps
                          Tulkarem:
                                                                     E-mail: info@pipa.gov. ps                AI-Balou', Qasr AI-Murgan Bldg.,
                          Tel. & Fax: XX-XXXXXXX

                                                                                         lA
                                                                     http://www.pipa.gov~ps
                                                                     Ein Misbah, PO Box         :~-~allah
                                                                                                              Ramallah



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                     Commission of Energy and             Civil Police                           Southern Governorate;
                     Natural Resources                     Head: Brig. Hazem Atallah             Dir.: Sarni Nasman
                     Head: Dr. Omar Kittaneh               Deputy: Brig.-Gen. Jihad Massimi      Tel.: XX-XXXXXXX
                     Tel.: XX-XXXXXXX·3                   Tel. : XX-XXXXXXX                      Fax: XX-XXXXXXX
                     Fax: XX-XXXXXXX                      {,_~ILQir ,_;_ Col. Yousef Shihadeh
                     http://www.menr.org                  Tel.: XX-XXXXXXX-8                     Medical Military Services
                     Zahrit Al·Masayef., Irsal St.,       Asst. of Dir.: Issa Hijjo              Dir.: Dr. Abdel Qader Al·Arbeid
                     PO Box 3591, AI-Bireh                Tel.: XX-XXXXXXX                       Tel.: 08·2826110/9034/9551
                     ~                                    Office Dir.: Laith Zidan               Fax: XX-XXXXXXX
                     Dep. Min.: Yehya Shamieh             Tel .: XX-XXXXXXX-8-                   Ansar Area, Gaza
                     Tel.: 08·2839230/70                  http://palpolice.ps
                     Fax: 08·28392660                     Ramallah                               Military Intelligence
                                                          General Inspector:                     Head: Gen. Nidal Abu Dukhan
                     Higher Council for the Arab Tour-    Tel.: XX-XXXXXXX                       Tel.: XX-XXXXXXX
                     ism Industry                         Central Operations:                    Fax: XX-XXXXXXX
                     .. CIJRRENTLY CLO<;ED ·              Tel.: XX-XXXXXXX                       Ramallah
                     Head: Haidar Husseini                Guards:
                     Tel.: 0505-369395                    Tel.: XX-XXXXXXX                       National Security
                     Exec. Dir.: Abdel Rahman Abu Rabah   Administration Affairs:                Head: Gen. Theab Al-Ali
                     Khaled Ibn Walid St.,                Tel. : XX-XXXXXXX/0599-785785          Tel. & Fax: XX-XXXXXXX
                     PO Box 19850, Jerusalem              Criminal Research Dept.:               Operations Dept.: Tel.: XX-XXXXXXX
                                                          Tel.: XX-XXXXXXX
                     Higher Islamic Council see Index     Drugs Control Ql;Q!;.:                 Presidential Security
                                                          Tel.: XX-XXXXXXX                       Col. Munir AI-Zou'bi
                     Palestine capital Market Authority   Police Security Dept.:                 Tel. : XX-XXXXXXX/2971950
                     Head: 'Abeer Odeh                    Tel.: XX-XXXXXXX                       Fax: XX-XXXXXXX
                     Tel.: XX-XXXXXXX                     Political Guidance to the Police:      Ramallah
                     Fax: XX-XXXXXXX                      Tel. : XX-XXXXXXX
                     E-mail: ad@pcma.ps                   Crossings:                             Preventive Security
                     http://www.pcma.ps                   Tel. : XX-XXXXXXX                      Head. WB: Col. Ziad Hab Ar-Rieh
                     AI-Ma'moun St., PO Box 4041, Al·     Reform & Rehabilitation:               Tel.: XX-XXXXXXX/5/8·9
                     Bireh                                Tel.: XX-XXXXXXX                       Fax: XX-XXXXXXX
                                                          Tourism:                               District Offices:
                     Palestinian Council for Higher       Tel.: XX-XXXXXXX                       ~.tbJ.: Tel.: XX-XXXXXXX
                     Education                            Planning Dept.:                                    Fax: XX-XXXXXXX
                     Minister: Lamis AI-Alami             Tel.: XX-XXXXXXX                       lli:bl.Q!l: Tel. & Fax 02·2226920-21
                     Sec.-Gen.: Dr. Ghazi Abu Sharkh      Judicial Police:                                   Fax: XX-XXXXXXX
                     Tel.: XX-XXXXXXX                     Tel. : XX-XXXXXXX                      Jenin: Tel.: XX-XXXXXXX
                     Fax: XX-XXXXXXX                      Special Police:                        - - Fax: XX-XXXXXXX
                     E-mail: eld.ghazi@yahoo.com          Tei.: XX-XXXXXXX                       Jericho: Tel.& Fax: XX-XXXXXXX/1469
                     http://www.mohe.gov .ps              Information Dept.:                     Jerusalem: Tel.: XX-XXXXXXX
                     Ramallah                             Tel.: XX-XXXXXXX                                        Fax: XX-XXXXXXX
                                                          Traffic·                               lY.i!llli!s: Tel.: XX-XXXXXXX/7225
                     Palestinian Oil Council (POC)        Tel. : XX-XXXXXXX                                    Fax: XX-XXXXXXX
                     Head: Dr. Said Assaf                 Financial Affairs Dept.:               ~ : Tel.: XX-XXXXXXX
                     Tel.: XX-XXXXXXX/ 0599-836430        Tel.: XX-XXXXXXX                                      Fax: XX-XXXXXXX
                     Tel. & Fax: XX-XXXXXXX               Police Coordination:                    Ramallah:Tel.: XX-XXXXXXX-1
                     E-mail: aslrlnstitute@yahoo.com      Tel.: XX-XXXXXXX                       - - -Fax: XX-XXXXXXX
                          or: Prof.said.assaf@gmail.com   Arms:                                  .~ fit; Tel,: XX-XXXXXXX
                     Ramallah                             Tel.: XX-XXXXXXX                                  Fax: XX-XXXXXXX/208
                     Jenin:                               Public Relations:                      Tu.llsare_ru: Tel.: XX-XXXXXXX
                     Tel.: XX-XXXXXXX                     Tel.: XX-XXXXXXX                                       Fax: XX-XXXXXXX
                     Fax: XX-XXXXXXX                      District Police Offices:                lU.Q.il_~: Tel.: XX-XXXXXXX
                     E-mail: asirinstitute@yahoo.com      ~ : Tel.: XX-XXXXXXX/53705                          Fax: XX-XXXXXXX

                     Political Guidance Commission        Hebron: Tel.: XX-XXXXXXX/2226382
                                                                                                 Tourism and Antiquities Police
                     Head: Gen. Adnan Dmairi              Jgrkl:JQ: Tel.: XX-XXXXXXX/2325243     Head: Col. Mid hat AI-Omari
                     Tel.: 02·2987618-20                  ~hfiln: Tel.: 02·2744056/4902          Tel . & Fax: XX-XXXXXXX
                     Fax: XX-XXXXXXX                      ~           : Tel.: XX-XXXXXXX/9153    Bethlehem: XX-XXXXXXX
                     E-mail: watani@palnet.com                                                   Jenin: XX-XXXXXXX
                     Um Sharayet, Ramallah                Jenin: Tel.: 04·2505971/2433339
                                                          Nablus: Tel.: XX-XXXXXXX/40/5662       Jericho: XX-XXXXXXX
                                                          Q.gJ_gfu@;_ Tel.: XX-XXXXXXX/2946001   Nablu,s: XX-XXXXXXX
                          POLICE & SECURITY               Salfit: Tel.: XX-XXXXXXX/2519102       t!~br9_o.: XX-XXXXXXX
                                                          Tulkarem: Tel.: XX-XXXXXXX/20/67       Ramailah; XX-XXXXXXX
                     Border Crossings                     Tubas: Tel.: XX-XXXXXXX/60             Tulkarem: XX-XXXXXXX
                     Dir.-Gen. : Nazmi Mhana                                                     Salfit: XX-XXXXXXX
                     Allenby Bridge:                      General Intelligence Service           T.1!Q,9_S~ XX-XXXXXXX
                     Tel. & Fax: XX-XXXXXXX/1988          Head: Maj .Majed Faraj
                                                                                                 Qa!g[!ya: Tel.: XX-XXXXXXX
                     Erez: Tel.: XX-XXXXXXX               Tel.: XX-XXXXXXX
                     RaJoo: Tel.: 08-21316,95             Fax: 02·2988980/21~926


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                                                                 Governorate Khan Younis
                               LOCAL GOVERNMENT                  Tel.: XX-XXXXXXX/65/75/2933
                                                                                                         MUNICIPALITIES & VILLACE
                                 ADMINISTRATION                  Fax: XX-XXXXXXX                                COUNCILS
                                                                 E-mail : kh-gov@marna .com
                                                                 PO Box 211
                          I       C.OVERNORATES
                                                             I   Governorate Nablus
                                                                 Governor: Jibril AI-Bakri
                                                                                                      Abasan Al-ladida Municipality
                                                                                                      Mayor: Abdul Ra'ouf 'Asfour'
                                                                                                      Tel.: XX-XXXXXXX/ 0599-408049
                           Governorate Bethlehem                                                      Fax: XX-XXXXXXX
                           Governor: Abdul Fattah Hamayel        Tel.: XX-XXXXXXX/1433                E-mail: tarekreida196B@hotmail.com
                           Tel .: XX-XXXXXXX/4995/6              Fax: XX-XXXXXXX/2341526              Gaza
                           Fax: XX-XXXXXXX                       E-mail: govnablus@hally.net
                           E-mail: info@bethlehemgov.ps          PO Box 1564                          Abasan AI-Kabira Municipality
                           http: //www.bethlehemgov.ps/                                               Mayor: Eng. Mustafa Ash-Shawwaf
                           PO Box 1035                           Governorate Qalqilya                 Tel.: XX-XXXXXXX/0599-469666
                                                                 Governor: Rabieh Khandaqji           Fax: XX-XXXXXXX
                           Governorate Gaza                      Tel.; XX-XXXXXXX/1/3010              E-mail: abasankab@yahoo.com
                          (ceased since June 14, 2007)           Fax: XX-XXXXXXX/2943010              Gaza
                          Governor: Mohd. Salem Qudwah           E-mail: khandaqji@gmail.com
                          Tel.: 08·2828694/2828704/14/24         Main St., PO Box 144, Qalqilya       Abu Dis Village Council
                          Fax: XX-XXXXXXX/4700/66007/44055                                            Mayor: Ra'ed AI-Barghouthi
                          E-mail: govrngz@gov.ps                 Governorate Rafah                    Tel.: XX-XXXXXXX/0598-904356
                          http;//www.gaza.gov.ps                 ( ceased since June 14, 2007)        Fax: XX-XXXXXXX
                          Thalathini St., PO Box 1422, Gaza      Gov.:                                PO Box 108, Abu Dis
                                                                 Tel.: XX-XXXXXXX/6870/1/7785
                          Governorate Gaza Middle                Fax: XX-XXXXXXX                      Anabta Municipality (est. 1954)
                          (ceased since June 14, 2007)           E-mail: rafahgov@p-is.com            Mayor: Yaser Barakat
                          Gov.; Dr. Abdallah Abu Samhadanah      PO Box 11, Rafah                     Tel. : XX-XXXXXXX/3401/4460
                          Tel.: 08·2539330/33/2553230.                                                Mobile: 0599-200859
                          Ayman Abu Ataya                        Governorate Ramallah                 Fax: XX-XXXXXXX
                          Tel. & Fax: XX-XXXXXXX/4               Governor: Dr. Laila Ghanam           E-mail: anabtamuni@yahoo.com
                          PO Box 6006, Gaza                      Tel.: 02·2957680/8588/2981045        PO Box 1, Anabta
                                                                 Tel. & Fax: XX-XXXXXXX
                          Governorate Ga:i:a North               http://www.ramgov.org                Aqraba Municipality
                          (ceased since June 14, 2007)           lrsal St., PO Box 665, Ramallah      Mayor: Jawdat Bani Jaber
                          Governor: Ismail Abu Shammalah                                              Tel.: XX-XXXXXXX/0522·451336/
                          Tel.: XX-XXXXXXX·3/                    Governorate Salfit                         0599·549158
                          Fax: XX-XXXXXXX                        Governor: Issam Abu Baker            Fax: XX-XXXXXXX
                          E-mail: northgov2002@hotmail.com       Tel.: XX-XXXXXXX                     E-mail: info@aqrabamunicipality.ps
                                                                 Fax: XX-XXXXXXX                      http:f/www.aqrabamunicipality.ps
                          Governorate Hebron                     Dir. Gen. for Admin. & Finances:     Nablus
                          Governor: Kamel Hemaid                 Mahmoud Saleh
                          Tel.; 02·2290771/0599-205237           Tel.: 0598-503000                    Arrabah Municipality
                          Fax: XX-XXXXXXX                                                             Mayor: Adeeb Al-'Arda
                          E-mail: info@hebron.plo.ps             Governorate Tubas                    Tel. : XX-XXXXXXX/8 / 0599·205478
                          http://www.hebron.plo.ps               Governor: Marwan Toubasi             Tel. & Fax: XX-XXXXXXX/8
                          PO Box 785                             Tel.: XX-XXXXXXX/77                  E-mail: Araba_muni2005@yahoo.com
                                                                 Fax: 09·2571078
                          Governorate Jenin                      Dir. Gen. for Admin. & Finances:     Assira Ash-Shamaliyeh Municip.
                          Governor: Qadoura Mousa                Hussam Daraghmeh                     Mayor: Abd Elkareem Saed
                          Tel,; 04·2503220/21                    Tel.: 0568-500833                    Tel.: 09·2396080/79/0599113911
                          Fax: XX-XXXXXXX                                                             Fax: XX-XXXXXXX
                          Mobile: 0599-205479                    Governorate Tulkarem                 E-mail: info@asira.net
                          E-mail: goj004@yahoo.com               Governor: Talal Dwaikat              http://www.asira.net
                          Jenin_governorate2005@yahoo.com        Tel.: XX-XXXXXXX/3335/8190/26 76
                          Haifa St., Jenin                       Fax: XX-XXXXXXX                      Attara Municipality
                                                                 E-mail: tulkarm-gov@tulkarm-gov.ps   Mayor: Rawhi Aqel
                          Governorate Jericho                    http://www.tulkarm-gov.ps            Tel.: XX-XXXXXXX / 0599-798391
                          Governor: N/ A                                                              Fax: XX-XXXXXXX
                          Acting: Majed Fetiani                                                       E-mail : attara.municipality@yahoo.com
                          Tel.: XX-XXXXXXX/42                                                         http://www.Attara.ps
                          Fax: XX-XXXXXXX
                          E-mail: Jericho.governorate@live.com                                        Attil Municipality
                          http ;//www .jericho.plo.ps                                                 Head: Nash'at Daqa
                          Governorate Jerusalem/ Abu Dis                                              Tel. & Fax: 09·2661120
                          Governor: Adnan Husseini                                                    Tel.: XX-XXXXXXX/0599-996387
                          Mobile: 0505-533668                                                         E-mail: attil@attil.info
                          E-mail: adnanhuss@hotmail.com                                               http://www.Attil.info
                          Dahiet AI-Barid:
                          Tel.: XX-XXXXXXX/9/2347447/8                                                Azzoun Municipality
                          Biddu:                                                                      Mayor: Ahmad Omran
                          Tel.: XX-XXXXXXX                                                            Tel.; XX-XXXXXXX/0598·188444
                          The Old Pqlice Station, Biddu                                               Fax: XX-XXXXXXX
                                                                                                      E-mail: azzoun@yahoo.com


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                          or: azzoun@hotmail.com             Beit lid Municipality                   Betunia Municipality
                     http://www.azzoun-mun.gov.ps/azzoun     Mayor: Salameh AI-Duraidi               Mayor: Arafat Khalaf
                     PO Box 753, Azzoun                      Tel.: XX-XXXXXXX / 0599·311103          Tel. : 02-290075'1/533
                                                             Fax: XX-XXXXXXX                         Mobile: 0598-901379
                     Bala' Municipality                      E-mail : info@mbeitleed.com             Fax : XX-XXXXXXX/534
                     Mayor: Ahmad Mansour                    http://www.mbeitleed.com                E-mail:cesretare@peitunia.ps
                     Tel.: XX-XXXXXXX/0599-475930                                                         or: Administration@petunia.ps
                     Fax: XX-XXXXXXX                         Beit liqya Municipality
                     E-mail: lnfo@balaa.org                  Mayor: Khaled Shalbi                    Biddu Local Council
                          or : Balamunicipality@yahoo .com   Tel.: XX-XXXXXXX                        Head: lsmaiel Qadan
                     http://www.balaa.org/                   Mobile: 0597950090                      Tel. : XX-XXXXXXX
                                                             Fax : 02-248<!627                       Mobile: 0545·277526/0597-525626
                     Baqa Ash-Sharkiyeh Municipality         E·mail :bliqia@yahoo.com                E-mail:Biddu.local@gmail.com
                     Mayor: Mu'aid Hussain                   http://www.beitliqia.net/               http://Biddu.ps
                     Tel.: XX-XXXXXXX/0599-249556
                     Fax: XX-XXXXXXX           ·             Belt Sahour Municip. (est. 1956)        Bidya Municipality
                     E-mail: Baqaalsharqiua@yahoo.com        Mayor: Hani Naji Hayek                  Mayor: Raed Hamdallah
                                                             Tel. : XX-XXXXXXX/7/4111/44007          Tel. : XX-XXXXXXX/0599·202700
                     Belt Anan Municipality                  Fax: XX-XXXXXXX                         Tel. & Fax: XX-XXXXXXX
                     Mayor: Naji Jomhour                     E-mail : bsmuni@p-ol.com                PO Box 1
                     Tel . & Fax: XX-XXXXXXX/0598-366662     http://www.Beitsahourmunicipality.com
                     Fax: XX-XXXXXXX                         PO Box 1, Beit Sahour                   Bir Nabala Local Council
                     E-mail: b.anan_gov@yahoo.com                                                    Head: Tawfiq Nabali
                                                             Seit Ula Municipality                   Tel.: XX-XXXXXXX/0599·997355
                     Beit 'Awa Village Council               Mayor: Siliman AI-A'dam                 Tel. & Fax: 02-2441"31
                     Mayor: Rashid Awaad                     Tel .: XX-XXXXXXX/0599-258100           Bir Nabala
                     Tel.: XX-XXXXXXX                        Tel. & Fax : XX-XXXXXXX
                     Fax: XX-XXXXXXX                         E-mail : beitulamncpity@yahoo.com       Al·Sireh Municipality (est. 1950)
                     PO Box 2060, Beit Awa                                                           Mayor: Jamal Al-Tawil
                                                             Beit Umar Municipality                  Vice Mayor: Hassan Al-Sheikh Qassem
                     Beit Fajjar Municipality                Mayor: Nasri Sabarneh                   Tel. : 02-2406'145
                                                             Tel. : XX-XXXXXXX/035/0599-710511       Fax: XX-XXXXXXX
                     Mayor: Kamel Hammash
                                                             Fax: XX-XXXXXXX                         E-mail: info@al-bireh.org
                     Tel.: XX-XXXXXXX/0599-8749070
                                                             E-mail: Beitommar@Hebronet.ps
                     Fax: XX-XXXXXXX                                                                 http ://www.al-bireh.org
                                                             http://www.beitommar.ps
                     E-mail: Fajjar2006@yahoo.com                                                    PO Box 6506, Al·Bireh
                                                             Beni Nairn Municipality
                     Beit Furik Municipality                                                         Blrzelt Municipality (est. 1925)
                                                             Mayor: Radwan Manasrah
                     Mayor: A'tef Afif Hanania                                                       Mayor: Dr. Yousef Naser
                                                             Tel.: XX-XXXXXXX/0599-259905
                     Tel.: XX-XXXXXXX-2/ 0598-930678                                                 Tel. : XX-XXXXXXX/837/0599-28514 0
                                                             Tel. & Fax: 02·2229157
                     Tel. & Fax: XX-XXXXXXX                                                          Fax: 02-2811 '177
                                                             E-mall: Bni_naim_mun@yahoo.com
                     E-mail: info@beitfoureek.com
                                                             http://www.Baninaim.ps
                                                                                                     PO Box 26, Birzeit
                                                                                                     E-mail: Bz-muni@yahoo.com
                     Beit Hanoun Municipality                Beni Suheila Municipality                     or: Bz muni@hotmail.com
                     Mayor: Mohammed Kafarneh                                                        Birzeit     -
                                                             Mayor: Abdul Qader AI-Ruqab
                     Tel.: XX-XXXXXXX/2/3/0599-668582        Tel.: XX-XXXXXXX/2890/0599-413440
                     Tel. & Fax: XX-XXXXXXX/14               Fax: XX-XXXXXXX                         Bitta Municipality
                     E-mail: lnfo@beithanoun.ps              E-mail:Suhaila 2001@hotmail.com         Mayor: Fayez Hamayel
                     http://www.beithanoun.ps                     or: info@Banisuhaila.org           Tel. : XX-XXXXXXX/8711/0598-060604
                                                             http://www.banisuhaila.org              Fax: XX-XXXXXXX
                     Seit Iksa Village Council                                                       http://beita.ps/
                     Act. Mayor: Omar Hamdan                 Bent 2:eid AI-Gharbiyeh Municip.
                     Tel. : XX-XXXXXXX/ 0546-446914          Mayor: Fathiyah Rhaymah                 AI-Breij Municipality
                     Fax: XX-XXXXXXX                         Tel.: XX-XXXXXXX/0/0599-878250          Act. Mayor: Mohammed Saleh Taha
                     Beit Iksa                               Fax: XX-XXXXXXX                         Tel. : XX-XXXXXXX
                                                             E-mail : wbzm@p-ol.com                  Tel. & Fax: XX-XXXXXXX
                     Beit Jala Municipality (est. 1912)      PO Box 1935, Beni Zeid AI-Gharbiyeh     E-mail: Buraij@gmail.com
                     Mayor: Raji Zeidan
                     Manager: Eng. Nadim Sim'an              Beni 2:eid Ash-Sharqiyeh Munici·        Budrus
                     Tel. : XX-XXXXXXX/2601/2742601          pality                                  Dir.: Mohammad Murar
                     Fax : XX-XXXXXXX                        Mayor: Abdul Rahman AI-Nobani           Tel .: XX-XXXXXXX/0545·562057/
                     E-mail: info@beitjala-city.org          Tel. : 02· 2806501/ 0599-255401                0598-917841
                            or: Beitjala@p-ol.com            Fax: XX-XXXXXXX                         E-mail: Free_bodros_mm@yahoo.com
                     http://www.beitjala.ps                  E-mail : Tayseer3000@hotmail.com        http://www.natoof.org
                     PO Box 1, Beit Jala
                                                             Bethlehem Municipality                  Burqeen Municipality
                     Beit Lahia Municipality                 Mayor: Dr. Victor Batarseh              Dir. : Noor Edeen Khalaf
                     Mayor: Izz Al-Dean AI-Dahnoun           Tel.: XX-XXXXXXX-5/2741670              Tel. : M-2505137-8 / 0599-208359
                     Tel. : XX-XXXXXXX/752/0599-181719       Mobile: 0599-258711                     Fax : XX-XXXXXXX/8
                     Fax: XX-XXXXXXX                         Fax: XX-XXXXXXX                         PO Box 'l 14 Burqeen, Jenin
                     E-mail : baitlahia@hotmail .com         E-mail: info@bethlehem-city.org         E-mail: Berqeen_munic@yahoo.com
                     http://www.bietlahia.mun .ps                                                    http://www.burqen.ps/
                                                                                   1. . .
                                                             http://www.bethlehem-city.org
                     Beit Lahia
                                                             PO Box 48, Bethlchf


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                          Deir AI-Balah Municipality                   Hebron Municipality                           [Jerusalem Israeli Mu-
                          Mayor: Said Ahmad Nassar                    Mayor: Khaled Esseleh                          nicipality (West) (est. 1949)
                          Tel.: XX-XXXXXXX/26/1154                    Tel.: XX-XXXXXXX/2/0599-211211                 Mayor: Nir Barkat
                          Mobile: 0598992999                          Fax : XX-XXXXXXX                               Tel.: XX-XXXXXXX/7777/6666
                          Fax: XX-XXXXXXX/4 .                         E-mail: Hebron@hebron-city.com                 Fax: XX-XXXXXXX
                          E-mail: info@modb.ps                        http://Hebron-city.ps                          http://www.jerusalem.muni.il]
                          PO Box 1, Deir AI-Balah                     PO Box 6, Hebron
                                                                                                                  Jma'een Municipality
                          Deir Balout Municipality                    Huwarah Municipality                        Mayor: Rasim Daraghmeh
                          Mayor: Ahmad Yousef                         Mayor: Samer Odeh                           Tel.: 09·2596001/401/0598·060660
                          Tel.: XX-XXXXXXX/5939/0599-728155           Tel. : XX-XXXXXXX / 0599-675866             Fax: XX-XXXXXXX/2596401
                          Fax: XX-XXXXXXX/5939                        Fax: 09-25.90460                            E-mail: Jammaien2005@yahoo.com
                          E-mail: dairbal_nun@yahoo.com               E-mail: howwara2006@yahoo.com               http://www.jammain-mun.org.ps
                          http://www.deirballout.com
                                                                      Illar Municipality                          Jinnata Municipality
                          Deir Dibwan Municipality                    Mayor: Sufian Shadid                        Mayor: Majed Asakrah
                          Mayor: Wajeh Abdel-Karim Ahmad              Tel.: XX-XXXXXXX/967/ 0599-377566           Tel. &: XX-XXXXXXX
                          Tel.: 02·2896420/6320/0545-735991           Fax: XX-XXXXXXX/967                         Mobile: 0598-932089
                          Fax: XX-XXXXXXX                             E-mail: ellar.municipal@yahoo.com           E-mail: Jinnatamun_2007@yahoo.com
                          E-mail:Deirdibwan_mun@yahoo.com             http://www.ellar.ps
                                                                                                                  AI-Khadr Municipality
                          Deir AI-Ghosun Municipality                 Ithna Municipality                          Mayor: Ramzi Salah
                          Mayor: Nasooh Mohd Badran                   Mayor: Jamal Ali Tmeizi                     Tel.: XX-XXXXXXX/ 0599-524170
                          Tel.: XX-XXXXXXX/0599-490112                Tel.: XX-XXXXXXX/2256127 res.               Fax: XX-XXXXXXX
                          Fax: XX-XXXXXXX                             Mobile: 0599-200606                         E-mail: al_khadermuni@yahoo.com
                                                                      Fax: XX-XXXXXXX                             http://al_khader.org
                          Deir Istia Municipality                     E-mail: info@idnamuni.org                   PO Box 507
                          Mayor: Nazmi Salman                         http://www.idnamuni.org
                          Tel.: XX-XXXXXXX/5/0599· 788273             PO Box 3513                                 Khan Younis Municipality
                          Fax: XX-XXXXXXX                                                                         Mayor: Mohammed Al-Farah
                          E-mail: deiristiamunicipality@hotmail.com   AI-Izzariyya Local Council                  Tel.: XX-XXXXXXX/2066770/1033
                                                                      Head: Issam Far'oun                         Fax: XX-XXXXXXX
                          Ad-Doha Municipality                        Tel.: XX-XXXXXXX/0599-255707                E-mail: info@khanyounis.org
                          Mayor: Sarni Marwa                          Fax: XX-XXXXXXX                             http://www.khanyounis.org
                          Tel.: XX-XXXXXXX/45375                      E-mail: aizariacouncil@yahoo.com
                          Fax: XX-XXXXXXX                                                                         Khuza'a Municipality
                          E-mail: Dohacity2005@yahoo.com              Jaba' Municipality                          Mayor: Kamal Al-Najjar
                                                                      Mayor: Ziad Alawneh                         Tel.: XX-XXXXXXX/4488 /0599-408354
                          Dura Municipality (est. 1967)               Tel.: 04·2450222/0599-948831                Fax: XX-XXXXXXX/4488
                          Mayor: Mustafa AI-Rjoub                     Fax: XX-XXXXXXX                             E-mail: khuza3a@hotmail.com
                          Tel.: XX-XXXXXXX/555/360                    E-mail: Jaba222m@yahoo.com
                          Mobile: 0599-671539                                                                     Kifl Haris Municipality
                          Fax: XX-XXXXXXX                             Jabalya An-Nazaleh Municip.                 Mayor: Ahmad Buziyeh
                          E-mail : Dura67@yahoo.com                   Mayor: Issam Judeh                          Tel.: 09·2513840/731 / 0599-259820
                                                                      Tel.: XX-XXXXXXX/7121/9335                  Fax: XX-XXXXXXX/731
                          Gaza City Municipality                      Fax: XX-XXXXXXX                             E-mail: kefelharesmunicipality@gmail.com
                          ( ceased since June 14, 2007)               E-mail: jmun@palnet.com
                          Mayor: Rafeq Mecci                                                                      Kufr Deik Munlcipality
                          Tel.: XX-XXXXXXX/4700/8775/44055/           Jayous Municipality                         Mayor: Jamal AI-Deik
                                 28266670/004-7/0080                  Mayor: Muhammed Taher Jahr                  Tel.: 09·2511444/739/0599-437305
                          Mobile: 0599-815650                         Tel.: 09·2900033/0599·886861                Fax: 09·2511444/2511739
                          Fax: XX-XXXXXXX                             Fax: XX-XXXXXXX                             E-mail: aideeek3@hotmail.com
                          E-mail: info@mogaza.org                     E-mail: baladietjayw@yahoo.com
                               or: gm@mogaza.org                                                                  Kufr Jammal Local Council
                          http://www.mogaza.org/                      Jenin Municipality (est. 1890)              Head: Abdel Rahman Shakir
                          PO Box 16, Gaza City                        Mayor: Ali Nabhan                           Tel.: XX-XXXXXXX/0599387693
                                                                      Tel.: XX-XXXXXXX
                          Hableh Municipality                         Fax: XX-XXXXXXX                             Kufr Rai' Municipality
                          Mayor: Mohammed Odeh                        PO Box 13, Jenin                            Mayor: Ahmad Rasheed Melhem
                          Tel.: XX-XXXXXXX/0598-909088                                                            Tel.: XX-XXXXXXX/030/0599-305270
                          Fax: XX-XXXXXXX                             Jericho Municipality (est. 1950)            Fax: XX-XXXXXXX
                          E-mail: hablamunc@hotmail.com               Mayor: Hassan Saleh                         E-mail: kufrraimun@yahoo.com
                          http://www.hablah.ps                        Tel.: XX-XXXXXXX-8
                                                                                                                  http://www.kufrrai.ps
                                                                      Fax: XX-XXXXXXX
                          Halhoul Municipality (est. 1965)            E-mail: info@jericho-city.org
                                                                                                                  Kufr Sur Village Council
                          Mayor: Dr. Ziad Rajab Abu Yousef            http://www.jericho-city.org
                                                                                                                  Head: !mad Zibdeh
                                                                      PO Box 15
                          Tel.: XX-XXXXXXX/8167/0599·678077                                                       Tel.: XX-XXXXXXX/666/0599-207662
                          Secretary: Abdel Hafez Karajeh                                                          Fax: XX-XXXXXXX/666
                                                                      Jerusalem Arab Municipality (est.
                          Tel. : 0599-200619
                                                                      1863; dissolved by Israel in 1967)
                          Fax: XX-XXXXXXX                                                                         Kufr Thulth Municipality
                                                                      Mayor: .............................. ..
                          E-mail: halhu1_2005@yahoo.com                                                           Mayor: Hussein Saifi
                                                                      Tel.: 02- ............................ ..
                          http://www.halhul-city.com                                                              Tel.: XX-XXXXXXX/1339/0599-222445
                          PO Box 47, Halhoul                          Fax: 02-............ ..........J~·... ..
                                                                                                )£"
                                                                      PO Box ................. ....
                                                                                                                  Fax: XX-XXXXXXX


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                      E-mail : kt.ml997@hotmail.com           Fax: XX-XXXXXXX                     Fax : XX-XXXXXXX
                      http://www.kthulth.org                  E-mail: Qabatia2005@yahoo.com       E-mail: info@samou.ps
                                                              http://www.Qabatia .com             http;//www .samou.ps
                      Kufr Zebad Village Council
                      Head: Farouq Ghanayem                   Qafin Municipality                  As-Sawahreh Ash-Sharqiyeh
                      Tel. & Fax: XX-XXXXXXX/0599-700605      Mayor: Omar Khalil Ammar            Local Council
                                                              Tel.: XX-XXXXXXX                    Mayor: ZuhdiShaheen
                      AI-Maghazi Municipality                 Fax: XX-XXXXXXX                     Tel.: XX-XXXXXXX/0547-291263
                      Mayor: Mohammed Al-Najjar               E-mail: qaffintown@yahoo.com        Fax: XX-XXXXXXX
                      Tel.: XX-XXXXXXX/0121/0599-604511       http://www.qaffin.com               E-mail: lcsawahre@yahoo.com
                      Fax: XX-XXXXXXX                                                             http://www.sawahra-lc.com
                      E-mail: Magha2irnunidpality@yahoo.com   Qalqilya Municipality (est. 1956)   PO Box 51573
                                                              Contact: Sameir Dawabsheh
                      Maithaloun Municipality                 Tel.: XX-XXXXXXX/0014/0313          Sebastia Municipality
                      Mayor: Fawaz Ine'erat                   Fax: XX-XXXXXXX                     Mayor: Kamelia Soukkr
                      Tel.: XX-XXXXXXX/0598-903070            E-mail: qmuni@hotmail.com           Tel. : XX-XXXXXXX/0599-7505007
                      Fax : XX-XXXXXXX                        http://www.qalqilya.com             Fax: XX-XXXXXXX
                      E-mail: Maithalun@yahoo.com             PO Box 2, Qalqliya                  PO Box 1898, Sebastia
                                                                                                  E-mail: info@sabastiya.org.ps
                      AI-Mazra'a Ash-Shirqiyeh Munic.         AI-Qarrara Municipality             http://www.sabastiya.org .ps
                      Mayor: Marzouq Ash-Shalabi              Mayor: Abdul Rahim Al-Abdullah
                      Tel.: XX-XXXXXXX                        Tel.: XX-XXXXXXX                    As-Sileh AI-Harithiyeh Municip,
                      Fax: XX-XXXXXXX                         Fax: XX-XXXXXXX/0599·405570         Mayor: Isam Eabede
                      E-mail: J4baladi@yahoo.com              E-mail: Qararamu@yahoo.com          Tel,: 04·2449176/177/0599-260004
                      http://www.4baladi.com                                                      Fax: XX-XXXXXXX
                                                              Qattaneh Village Council            E-mail: jenen_20022002@yahoo.com
                      Nablus Municipality (est. 1890)         Head: Hasan Ali Abu Zaydeh               or: s.elharthia_mun@yahoo.com
                      Mayor: Eng. Adli Yaish                  Tel.: XX-XXXXXXX/0547316826
                      Tel. : XX-XXXXXXX/2386271/3077          Fax: XX-XXXXXXX                     As-Silet Ath-Thahr Municipality
                      Fax: XX-XXXXXXX                         E-mail: qb_1997@yahoo.com           Mayor: Abdel Lateef Ghanim
                      E-mail: nablus@nablus.org               http://www.Qatanna.ps               Tel.: XX-XXXXXXX/0599835232
                      http://www.nablus.org                                                       Fax: 04·2505997
                      PO Box 218, Nablus                      Rafah Municipality                  E-mail: info@sela.ps
                                                              Mayor: Issa AI-Nashar                    or: webmaster@sela.ps
                      Na'len Municipality                     Tel.: XX-XXXXXXX/725/075                 or: selamun2008@yahoo .com
                      Mayor: Ayman Nafea'                     Mobile: 0599-815100
                      Tel. & Fax: XX-XXXXXXX                  Fax: XX-XXXXXXX
                                                                                                  Ash-Sheikh Sa'ed Village Council
                      Fax: 02-24812222/0598-920002                                                Head: Ibrahim Zaatreh
                                                              E-mail: rbaladya@hotmail.com
                      PO Box 2242, Na'len                                                         Tel. & Fax: XX-XXXXXXX/0522-670163
                      E-mail: Nileen_mun@yahoo.com
                                                              Ar-Ram local Council
                                                                                                  Silwad Municipality
                                                              Head: Sarhan As-Salaymeh
                      Nue'meh & Dyouk Local Council                                               Mayor: Na'el Hamed
                                                              Tel.: XX-XXXXXXX/8808/9582
                      Head: Ghaleb A'watleh                                                       Tel.: XX-XXXXXXX/04/ 0599-872244
                                                              Mobile: 0546-883880
                      Tel. & Fax: XX-XXXXXXX/                                                     Fax: XX-XXXXXXX
                                                              Fax: XX-XXXXXXX
                      Mobile: 0522-043476/0569-043476                                             E-mail: silwad_mu@yahoo.com
                                                              E-mail: Ram_council@yahoo.co.uk
                      E-mail: ghaleb_2007@yahoo.com
                                                                                                  Sinjel Municipality
                                                              Ramallah Municipality (est. 1907)
                      Nusseirat Municipality                                                      Mayor: !mad Masalmah
                                                              Mayor: Janet Michael
                     Mayor: Mohammed Abu-Eshkayat                                                 Tel.: XX-XXXXXXX/ 0599-674409
                                                              Tel.: XX-XXXXXXX-9                  Fax: XX-XXXXXXX
                     Tel.: XX-XXXXXXX/1553/7911
                                                              Fax: XX-XXXXXXX
                     Fax: XX-XXXXXXX
                                                              E-mail: info@ramallah.ps            Sourif Municipality
                      Al·Obeidiyeh Municipality                     or: centennial@ramallah.ps    Mayor:Mousa Al-Sha er
                     Mayor: 5eliman Abu-Asa                   http://www.ramallah.ps              Tel.: XX-XXXXXXX/0599-256005
                     Tel.: XX-XXXXXXX/0598-880406             PO Box 3, Ramallah                  Fax: XX-XXXXXXX
                     Fax: XX-XXXXXXX                                                              E-mail: sourif2@yahoo.com
                     E-mail: 5_a1assa@yahoo.com               Sa'ir Municipality
                                                              Mayor: Sulaiman Ash-Shalaldeh       Tammoun Municipality
                      Al-Oja Local Council                    Tel.: XX-XXXXXXX/0599-257370        Mayor: Jamal Sa ed Bni Odah
                      Head: Sulayman Issa Romanen             Fax: XX-XXXXXXX                     Tel.: XX-XXXXXXX/0597364422
                      Tel.: XX-XXXXXXX                        E-mail: sier@palnet.com             Fax: XX-XXXXXXX
                      Fax: XX-XXXXXXX                         http://www.Siermunic.org            E-mail: mskq_2007@hotmail.com

                      Qabalan Municipality                    Salfit Municipality (est. 1955)     Taqoua' Municipality
                     Mayor: Yusif As idi                      Mayor: Tahsin Abu Sleimi            Mayor: Hatem Sabah
                     Tel. : XX-XXXXXXX/0599-338329            Tel. : XX-XXXXXXX/933/04/9049/704   Tel. & Fax: XX-XXXXXXX
                     Fax: XX-XXXXXXX                          Fax : XX-XXXXXXX                    Mobile: 0599-831969/0598-574303
                     E-mail: info@Qabalan.org                 PO Box 4, Salfit                    E-mail:tuqu_municipality@yahoo.com
                     http://www.Qabalan.org                   E-mail: Salfeet@salfeet.org
                                                              http://www.salfeet.org              Tarqoumya Municipality
                      Qabatiya Municipality (est. 1975)                                           Mayor: Mohammed AI-Ja'freh
                      Mayor: Dr.lssam Nazzal                  As-Samoua' Municipality             Tel.: XX-XXXXXXX/0599-295029
                      Tel.: XX-XXXXXXX/25662/01036            Mayor: Abdel Nabi AI-Hawamda        Fax: XX-XXXXXXX
                      Mobile: 0599-675330                     Tel.: XX-XXXXXXX/½1~~~9200560       E-mail: info@tarqumia.city.org


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                          Taybeh Municipality                         Az-Zaweideh Municipality                  Bethleb.em: Tel.: XX-XXXXXXX
                          Mayor: Daoud Khoury                         Mayor: Hasan Mezied                       Hebron: Tel.: XX-XXXXXXX
                          Tel.: XX-XXXXXXX/0599-316252                Tel.: XX-XXXXXXX/0598-270207              Jericho: XX-XXXXXXX
                          Fax: XX-XXXXXXX                             Fax: XX-XXXXXXX                           Nablus: Tel.: XX-XXXXXXX
                          E-mail: taybeh@mlg.gov.ps                   E-mail: Hassan_mezyed@hotmail.com
                          http://www. taybehmunicipality .org                                                   FATEH - Palestinian National
                                                                      Az-Zawiyeh Municipality                   Liberation Movement
                          Thahriyeh Municipality                      Mayor: Khader Hamoudeh                    Chairman: HE Mahmoud Abbas (Abu
                          Mayor: Sarni Shnaiwer                       Tel.: XX-XXXXXXX/531/0599-050663          Mazen)
                          Tel.: XX-XXXXXXX/048/0599-292563            Fax: XX-XXXXXXX                           Tel.: XX-XXXXXXX/81370-5
                          Fax: XX-XXXXXXX                             E-mail: alzawya_municipality@yahoo.com    Fax: XX-XXXXXXX
                          E-mail: hsbs76@hotmail.com                       or: Abu_alassal@yahoo.com            Gen. Sec.: Mohammed Ghneim
                          PO Box 51, Tha hriyeh                       http://www.al_zawyah.com                  Tel.: 059-7775530
                                                                                                                Fax: XX-XXXXXXX
                          Tubas Municipality                          Az-Zaytouna Municipality                  Dep. Gen. Sec.: Jibril Rajoub
                          Mayor: 'lqab Daraghmah                      (Mazra' AI-Qibliyeh & Abu Shkheidem)      Tel.: XX-XXXXXXX/9/ 0599-289000
                          Tel.: XX-XXXXXXX/0599-255316                Mayor: Said Shreiteh                      Fax: XX-XXXXXXX
                          Fax: XX-XXXXXXX/XX-XXXXXXX                  Tel.: XX-XXXXXXX/0599-433829              E-mail: j.rajoub2009@gmail.com
                          E-mail: toubas@hally.net                    Fax: XX-XXXXXXX                           - Official Spokesman:
                               or: Mayor.pu.okab@gmail.com            http://www.alzeitona-mun.org                Ahmad Abdel Rahman
                                                                                                                  Tel.: 02·2959928
                          Tulkarem Municip. (est. 1886)                                                         (?ee o;qanizational de/ai/s.befOVl!,,PJ.51JiJ.
                          Mayor: lyad Abdel Karim AI-Jallad
                          Tel.: XX-XXXXXXX/672/1015/1160/94                                                     HAMAS - Islamic Resistance
                          Fax: XX-XXXXXXX
                          E-mail: mayor@tulkarm-muncipality.org
                                                                          POL:ITICAL PARTIES              ·J'   Movement
                                                                                                                Repr.: Sheikh Hassan Yousef
                          PO Box 9, Tulkarem                      ·            AND FACTIONS                     ( currently imprisoned by Israel)

                          Turmus Aya Municipality
                                                                  '   -    .   . . . . - - ---· --~             Tel.: XX-XXXXXXX

                          Mayor: Mohammad Ibrahim                                                               Islamic Jihad Palestine
                          Tel.: XX-XXXXXXX/0599-097322                    HIGHER COMMITTEE OF                   Repr.: Abdul Al-Hakim Masalmah
                          Fax: XX-XXXXXXX                                  NATIONAL & ULAMIC                    Sa'id Nakhlah

                          Ya'abad Municipality                                  FORCES
                                                                                                                AI-Mubadara see Palestinian
                          Mayor: Walid Al-'Abadi                                                                National Initiative below
                          Tel.: XX-XXXXXXX/053/0599-673795            Arab Liberation Front
                          Fax: XX-XXXXXXX                             Gen.-Sec.: Rakad Salem                    Palestine Arab Front
                          E-mail: yabadmunicipal@yahoo.com            Tel.: XX-XXXXXXX/0599-782747              Rep: Mineh Nadie
                          http://www.yabad.ps                         Tel. & Fax: XX-XXXXXXX                    Tel.: XX-XXXXXXX/0599-794314
                                                                      - Ratib Al-'Imlah
                          Yamoun Municipality                           Mobile: 0599-401908                     Palestine Democratic Union -FIDA
                          Mayor: !mad Abahreh                         Bethlehem: Tel. & Fax: XX-XXXXXXX         Gen.-Sec.: Saleh Ra'fat
                          Tel.: XX-XXXXXXX/565/0599-706048            Gaza: Tel.: 08-28834 66                   Tel.: XX-XXXXXXX/0599-205972
                          Fax: XX-XXXXXXX                             Hebron: XX-XXXXXXX/0599-255171            Fax: XX-XXXXXXX
                          E-mail: emadr1978@yahoo.com                 Jenin: Tel.: XX-XXXXXXX                   E-mail: info@fida.ps
                                                                      Tulkarem: Tel. & Fax: XX-XXXXXXX                or: fida@palnet.com
                          Yatta Municipality (est. 1971)
                                                                                                                http://www.fida.ps
                          Mayor: Zahran Abu Qbetah                    Democratic Front for the Libera-          PO Box 247, Ramallah
                          Tel.: XX-XXXXXXX/394                        tion of Palestine (DFLP)                  Bethlehem: Tel. & Fax: XX-XXXXXXX
                          Fax: XX-XXXXXXX                             Gen. -Sec.: Nayef Hawatmeh                Gaza: Tel.: XX-XXXXXXX
                          E-mail: zahran.Abuqbita@yahoo.com           Qais Abdul Karim (Abu Leila), mem-        - -· Fax: XX-XXXXXXX
                               or: info@yatta-munc.org                ber of the Politburo:                     Hebron: Tel.: XX-XXXXXXX
                          http://www.yatta-munc.org                   Tel.: XX-XXXXXXX                          Jabalia: Tel.: XX-XXXXXXX
                                                                      Fax: 02:2980401                           Jenin: Tel.: XX-XXXXXXX
                          Az-Zababdeh Municipality                    E-mail: df_lp@yahoo.com                   Jericho: Tel.: XX-XXXXXXX
                          Mayor: Victor ls'eid                        http://www.dfip-palestine.org             i<iiaii"Younis: Tel.: XX-XXXXXXX
                          Tel.: XX-XXXXXXX-4/0599-789084              http://www.alhourriah.org                 Nablus: Tel.: XX-XXXXXXX
                          Fax: XX-XXXXXXX
                          E-mail: baladiyat_za babdeh@yahoo.com       Politburo members:                        Oalqilya: Tel.: XX-XXXXXXX
                          PO Box 8, Az-Zababdeh                       Majida Al-Masri / Politburo               Rafah: Tel.: XX-XXXXXXX
                                                                       Tel. & Fax: XX-XXXXXXX                   Salfit: Tel.: XX-XXXXXXX
                          Az-Zai'm Village Council                     Hisham Abu Ghosh / Politburo             Tubas: Tel.: XX-XXXXXXX
                          Mayor: Mahmoud Sbeih (Abu Hussam)            Tel. & Fax: XX-XXXXXXX                   Tulkarem; Tel.: XX-XXXXXXX
                          Tel.: XX-XXXXXXX/0505-292113                 E-mail: habughosh@gmail.com
                          Fax: XX-XXXXXXX                                                                       Palestinian Liberation Front (PLF)
                                                                      The Central Publication:
                                                                                                                West Bank:
                                                                      Tel. & Fax: XX-XXXXXXX
                          Za'tarah Municipality                                                                 Gen.-Sec.: Dr. Wasel Abu Yousef
                                                                      E-mail: dAp_media@yahoo.com
                          Mayor: Khaled Ahmad Abu Omryeh                                                        Tel.: XX-XXXXXXX
                                                                      Gaza:
                          Tel.: XX-XXXXXXX/297/0599-450000                                                      Fax: XX-XXXXXXX
                                                                      Tel.: XX-XXXXXXX
                          Fax: XX-XXXXXXX                                                                       Ramallah:
                                                                      Fax: XX-XXXXXXX
                          E-mail: b_zatara2005@yahoo.com                                                        Tel.: XX-XXXXXXX/0599-420601
                                                                      Ramallah:
                                                                                                                Fax: XX-XXXXXXX
                                                                      Tel.: XX-XXXXXXX
                                                                                                                E-mail: plfl977@yahoo.com
                                                                      Tel. & Fax: 02-295113:i     ...,.

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                  , , ~ o,A'I"   , i, 'l'V'\     ,'l'v,,AA                           . /i     • +~_)            *iii I i"I .J J.h_;.:;.                ~.l.JI 4-..6 ~I              i

                  ,,Vt,,A        ,r, Hi          , H,VAA                             . /i     • +~.)            *iii\ f'\ .J J..b y:.                  ~.l.JI J..b~I                i

                  , ,Vt,,A       ,r,, n          , H,VAA                             . /i     • +~_)            *iii\ I"\_) 4-..6 y:.                  ~.l.JI J..b~\                0



                  , ,Vf.,,A      ,r,, n          Hf,VAA                              . /i     • +~_)            *iii\ f'\_) 4-..l:.y:;.                ~.l.JI 4-..6 ~\              '\

                  , ,Vt,,A       ,r, Hi          ,n,VAA                              . /i     . +~_)            *iii I I" I.J J.h _;.:;.               ~.l.Jl 4-..b~\               V

                  , ,Vt,,A       ,r,,n           ,n,VAA                              . /l     • +~_)            *iii I I" I.J J.h _;.:;.               ~.l.JI 4-..b ~I              A

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                  , ,Vt,,A       ,r,,n           , 'l' £,VAA                         . ti     • +~.)            *iii\ rl.J J..b y:.                    ½-i.lA!I J..b ~I            '.
                  , ,Vt,,A       ,r,, n          Hi,VAA                              • /i     • +~.)            *iii I i"I .J J.h y:.                  ½-i.lA!I J..b ~\

                  , ,Vf:,,A      ,r,' n          , H,VAA                             • /!     • +~.)            *iiil f'I.J J..by:.                    ½-i.lA!I J..b ~I
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                 \ ,VA,Q,,V           ,r,n         ) ,i, • 0                               /i     ' + Y:!!.J   *..l:i\ f'I .J ;i_b y:.             ~.l.<..11 ~ _;-;JI            0



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                 \•VA, Q,, V          ,r,n         Hi,,O                                   /i     ' + Y:!!.J   *..l:il f'I .J ;i_b _y:;            ~.l.J I ;i..b y;J I           V

                 \ ,VA,Q,,V           ,r,n         Hi,,O                                   /i                  *..l:il f'I .J ;i..b _y:;           ~.i....11 ;i..b _;-;JI
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                 \,VA,Q,,V            ,r,n         Hi,, o                                  /i     '   +~.J     *..l:il f'I.J~~                     ~.i....11 ;i..b _;-;JI        C\
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                 \,VA,'W             .,,,n         ) , i,, o                               /i     '   +~.J     *..iii f'I.J ~~                     ~.i....11 ;i..b _y:;JI
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                 \ ,VA,Q,,V           ,r,n         ) , i,, o                               /I                  *..iii f'I.J ;i_b~                  ~.i....11 ;i..b _y:;JI

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                                           1998/01/14             249/3    .,-'I~ 1998/01/01          t..A!..f' JI 1995/12/01             1$~,Y

                                           2001/02/21          1914/3      .,-'I~ 2001/01/01          ½-J; JI 1998/01/01                  t..A!.f' ,y

                                           2004/07/01          4861/3 y'J\i_ 2004/01/01          J.,,~., JI 2001/01/01                     ....,,J..) ,y

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             Palestinian National Authority                                                                                                                               .. ..                     ..
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              Ministry of Detainees Affairs


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     19/05/2004                           w                       fa                    ~              994466860                       '-J.JfJlrl.;                                            446455                     u.L.ll~.;
                                          u.,il.                                                               .)fa~                       ~                                yll.                         .i.....l                t""''i\

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              36079             y""""-ll ~.;                                                        .ti r'.;    t.;ill                                 J....,.••n., ;.)~ ~~1                                   4                 .!1.,.il
     01/12/2004                           .,~                          01/07/2002 J~'l/1..,,1~                                                     0        c=.1.;ih.J                                         0          ~

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     628134                    9030                ,.,-u~I~             999566425                          ,;,.fa ..>l <l, ~Y' ~                                 0                    0            1000                    3            2004
     628134                    9030                <r-.;..JI~           999566425                          ,.;fa..>! <l, ~->" ~                                  0                    0            1000                    2            2004
     628134                    9030                <,p.;..JI ~          999566425                          _;fa .)l <\..I. ~Y' ~.lt.                             0                    0            1000                                 2004
     628134                    9030                <r-.;..JI~\          999566425                          .;._,;:..)/ <l, ~ Y ' ~                               0                    0              900                  12            2003
     628134                    9030                <.,!.;..ll ~\        999566425                          ,.;fa .)l <l, ~.r ~                                   0                    0              900                  11            2003
     628134                    9030                <r-.;..JI ~I         999566425                          .;._y::. ..>! <l, ~->" ~                              0                    0               900                 10            2003
     628134                    9030                <,p.;..ll .tli;ll    999566425                          .)fa JJ 4 ~.r ~                                       0                    0              900                   9            2003
     628134                    9030                <.rlyJI~\            999566425                          .;._,;:. .)l   4 ~->" ~                               0                    0              900                    8           2003
     628134                    9030                <r-.;..JI ~I         999566425                          ,.;JC- .)l <\..I. ~ .r ~                              0                    0               900                   7           2003
     628134                    9030                <r-.;..ll ~\   999566425                                ,.;JC- .)l 4 ~->" ~                                   0                    0               900                   6           2003
     628134                    9030                ..,-i.;..ll ~\ 999566425                                .)_,i:-.)1 4       .,....:,.:;y, ¼.14                 0                    0               900                   5           2003
     628134                    9030                <r-yJI .tli;ll       999566425                          .;,fay, 4 ~ Y ' ~                                     0                    0               900                   4           2003
     628134                    9030                tr-.;..JI ~I         999566425                          ,.;_,;:. ..>l <\..I. ~.r ~                            0                    0               900                   3           2003
    628134                     9030                <r-_;z-11 ~I 999566425                                  ,;,._y::. ..>! <\..I. ~Y' ',l.lA                      0                    0              900                    2           2003
    628134                     9030                (,p_;z-11 ~\ 999566425                                  .;,_,;;. .)l   4 <I"""'.>- ~                          0                    0              900                                2003
     628134                    9030                <r-yJI .m_JI         999566425                          ,.;,JC- JI <\..I. ~.>- ~                              0                    0              900                  12            2002
     628134                    9030                <r-.;..JI ~I         999566425                          .;.JC- JI ,j, ~.r ~                                   0                    0              900                  11            2002
     628134                    9030                <r-yJI ~\ 999566425                                     .;._,;;..)/4~.>-~                                     0                    0              900                  10            2002
     628134                    9030                <,p_;z-11 &,JI       999566425                          _;fa JI 4 <I"""'->-' ~.lt.                            0                    0              900                   8            2002
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             Ministry of Detainees Affairs                                                                                          \};!J,:i.oll9 .$,.,.111 '°1,;a, 3_,lj9




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             36079            yt...aJI ~.J                                           .iii rl.J    t.;iJI                 c.b,.iu, , _;t,.sn uts...'ii
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               Palestinian National Authority
                Ministry of Detainees Affairs                                                                                                                        ~J_,.:i.oll9 ,11p,gUl .)9;.ii 4Jlj,


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 )     628024                   9030                   ._..i_;.Jl~I        904892304                                ½.J... .>.=.I u--,o. JI.,_;                 0              500            1800           12           2008
       628024                   9030                   ._..i_;.Jl~I        904892304                                ½.J....l.4:>.I ~JI_,.;                      0              300            1800           11           2008
      628024                    9030                   ._..iyJl~I          904892304                                ½.J... .>.=.I .:-,._ JI.,_;                 0              300            1800           10           2008
      628024                    9030                   <r-_;.Jl .ili;JI   904892304                                 ½.J...-'-=-li)..c.JI_,;                     0             300             1800             9          2008
      628024                    9030                   <r-yJl~I            904892304                                ½.J... .>.=.1 <>-"'- JI_,.;                 0                  0          1800             8         2008
      628024                    9030                   ._.-!Jdl .ili;JI   904892304                                 ½.J... .>.=.1 IJ'&>. JI_,.;                 0                  0          1800             7         2008
      628024                    9030                   ._..iyJl~I         904892304                                 ½..l....l.4:>.11)=..J\y                     0                  0          1800             6         2008
      628024                    9030                   ._.-!Jdl ~I        904892304                                 ½.J... .>.=.1 I)=.. JI_,;                   0                  0          1800             5         2008
      628024                    9030                   <r-_;.JI ~I        904892304                                 ~.l.4:>.11)=..JI_,.;                        0                  0          1800             4         2008
      628024                    9030                   .,.iyJl~I          904892304                                 ¼..L... .4.,,.\ .:-,._ JI_,.;               0                  0          1800             3         2008
      628024                    9030                   .,.-!Jdl ~I        904892304                                 ¼-J.. .>.=.1 I)=.. JI_,;                    0                  0          1800             2         2008
      628024                    9030                   .,.iyJl~I          904892304                                 ½.J....4.,,.lu,..:,,.JI_,.;                 0                  0          1800                       2008
      628024                    9030                   'F-yJI .m,JI       904892304                                 ¼-L, .>.=.1 IJ'&>. JI_,.;                   0                  0          1800           12          2007
      628024                    9030                   <r-yJI ~I          904892304                                 ½.J.....i...,..lu,..:,,.JI_,.;              0                  0          1800           11          2007
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      628024                    9030                   cr-Jdl .ili;JI     904892304                                 ~ .>.=.I ~ JI_,;                            0                  0          1800             9         2007
      628024                    9030                   cr-Jdl .ili;JI     904892304                                 ½.J... .l.4:>.I IJ'&>. JI_,.;               0                  0          1800             8         2007
      628024                9030                       <F-yJI ~I          904892304                                 =4-J.....l.4:>.1()=..JI_,.;                 0                  0         1800              7         2007
      628024                9030                       ._..i_;a.ll~I      904892304                                 ~-'-=-li)..c.JI_,.;                        0                   0          1800             6         2007
      628024                9030                       <.r-yJI ~I         904892304                                 ~ .k>.I          u- JI_,.;                  0                  0         1800             5          2007
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